Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 1 of 70

EXhibit A

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 2 of 70

 

 

In The Matter Of:
MER CER HEALTH & BENEFITS, LLC v.
MATTHE WDIGREGORIO, et al.

 

j\/MTTHEWDIGREGORIO
March 09, 2018

 

DALCO Reporting, Inc.

] 70 Hamz`lton Avenue, Suite 303
White Plains, NY ] 060]
(9]4) 684-9009
dalcoreporting. com

DF\|_CC]

Original File DIGREGORIO_MATIHEW (3_9_2018).txt
Min-U-Script® with Word Index

 

 

 

Case 1:18-cv-01805-.]GK Document 33-1

Filed 03/13/18 Page 3 of 70

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DIGREGORIO
MAl l HEW DlGREGORlO, et ul. Mnrch 09, 2018
Page 1 Page 3
1 UNITBD STATES DISTRICT COT.TRT 1 INDEX OF EXAHINATIDN
SOUTHBRN DISTRICT DF N'BW YOR.K
2 2 wimss= un'r'rm DIGRBGoRm
CAEE NO.: lB-cv-OlBDS (\'|'BK) Paga
3 3 DIR.EL'.[' BXAHINATION
By Mr. W¢b¢r 6
4 mean HEALTH a amrr'rs, LLC, 4
CROSS EIAHINATICH
5 Plaintiff, 5 By Hx.'. Shapiro 172
6 -agninat- 6 mmsc'r minme
By Hr. Weher 182
7 HATTHEW DIGREGDRIO, JOANNE 7
STEED. JADA PRBBTON and
8 Loclc'ron comm:s, LLc, 8
9 9
De£endanta.
10 l 10
11 11
12 12
13 DEPOSITION OF H.M.`THEW DIGREGQRIO 13
14 TAKEN ON BEHALF' OF THB FLAINTIFF 14
15 15
16 F.l:iday, Ma:ch 9, 2018 15
17 3:35 a.m. - 12:20 p.m. 17
13 Law Of£ices cf Littler Mendolson P.C. 18
333 Southeaat 2nd Avanue. Buite 2700
19 Hiami. Plo:ida 33131 19
20 20
21 21
22 22
23 REFORTED B¥: 23
VICTORIA BUAREZ, CUU'RT REPORTER
24 NQTARY PI.IBLIC, STATE OF FLORIDA 24
Page 2 Page 4
1 APPBARAN"CES OP L‘$UNSEL 1 INDBX DF BXHIBITE
2 ON BEHALF CF TBE PLAIHTIFF: 2 BXI‘IIBIT DISCRIPTION PAGB
3 A. HIEHAEL W'EBER, Esquire 3 1 Confidantiality Agra-ent 11
LITTLER HEN'DELSDN, F.C.
4 90-£1l Third Avenue 4 2 Non-Sclicitntion Agreement 18
le Yc:l:, Naw Yurk 10022 .
5 212.503.9600 5 3 compliance Pclicy 19
mweber@littler.com
5 5 4 Code of Conduct 63
ON BBHALF OF THB DEFEN'DANTS:
7 7 5 B-mg.£l with Notica of Rasignation 65
MAR'.I.'IN S. SIBGBL, Esqui:'a
8 GOLENBGCK EISEMAN ASSGR BELL & PESKOE, LLP B 5 Declaration 72
711 Thi:d Aven\.\e
9 New Ya:'k, New Yn:l: 10017 9 7 E-mail 97
212.901'.7353
10 maiegel€golenbccl:.ccm 10 El B-mail with Active Account Listing 98
11 DN BBHALF OF TH`E DEFENDM€TS HATTBHW DIGREGDRID, 11 9 E-mil With Marsh Prospect LiBt 112
JOANNE STEBD, A.N'D JAUA PRES‘I‘DN:
12 12 10 E-mil with Invitation 114
LYLE B. SH.A.PIRO, Bsquire
13 HRRSKOWITZ SHAPIRO PLLC 13 11 B-nmil with Invitation 115
9100 Eouth Dadelund Bculeva:d
14 Suite 90|14 12 E-omil with Invitation 116
Mia.mi, Florida. 33156
15 305.423.19:6 15 13 z-mil with rloridh ripeiine noport 111l
lyleihslawfl . com
16 16 14 a-mil with mm Fio:id¢ client hist 122
ALSO PRESENT:
17 17 15 B-mil with compute capabilitits 121
AHY TREE, Hercer R¢prosentativo
18 18 16 s-mil with links 125
JOANN’E BTEED
19 19 17 s-mail 121
JADA PRBBTON
20 20 is z-mii 131
HIN'DJ SHARHA
21 21 19 E-mail with Commieainn chart 132
22 22 20 E-mail with attachments 133
23 23 21 E-mail with attachments 137
24 24 22 E~mail with attachment 143

 

 

 

 

Min-U-Scripl®

DALC.O Reporting, lnc.

(1) Pages 1 - 4

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 4 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW olGRI-:Gomo
MA"I'I`HEW DIGREGOR|O, ct al. Mnrch 09, 20|8
Page 5 Page 7
;' mun ngscknn°" mg 1 l say, please let me know and l'll rephrase it or
3 23 t-mtil with tttttmtnt 144 2 restate it. Do you understand those directions?
4 24 e-mil with attachment 146 3 A. YeS.
25 t-mn 148 4 Q. And you have to give verbal answersjust like
s 25 g-mn 152 5 you did, not a nod of the head or gestures.
6 27 E_mn 153 s A. Understood.
7 28 E_mn 153 7 Q. Please answer verbally so that the court
a B reporter can take everything down.
9 9 Have you ever had your deposition taken before?
1° 10 A. No.
11 11 Q. Have you been a party to any litigation other
12 12 than this one, plaintiff or defendant?
13 13 A. No.
14 14 Q. Have you ever been a witness in a case?
15 15 A. No.
15 16 Q. lf you need to take a break at any time, let me
17 17 finish my question. Let me ask the question, finish the
19 18 answer, and then if you need to take a break we will.
19 19 A. Okay.
20 20 Q. A|| right?
21 21 Any reason you can‘t testify truthfully today?
22 22 A. No.
23 23 Q. Are you under any medications that would affect
24 24 your memory?
Fage 6 Page 8
1 DEFOS|T|ON OF MATTHEW DlGREGORIO 1 A. No.
2 March 9, 2018 2 Q. Are you under any medications at all?
3 Thereupon: 3 A. No.
4 MATTHEW DIGREGORIO 4 Q. Did you meet with anyone to prepare for this
5 was called as a witness, and after having been first 5 deposition?
s duly sworn, testified as follows: s A. Yes.
7 MR. WEBER: Should we get everyone's name on 7 Q. Wlto did you meet With?
a the record so we're clear? a A. My attorneys.
9 MR. SHAPIRO: Sure. In the room is the witness 9 Q. The two gentlemen to your right?
10 Matt DiGregorio. l am Ler Shapiro. Next to me is 10 A. Yes.
11 Marty Siege|, .loanne Steed, .Iada Preston, and Minoj 11 Q. Anyone else?
12 Sharma -- 12 A. Other attorneys as well.
13 MR. SIEGEL: -- who is the corporate 13 Q. From their offices?
14 representative 14 A. Yes.
15 MR. WEBER: And this is Amy Trce from Merccr. 15 Q. Was anyone else present beside the attorneys
16 And l'm Michael Weber obviously. A|l set? 16 and ourself'?
17 DIRECT EXAMINATION 17 A. The other defendants
18 BY MR. WEBER: la Q. Anyone other than attorneys and defendants in
19 Q. Good moming. 19 the meeting?
20 A. Good morning. 20 A. No.
21 Q. My name is Michael Weber as you heard. l'm one 21 Q. Are you being represented by these two
22 of the attorneys for Mercer in this matter. l'm going 22 gentlemen -- strike that.
23 to ask you a series of questions. You're obviously 23 Are your legal fees being paid by your current
24 testifying under oath. If you don't understand anything 24 employer?

 

 

 

 

i\‘lin¢U-Scripi ®

DALCO Reporting, lnc.

(2) Pages 5 - 8

800.325.8?79

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 5 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MA"[THEW DIGREGORIO
MA'I'I`HEW DlGREGORlO, et al. March 09, 2018
Page 9 Page 11
1 A. Yes. 1 Q. .lust in passing you may be involved in a
2 Q. Have - strike that. 2 proceeding?
3 I-Ias Lockton agreed to indemnify you for any 3 A. Correct.
4 losses in this case? 4 Q. That's fine. When did you start your
s A. Yes. 5 employment with Mercer?
6 Q. And do you have an Emp|oyment Agreement with 6 A. January of 2010, I believe.
1 Lockton? 7 Q. And what was your title at the time?
s A. Yes. s A. Senior associate.
s Q. And does that state that they will hold you s Q. And what was your salary approximately?
10 harmless and indemnify you for any claims brought by 10 A. Ninety thousand.
11 Mercer in this action? 11 Q. Did you receive any commissions at the time?
12 MR. SHAPIRO: Object to the form. 12 A. No.
13 BY MR. WEBER: 13 Q. And what was yourjob responsibilities or your
14 Q. You may answer. 14 job duties when you first started‘?
15 A. Yes. 15 A. To help generate opportunities for Mercer.
16 Q. And when did you sign that Emp|oyment 16 Q. Business development?
11 Agreement? 17 A. Yes.
18 A. l don't recall. 18 Q. And is that generally -- you continued to
19 Q. Approximately the month? 19 maintain that general responsibility since you've been
20 A. Late January. 20 at the company?
21 Q. When is the first time you saw that Employment 21 A. Yes.
22 Agreement, a drah of it? 22 MR. WEBER: Plaintifl‘s E§hj_lz|_t_l_.
23 A. Idon't recall. 23 (P|aintiff's Esh`|l;)it |, Confidentiality
24 Q. Does the indemnification provision in your 24 Agreement, was marked for identification.)
Page 10 page 12
1 Emp|oyment Agreement also state that they will continue 1 BY MR. WEBER:
2 your salary in the event there might be an injunction in 2 Q. l'm showing you what‘s been marked Plaintiff's
3 this case? 3 Ehhj_bll_|_. Take a look at that document
4 A. l don't understand the question. 4 A. l'm sorry. Did you ask a question?
5 Q. ln your Emp|oyment Agreement with Lockton, is 5 Q. l didn't. l'm showing you Plaintiff‘s
6 there a provision that you will continue to receive 6 Ex_l]_ib_i_l_L. Would you please review that document and
7 compensation regardless of what happens in this lawsuit? 7 l'm going to ask you if you recognize it.
B MR. SHAPIRO: Object to the form. s A. l do, but l don't recall reading pages 6 and 7
9 BY MR. WEBER: 9 before.
10 Q. You can answer. 10 Q. ls that your signature on page 5‘?
11 A. Not that l'm aware of. 11 A. Yes.
12 Q. Other than your attorneys and the co-defendants 12 Q. Are you saying that you don't recall seeing 6
13 sitting here today, have you discussed this case with 13 and 7?
14 anyone else? 14 A. Yes.
15 A. Yes. 15 Q. Do you have any reason to believe that it
16 Q. Who is that? 16 wasn't part of this agreement?
17 A. My wil'e. 17 A. No.
16 Q. Anybody else? 10 Q. Okay. Would you look at paragraph 3 about
19 A. Perhaps other friends or family members. 19 confidential information.
20 Q. Can you state them for the record? 20 A. Okay.
21 A. Could l change that answer? 21 Q. Have you disclosed any Mercer confidential
22 Q. Sure. 22 information or trade secrets?
23 A. l have not discussed this in any detail with 23 A. No.
24 anyone besides my wife or my counsel. 24 Q. l-Iave you disclosed any Marsh er Marsh &
1\‘lin-U-Seript s DALCO Reporting, |nc. (3) Pnges 9 - 12

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 6 of 70

 

 

MERCE.R HEALTH & BENEFITS, LLC v. MATTHEW DlGREGORlO
MA'|`THEW DlGREGORlO, et al. March 09, 2018
Page 13 Page 15

1 McLennan confidential information or trade secrets? 1 no idea.

2 A. No. 2 BY MR. WEBER:

3 Q. Paragraph 4 states, "Retum the Materials Upon 3 Q. So l assume that they're retrievab|e if they

4 Termination". Do you see that paragraph? 4 werejust deleted from Hotmail; correct?

5 A. Yes. 5 A. l am not a technology professional. I eouldn't

6 Q. Have you returned all materials to Mercer that 6 answer that question.

1 were Mercer property? 1 Q. But when I -- and I want to press you on this

s A. Yes, to the best of my knowledge a answer.

9 Q. What would help clarify your knowledge and your 9 When you say you deleted Mercer materials or
10 response to that question? 10 returned them, let's just break that down. What Mercer
11 A. Define "returaed". 11 materials did you retum?

12 Q. Any materials that you had in your possession 12 A. Anything that was in my possession was left in

13 during your employment with Mercer, have you returned 13 my office along with my personal belongings l have yet

14 all those materials? 14 to he returned.

15 A. l've either returned or deleted anything | had 15 Q. Okay. So we have those. Now, let's turn to

16 in my possession. 16 the materials that you said you deleted from your

11 Q. Okay. And when did you delete things? 11 personal Hotmail account.

16 A. Prior to leaving Mercer. 15 Can you tell me what materials you deleted?

15 Q. When in particular, what date? 15 MR. SHAPIRO: Object to the form.

20 A. Don't reeall. 20 BY MR. WEBER:

21 Q. Approximately? 21 Q. You can answer.

22 A. Don't recall. 22 A. Again, anything that was in there that l

23 Q. Do you recall what you deleted? 23 thought was Mercer information was deleted.

24 A. Anything thatI had in my possession 24 Q. Approximate|y what date did you delete them?
Page 14 Page 15

1 electronically. l don't recall the exact documents. 1 MR. SHAPIRO: Object to the --

2 Q. And were those documents on your company 2 A. l don't -

3 laptop? 3 MR. SI-IAPIRO: Give me a chance.

4 A. No. 4 Object to the fonn.

5 Q. Where were they'? 5 BY MR. WEBER:

6 A. In my personal e-mail account. 6 Q. To the best of your knowledge, tell me the date

1 Q. And what's that account address? 1 you deleted materials.

e A. Matt, M-A-T-T, D as in Davitt, 5454@h0tmail.com. B MR. SHAPIRO: Object to the form.

9 Q. Any other e-mail addresses that you have? 9 A. Again, I don't recall.

10 A. No. 10 BY MR. WEBER:

11 Q. Does your wife have an e-mail address? 11 Q. Was it a month before you resigned?

12 A. Yes. 12 A. Again, l don't recal|.

13 Q. Did you ever send materials to her? 13 Q. Was it six months before you resigned? l'm
14 A. No. 14 trying to get a general sense of when you might have
15 Q. So when you say you deleted Mercer materials 15 deleted them.

16 from your personal e-mai| account, can you tell me what 16 A. No, it would not have been six months before.
11 materials you deleted? 11 Q. Wou|d it have been approximately three months
10 A. No. Idon't recall. 16 before?

19 Q. And l assume if we had your - strike that. 19 A. Potentially.

20 What device were those documents on? Was it a 20 Q. Something in that range?

21 home laptop? Was it a home desktop? Was it an iPad? 21 A. Potentially.

22 An iPhone? All of the above? 22 Q. Okay. And is there anything that would help
23 MR. SHAPIRO: Object to the form. 23 refresh your recollection as to when you deleted those
24 A. Wherevcr Hotmail keeps their doeuments. l have 24 materials?

 

 

 

 

Min-U-Script.i¢`

DALCO Reporting, lnc.

{4) Pages 13 - 16

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 7 of 70

 

 

MERCER HEALTI-I & BENEFI'I`S, LLC v. MA'I`THEW DlGREGORlO
MATTHEW DlGREGORIO, et al. March 09, 2018
Page 17 Page 19
1 A. Not that l'm aware of. 1 Q. And you're familiar with the terms of the
2 Q. And is it your testimony that you didn't save 2 document; right?
3 any of those -- strike that. 3 A. I mean, I can read it now but not in its
4 ls it your testimony you did not make copies or 4 entirety, but sure.
5 otherwise transfer any of the deleted Mercer materials? 5 Q. Well, when you received it and signed it were
6 A. That is correet. I have not done that with 6 you familiar with the terms?
7 Mercer material - with Mercer materials. 7 A. l believe l understood the general ideas of it,
a Q. Okay. ln paragraph 6 of this document on page a but l did not have an attorney review it.
9 3, subparagraph A Compliance, do you see that? 9 Q. Okay.
10 A. Give me a chance to read it. 10 (Plaintiff‘s E.'Sllitzit_.'i, Compliance Policy, was
11 Q. Please. 11 marked for identification.)
12 MR. SHAPlRO: I'm sorry. Mike, which section 12 BY MR. WEBER:
13 are we in? 13 Q. Show you what's been marked Plaintiffs
14 BY MR. WEBER: 14 E;g|]ihit 3. It's ten pages but it's double-sided so it's
15 Q. Actually l want to go back to -- one second. I 15 five pages. .lust take a look at that document, please.
16 want to go back to paragraph 4. Want to read the 16 A. Okay.
17 introductory paragraph? 11 Q. You've taken various training programs when you
15 A. Sure. 15 were employed by Mercer; correct?
15 Q. Out loud for record. 19 A. Yes.
20 A. Seriously‘il 20 Q. And there are a number of on|ine courses that
21 Q. Yeah. 21 you took; correct?
22 A. "Return of Materia|s Upon Termination of 22 A. l recall taking online courses, yes.
23 Emp|oyment lmmcdiately upon the termination of my 23 Q. And you took them over the seven or eight years
24 employment with the company for any reason, or at any 24 you were employed by Mercet‘; Cot‘l‘ecl?
Page 18 Page 20
1 time the Company so requests, l will return to the 1 A. l don't recall the time frame when I started or
2 Company." 2 completed.
3 Q. And then it lists a number of things there; 3 Q. Do you remember taking a course on Legal &
4 correct? 4 Compliance Policy that's in front of you P|aintift‘s
5 A. Tllere are two subparagraphs with items included 5 Exhi_hil_l?
6 within those, yes. 6 A. Not specifically, no.
1 Q. And did you comply with that paragraph? 1 Q. Does this policy look familiar to you?
a A. To the best of my knowledge, yes. a A. 1 don't recall ever reading a document to this
9 Q. Have you, prior to or since your resignation 5 extent before.
10 from Mercer, shared any Mercer materials with anyone? 10 Q. Do you ever remember getting any training on a
11 A. No. 11 topic that's contained in Plaintiff‘s Exhj_bi_t_'i?
12 (Plaintifl*s Exhihi_t_l, Non-Solicitation 12 A. Idon't remember any specific courses. I do
13 Agreement was marked for identification.) 13 know I have taken courses on various topics.
14 BY MR. WEBER: 14 Q. Well, as you look at this policy now, does it
15 Q. Let me show you what's been marked P|aintif`f's 15 refresh your recollection whether you've taken any
16 Exhihit_Z Do you recognize this document? 16 courses on Compliance Policy?
11 A. Yes. 11 A. Whieh one would be the courses?
10 Q. And what is it? 15 Q. This is one course. l'm asking you if you
19 A. The Mercer Health and Benefits, LLC, 19 would review it and see if it refreshes your
20 Non-Solicitation Agreement. 20 recollection of whether you've taken courses related to
21 Q. And you signed it when you began your 21 this topic.
22 employment with Mercer? 22 A. I eouldn't say. I don't recall specifically
23 A. lt was a condition of my employment was to sign 23 taking a course entitled Protecting Personal and
24 this document, yes. 24 Cont`ldeatial Information.

 

 

 

 

Min-U-Scrip| 59

DALCO Reporting, lnc.

(5) Pages 17 - 20

000.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 8 of 70

 

MERCER HEALTH & BENEFITS, LLC v. MAT|`HEW DlGREGOR|O
MATTHEW DlGREGORIO, et al. March 09, 2018
Page 21 Page 23

 

1 Q. Do you remember taking a course on The Greater 1 Q. And was Marsh your firsthb out ofschool?
2 Good: Our Code of Conduct? 2 A. Yes.
3 A. I don't remember taking a course that was 3 Q. What was your title when you resigned from
4 called this, no. 4 Mercer?
5 Q. Do you ever remember taking an online course 5 A. Prineiple.
6 Acceptable Use of lnformation Assets? 6 Q. And what were your general responsibilities?
1 A. No. 7 A. The same as when l started, business
B Q. Do you remember taking a course on Encryption B development
9 and Secure File Storage? 9 Q. And you communicated directly with Mercer
10 A. No. 10 clients'?
11 Q. What about lnformation Security Policy Manua|? 11 A. Yes.
12 A. Not that l recall. 12 Q. Can you tell me the clients you communicated
13 Q. What about a course entitled Keys to Data 13 with while you were employed during the two years prior
14 Security? 14 to your resignation?
15 A. Not thatl recall. 15 A. Ol`f the top of my head, no.
16 Q. Remember taking any course on Personal 16 Q. Can you tell me any of them?
11 lnformation Policy? 11 A. Of clients would be J.J. Taylor, Mil|er’s A|e
1a A. No. 15 House, Signature Consu|tants, and many others.
19 Q. How about on Record Retention? 19 Q. Any others come to mind?
20 A. Yes. 20 A. Spectralink. Gee, l don't know. Champion
21 Q. When do you remember taking that Course? 21 Solutions, Sendyne, Caregivcr Services. l'm drawing a
22 A. Years ago, l believe. 22 blank. l'm sorry.
23 Q. Do you remember taking a course on Work P|ace 23 Q. Tllat's fine. Those are the ones that come to
24 Vio ence Prevention and Response? 24 mind?
Page 22 Page 24
1 A. No. 1 A. Yes.
2 Q. Do you remember taking a course on Protecting 2 Q. Okay. Do you remember the pricing arrangements
3 Personal l-lea|th and Confidential lnforrnation? 3 that Mercer had with those clients?
4 A. ldon't recall taking a course on that, no. 4 A. No.
5 Q. Do you remember taking a course on The Greater 5 Q. Any sense of what the fees were for those
6 Good Recertiiication? 6 clients?
7 A. No. 7 A. Could you repeat the names back to me, please'.’
a Q. Do you remember taking a course on Protecting 0 Q. Sure.
9 Conf`tdential Infonnation? 9 A. Slowly.
10 A. No. 10 (The requested portion of the record was read
11 Q. Now, prior to starting your employment with 11 back by the court reporter.)
12 Mercer, did you have any experience with employee 12 A. J.I Taylorl believe was under a fee and
13 benefits? 13 commission arrangement
14 A. Yes. 14 Q. What was it?
15 Q. What experience did you have? 15 A. ldon't know.
16 A. l obtained a Bachelor's degree from Temple 16 Q. Okay. Next one.
11 University, Risk Mnnagement Insurance and Health 11 (The requested portion of the record was read
16 Benet`its, as well as a minor in Risk Management 1a back by the court reporter.)
19 Healthcare. At my time of employment at Marsh l began 19 A. Fee and commission.
20 cross-selling and providing Mercer opportunities on the 20 MR. SHAPIRO: l think you need,ju$t for lite
21 employee benefits side. 21 record, l think you need to say Mi||er's Ale House
22 Q. So as l understand it, your experience is both 22 fee and commission.
23 your education and your experience at Marsh? 23 MR. DIGREGORIO: Okay.
24 A. Correct. 24 A. l'm willing, to the extent that answers your

 

 

 

 

Min-U-Script 0

DALCO Reporting, lnc.

(6) Pages 21 - 24

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 9 of 70

 

 

MERCER HEALTH & BENEF|TS, LLC v. MATI`I'IEW DlGREGORIO
MATTHEW DlGREGORlO, ct nl. March 09, 2018
Page 25 Page 27
1 question, if it's fully insured, it's commission only. 1 minutes and name some you can.
2 lf it's self insured, it's both fee and commission. 2 MR. DIGREGORIO: Yeah. This shouldn‘t be this
3 BY MR. WEBER: 3 difficult l apologize.
4 Q. And what l'm asking is can you give me the 4 BY MR. WEBER:
5 specific fee and the specific commission to those 5 Q. lt’s okay. You're probably not used to being
6 clients or not? 6 deposed on a regular basis.
1 A. No, I cannot. 7 A. This is new for me. I'm sorry.
s Q. You can't remember any of them as to any of B Q. That‘s okay.
9 those clients; right? 9 MR. SHAPIRO: If you can't remember you can't
10 A. No. 10 remember.
11 Q. Okay. So yourjob was to go out and develop 11 MR. DIGREGORIO: Yeah. ljust --
12 new business for Mercer; is that right? 12 MR. SHAPIRO: Wc‘l| give you the opportunity it‘
13 A. Yes. 13 you wanted to take the time to remember.
14 Q. In the two years prior to your resignation, do 14 MR. SIEGEL: But in the event you do
15 you remember communicating with any prospective ciicnts? 15 remember...
16 MR. Sl-IAP]RO: Object to the form. 16 MR. DlGREGORIO: Sure. Sure.
11 BY MR. WEBER: 11 A. MiX Te|ematics. l'm drawing a blank. I'm
15 Q. You can answer. 18 sorry.
19 A. I've communicated with several prospective 15 BY MR. WEBER:
20 clients over the last two years. 20 Q. Okay. That‘s fine. Thank you for that.
21 Q. Remember their names? 21 Generally speaking, how did you go about doing
22 A. Off the top of my head, no. 22 yourjob when you were at Mercer?
23 Q. Do you understand when l use the term 23 A. Can you be more specific?
24 "prospective clients" what that means? 24 Q. Te|| me what you generally did to develop
F'age 26 Page 2a
1 MR. SHAPIRO: Object to the fonn. 1 business for the company.
2 A. Please define it. 2 A. l would review publicly available information,
3 BY MR. WEBER: 3 speak to centers of inlluence.
4 Q. l'm asking for your understanding what a 4 Q. Describe centers of influence.
5 prospective client is. 5 A. Othcr service providers or companies that would
6 MR. SHAPIRO: Object to the fol‘m. 6 be doing business with the same companies l would be
1 A. I don't know what your understanding of 1 targeting. That‘s essentially the -
6 prospective client means. s Q. That‘s thejob?
9 BY MR. WEBER: 9 A. Essentially.
10 Q. l'm asking for your understanding you have to 10 Q. Okay. When is the first time you recall having
11 answer my question. What's your understanding of a 11 some contact with individuals from Lockton or
12 prospective client? 12 representing Lockton in 2017?
13 A. I believe that to mean any company of Mercer 13 A. Can you repeat that question?
14 that - excuse me - any company that potentially could 14 MR. WEBER: Read it baek, please.
15 do business with Mercer that is not currently otherwise 15 (The requested portion of the record was read
16 engaged on any particular capability of Mercer. 16 back by the court reporter.)
11 Q. Okay. Thank you. Andjust to be clear, you 11 A. September time frame, I believe.
18 don't remember any specific names of prospective clients 18 BY MR. WEBER:
19 that you contacted within the two years prior to leaving 19 Q. And do you remember who that person was?
20 Mercer? 20 A. Hiram Marrero.
21 A. With sufficient time l'm sure I could reeall. 21 Q. And how was it that Mr. Marrero got in contact
22 Q. l understand that, but sitting here today? 22 with you? Did you reach out to him or did he reach out
23 A. Again - 23 to you?
24 MR. SHAPIRO: If you want to take a couple 24 A. He called me.

 

 

 

 

l\lin-U-Script®

DALCO Reporting, lnc.

(7) Pages 25 - 28

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 10 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MA'ITHE\V DlGREGORlO
MATI`HEW DIGREGOR|O, et al. March 09, 2018
Page 29 Page 31

1 Q. ls that the first time you had spoken to him? 1 Q. Do you recall -- what did you typically use in

2 A. No. 2 2017?

3 Q. You spoke to him over the years? 3 A. Both.

4 A. I've known Hiram for eight or nine years. 4 Q. And is there a way for you to go back and

5 Q. And how is it that you knew him? 5 determine when you had contact with someone from Lockton

6 A. Work in the same business community. He works 6 some lime in September or October to determine when you

1 for -» he worked for multiple competitors over the 1 had that first conversation about working for them?

s years. 6 A. I would have no way of doing that.

9 Q. Okay. And prior to him reaching out to you in 9 Q. There's no record do you think in your either
10 September of 2017 when was the time prior to that that 10 paper diary or electronic Outlook calendar that might
11 you remember talking to him? 11 help you refresh your recollection?

12 A. l don't recall. 12 A. No.

13 Q. Did you see him at various business functions 13 Q. You think it's in that September time frame

14 where you would chat'? 14 thouglt‘?

15 A. Rarely. Occasionally. 15 A. Yes.

16 Q. But the September 20|? call was specifically 16 Q. Okay. And who did you speak with?

11 related about youjoining Lockton; is that right? 11 A. Hiram Marrero.

16 A. No. 16 Q. And did he call you or did you call him?

19 Q. What was it about? 15 A. He called me.

20 A. Just to catch up. 20 Q. And what did he say the second time you spoke

21 Q. When -- strike that. 21 to him?

22 During that tele -- was it a telephone 22 A. I don't recall the specifics of the discussion.

23 conversation you had? 23 Q. Can you give me a general overview?

24 A. Yes. 24 A. Our second conversation was, again, just to
Page 30 Page 32

1 Q. Tell me what was discussed during that 1 touch base: l-low are things doing, same as the tirst.

2 telephone conversation. 2 Q. l assume he wasn't calling you to see how your

3 A. I don't recall. Typical pleasantries: Hello, 3 physical health was, that he was interested in your

4 how are you doing, it's been a while, that type of 4 possiblejoining Lockton; correct?

5 conversation. 5 MR. SHAPIRO: Object.

6 Q. And was the possibility of youjoining Lockton 6 BY MR. WEBER:

1 discussed at that conversation? 1 Q. You can answer.

8 A. No. 6 MR. SHAPIRO: Object to the form.

9 Q. When was the next conversation with anyone at 9 A. You'd have to ask him.

10 Lockton about you potentiallyjoining Lockton? 10 BY MR. WEBER:

11 A. You mean when was the first conversatioa? 11 Q. What was your, what was your response to the
12 Q. Fine. I'll accept that. 12 second time you called?

13 A. Maybe within that month time period of whenever 13 A. Same as the first.

14 l initially spoke to Hiram. 14 Q. You didn't think he had any interest in you

15 Q. September/October? 15 joining Lockton?

16 A. Somewhere in that time frame, yes. 16 MR. SHAPIRO: Object to the fonn.

11 Q. ls there a date that you could - strike that. 11 A. You would have to ask him.

16 Do you use Outlook contacts for your meetings? 16 BY MR. WEBER:

19 A. No. 19 Q. l'm asking you. What was your understanding?
20 Q. What do you use for noting a meeting? ls it do 20 A. lean't testify to what he thought.

21 you keep a diary? Do you have an electronic diary? 21 Q. l'm asking your thinking. What did you think
22 l-low do you register when you have a meeting? 22 when you got that call from Mr. Marrero?

23 A. Either using the Outlook calendar or using like 23 A. That he was reaching out to catch up.

24 a paper calendar at home or something along those lines. 24 Q. At some point in time the reaching out to catch
Min-U-Script® DALCO Reporting, lnc. (8) Pagcs 29 - 32

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 11 of 70

 

 

 

 

 

 

MERCER HE.AL.TH & BENEF|TS, LLC v. MATTHEW DlGREGORlO
MATTHEW DlGREGORIO, et al. March 09, 2018
Page 33 Page 35
1 up turned into a discussion aboutjoining Lockton; 1 initiated by Mr. Marrero?
2 correct? 2 A. Yes.
3 A. Yes. 3 Q. And what did he say to you and what did you say
4 Q. And when was that? 4 to him in that conversation?
5 A. I don't recall the specific time frame. 5 A. I don't recall the specific discussion. My
s Q. Is it that same month or so period? s vague recollection was, would you be interested in
7 A. Molllh Or l'WO, Sure. 7 learning more about Lockton? l\ly answer was, yes. So we
s Q. Okay. And there‘ s no way to pin that down a began those discussions.
9 exactly when it was, is that what you' re telling us? 9 Q. And we're talking about this time period;
10 MR. SHAPIRO: Object to the f`onn. 10 right?
11 BY MR. WEBER: 11 A. Somewhere between Atlgttst and October period.
12 Q. You can answer. 12 Q. l take it there were multiple conversations?
13 A. l don't have access to anything that would tell 13 A. Correct.
14 me that. 14 Q. Do you recall approximately how many?
15 Q. So we're in that general time period that you 15 A. Oh, no. No.
16 you're mentioning? 15 Q. More than five though?
17 A. I don't understand the question. 11 A. Yes.
la Q. ln other words, you seem to say some time in 10 Q. More than ten?
15 September or October there were conversations with 19 A. Probably.
20 Mr. Marrero, that's the best you can recall as l 20 Q. And at some point in time did Mr. Marrero make
21 understand? 21 an offer to you tojoin Lockton within that time period?
22 A. Yes. 22 A. No.
23 Q. There came a time when the calling -- strike 23 Q. Did someone else make an oi`i`er to you?
24 that. 24 A. No.
Page 34 Page 36
1 Was there a third conversation you had with 1 Q. At what point in time did you agree tojoin
2 Mr. Marrero? 2 Lockton?
3 A. Sure. 3 MR. SHAPIRO: Object to the form.
4 Q. When was that? Same time period? 4 A. Januat'y lSth, 2018.
5 A. Same time period. Can l make the time period 5 BY MR. WEBER:
6 more specii'ic? s Q. l understand You resigned on that date f`rom
1 Q. Sure. 1 Mercer'?
B A. August to October time period is when the time B A. l may have the date off by a dny, but somewhere
9 periods that l've had my initial discussions and the 9 in that --
10 ones you've referred to. 10 Q. We’ll get that.
11 Q. Good. Thank you. 11 A. - somewhere in that, that time frame.
12 And you seem to remember - do you remember a 12 Q. Yeah, l7th, lSth, l9th. We'll get there in a
13 date in August? 13 second.
14 A. I honestly don't. 14 A. Yeah.
15 Q. Going to push my luck there and see. What 15 Q. Prior to resigning you had an offer to join
16 about a date in October? 16 Lockton; correct?
11 A. Idon't remember specific dates. 11 A. Yes.
10 Q. Okay. Understood. 18 Q. l'm asking you when prior to your resignation
19 During that time period August to October of 19 from Mercer did you have that offer?
20 20]7, other than calling about your well being there 20 A. Late December, early January.
21 came a point in time l presume that you had a discussion 21 Q. And who made that offer?
22 aboutjoining Lockton; is that correct? 22 A Lockton.
23 A. ¥es. 23 Q. Anyone in particular?
24 Q. And in that time frame was that discussion 24 A. l don't remember who it specifically came from,
Min-U-Script if DALCO Reporting, lnc. (9) Pages 33 - 36

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 12 of 70

 

 

MERCER HEALTH & BENEF|TS, LLC v. MA'ITHEW DIGREGORIO
MATI`HEW DlGREGORIO, et al. March 09, 2018
Page 37 Page 39
1 no. 1 MR. WEBER: So we'll deal with that.
2 Q. lt was a written of`f`er; correct? 2 MR. SIEGEL: And, Michael, at some point soon
3 A. Yes. 3 can we have a bathroom break?
4 Q. And did Mr. Marrero convey it to you -- 4 MR. WEBER: We'll do it right now if you'd
s A. No. 5 like.
6 Q. - or did someone else? s (Off` the record 9:13 a.m.)
1 A. No, l don't believe so. 1 (On the record 9: 19 a.m.)
a Q. Someone else did? 8 BY MR. WEBER:
9 A. Yes, I believe so. 9 Q. Okay. We're back on the record. You discussed
10 Q. And it was some time in you think December? 10 a conversation you had with Mr. Marrero in that
11 A. Late Deeember, early January. 11 Augusu'September/October time period. Did you speak to
12 Q. And do you remember -- strike that. 12 anyone else from Lockton or representing Lockton during
13 What was the offer from Lockton? What was the 13 that period?
14 compensation and other arrangement from Lockton? 14 A. Yes.
15 A. One, l'm contractually obligated not to share 15 Q. Who did you speak with?
16 that information; and twn, l don't want to share that in 16 A. Minoj Sharma.
11 front of a Mercer employee. 11 Q. And who is that individua|?
1a Q. Okay. Well, you're under oath in this 1a A. He's the chief operating officer of' the
19 |itigation. Your attorney l'm sure will direct you to 19 Southeast Series.
20 answer that question. 20 Q. And what did you discuss with him?
21 MR. SHAPIRO: What we're prepared to do in 21 A. My background, my work, my capabilities,
22 terms of compensation - because we don't think it's 22 education, general business processes, things like that.
23 relevant to this proceeding - we're happy to provide 23 Q. And how many times did you speak to Mr. Sharma?
24 the compensation for attorneys' eyes only at this 24 A. Several over months.
Page 38 Page 40
1 point or for attorneys' eyes consideration only, and 1 Q. Several over that period you're talking about?
2 then atier the depositions we certainly can talk 2 A. No. No. l believe l met with and/or spoke to
3 about to the extent you want to use it the 3 Mr. Sharma once during that time period.
4 appropriate protections. But his personal 4 Q. Okay. Met with him and spoke with him each
5 compensation is something that is personal and 5 once or only one -
s sensitive to him. I-le, nor any of my defendants, s A. Just one meeting in person.
1 would like to share, nor should they be required to 1 Q. During the August/September/October period?
s share their financial situation with each other or a A. Correct.
9 anybody at Mercer. 9 Q. And then was there any other meetings or
10 MR. WEBER: l appreciate your comment ldon't 10 discussions with him?
11 agree and we'll get a ruling from the Court on that, 11 A. Not during that time period.
12 but by way of compromise, would you provide the 12 Q. What about subsequent to that time period?
13 Employment Agreements of your clients, the 13 A. Yes.
14 individual defendant clients today for attorneys' 14 Q. And when, when did you have those discussions?
15 eyes only? 15 A. Some time over the December/January time
16 MR. SHAPIRO: During a break I will speak with 16 period.
11 my Client -- 11 Q. And how many discussions did you have with him
1a MR. WEBER: Okay. 18 then?
19 MR. SHAPIRO: -- and respond to that. 19 A. I don't recall.
20 MR. WEBER: Good. We‘l| get that in discovery 20 Q. Approximately?
21 if necessary, and l'm sure the Court will order it 21 A. A handful.
22 at the preliminary injunction hearing, so l want to 22 Q. Six?
23 try to avoid the confrontation. 23 A. Maybe. I don't recall.
24 MR. SHAPIRO: l appreciate that. 24 Q. And to the best of your recollection, what did

 

 

 

 

t\‘lin- U-Sc ript ti`

DALCO Reporting, lnc.

(10) Pages 37 - 40

000.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 13 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DIGREGOR|O
MATTHEW DIGREGORIO, et al. March 09, 2018
Page 41 Page 43

1 you discuss during those approximate six conversations? 1 Committee.

2 A. I don't recall any specifics to any of the 2 Q. And who is he employed by?

3 discussions. 3 A. Lockton Southeast Series.

4 Q. Generally what did you discuss? 4 Q. Okay. And when did you speak to him?

5 A. Lockton, myse|f. 5 A. I don't recall the date,

6 Q. The possibility of joining Lockton? 6 Q. Approximate|y?

1 A. Sure. 1 A. December, Jaauary.

a Q. Compensation arrangement? a Q. What did you speak to him about?

9 A. I don't recall specifically a discussion 9 A. Background capabilities, education, other such
10 negotiating compensation with Minoj. 10 items.

11 Q. Anyone else from Lockton you spoke with prior 11 Q. How many times did you speak with him?

12 to resigning from Mercer in January 2018? 12 A. Onee.

13 A. l spoke to Hiram. 13 Q. Anyone else from Lockton that you spoke with?

14 Q. | understand that. Well, let me go back to 14 A. Neil Metzhciser.

15 that. 15 Q. And who is Neil?

16 You spoke to Hiram after the 16 A. Neil sits on the executive committee of the

11 August/September/October time period as well? 11 Southeast Series.

16 A. Yes. 16 Q. What's his title?

19 Q. I-Iow many times? 19 A. I don’t, l don't know.

20 A. I don't recall. 20 Q. What did you speak to him about?

21 Q. Approximate|y what dates do you remember 21 A. Same as Paul: my baekground, my capabilities

22 talking to him? 22 Q. And do you remember when at all?

23 A. I don't. 23 A. DecemberlJanuary time period.

24 Q. Any calendar notations that would help refresh 24 Q. And in these con -- anyone else from Lockton
Page 42 Page 44

1 your recollection? 1 that you spoke to other than the individuals you

2 A. Not that l have access to. 2 mentioned?

3 Q. You had it at one time? 3 A. l believe l spoke to everyone on the Southeast

4 A. l don't know. 4 Series Executive Committee.

5 Q. You ever remember noting in a calendar 5 Q. And how many individuals does that consist of‘?

6 electronic or paper about a meeting with - 6 A. l believe -I don't know the answer to that

1 A. I'm sure l did. 1 how many people are on therc.

B Q. lt exists somewhere but you don't know where it B Q. And tell me --

9 is? 9 A. Actually let me correct that. I think I spoke
10 MR. SHAPIRO: Object to the form. 10 to everyone but one person on the Southeast Series
11 A. Again, l don't have access to any Outlook 11 Executive Committee.

12 calendars where l believe l've notated that information, 12 Q. So tell me the names of the individuals you
13 and I no longer have access to any paper calendars in 13 spoke with prior to your resignation

14 2018 from 2017. 14 A. Minoj Sharma, Hiram Marrero.

15 BY MR. WEBER: 15 Q. Other than the individuals you mentioned.

16 Q. Okay. So other than the two individuals from 16 A. Paige, who l can't remember Paige's last name
11 Lockton that you mentioned, did you have any 11 off the top of' my head. l mentioned Rick. l don't
18 communications of any nature with anyone else from 16 remember anyone beyond the individuals that l've
19 Lockton prior to resigning from Mercer? 19 referenced so far.

20 A. Yes. 20 Q. When did you first start discussing the terms
21 Q. Who is that? 21 of employment with Lockton?

22 A. I've spoke to Paul Bruno. 22 A. Can you define "terms of employment"?
23 Q. And who is Pau| Bruno? 23 Q. Compensation, salaty, commissions, general
24 A. I~1e sits on the Southeast Series Exccutive 24 start date, health benefits, general terms and
t\lin~U-Script R` DALCO Reporting, lnc. (ll) Pages 41 - 44

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 14 of 70

 

MERCER HEALTH & BENEF|TS, LLC v. MAT|`HEW DiGREGORlO
MATTHEW DlGREGORlO, et al. March 09, 2018
Page 45 Page 47

 

 

 

 

 

1 conditions ofernployment. 1 l'm precluded from sharing any aspects of my
2 A. Can you put each one ol' those into a question? 2 compensation: structure, numbers, or otherwise.
3 Q. Why don't we take each one and say when did you 3 Q. When did you have that discussion? ls it
4 first have a discussion concerning general compensation? 4 written anywhere?
5 A. Probably DecemberfJanuary time period. 5 A. To the best of my knowledgc, it's written in my
6 Q. And which individuals did you speak with about 6 contract.
1 general compensation? 1 Q. You can't discuss it?
B A. l believe Hiram Marrero and - 1 believe, I s A. Correct.
9 believe Hiram, yeah. 9 Q. And did you have the discussion beforejoining
10 Q. And general|y, in light of your attomey's 10 Lockton?
11 objection - l'm not asking for the specifics - generally 11 A. Whieh discussion?
12 did your of`f`er -- strike that. 12 Q. That you eouldn't discuss your compensation
13 General|y did the discussion you had with Hiram 13 arrangement.
14 consist of a base salary and a commission component? 14 A. I don't recall that discussion. I recall the
15 MR. SHAPIRO: Okay. We'll »- 15 contract that l executed with Lockton which prohibits me
16 BY MR. WEBER: 16 from sharing any information relative to my
11 Q. l'm not asking you for the numbers. l'm asking 11 compensation: structure, numbers, or otherwise.
10 for concepts. 18 Q. Did you ever have an attorney look at your
19 A. Again, l'm contractually precluded from 19 contract?
20 discussing my eompensation. 20 A. Yes.
21 Q. l'ln not asking you for the numbers. l'm asking 21 Q. When was that?
22 you for the framework. 22 A. Decemberl.]anuary time framc.
23 MR. SHAPIRO: We'll -- 23 Q. Who is your attorney that looked at it?
24 MR. WEBER: l'm going to call thejudge ifI 24 A. The individual I had look at it, his name is
Page 46 Page 45
1 don't get an answer to that. Okay? 1 Dave, and l don't remember Davc's last name off the top
2 MR. SHAPIRO: Why? 2 of my head.
3 MR. WEBER: Because I am entitled to know what 3 Q. Do you remember the firm he's with?
4 the arrangement is without the specifics. I want to 4 A. I do not.
5 know -- 5 Q. Do you know how you got Dave's name‘:1
6 MR. SHAPIRO: What's the - why? l~|ow is that 6 A. Through a friend ol` mine who used him before.
1 relevant? l'm not trying to be difficult 1 l could get that t'or you ifl can go in my cell phone ii'
a MR. WEBER: It's relevant because l want to 6 you'd like.
9 know what Lockton said to this individual about 9 Q. You can get that later.
10 general terms of`compensation: Does he have a base 10 Have you given me the names of everyone you
11 salary and then commission component? That‘s 11 talked to prior to your resignation from Lockton?
12 what -- 12 A. I)ef`ine "everyone".
13 MR, SHAPIRO: And why can't that be treated the 13 Q. A|l individuals who are affiliated or
14 same way. We're trying to be cooperative 14 representing Lockton.
15 MR. WEBER: Because it's not contidential,just 15 A. To the best of my recollection, yes.
16 that question. 16 Q. In your Lockton agreement --
11 MR. SHAPIRO: Well, the nature ofsomebody's 11 A. Actually can I change that?
1a compensation when they're sitting here -- 18 Q. Sure. Yeah.
19 MR. WEBER: Well, you know what? Let's just 19 A. I did go to Kansas City and l met with several
20 mark that. We'll mark that for ¢':l ruling. WE'll 20 individuals ofwhich I don't remember the names of each
21 call the Court later. 21 person.
22 BY MR. WEBER: 22 Q. When did you go to Kansas City?
23 Q. Are you refusing to answer that question? 23 A. I don't remember the time frame.
24 A. Under my contractual obligation with Lockton 24 Q. Remember the year?
t\‘lin-l -Script w DALCO Reporting, lnc. (12) Pages 45 - 48

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 15 of 70
MERCER HEALTH & BENEF|TS, LLC v. MATrHEw DlGREGORlO

 

 

MA'ITHEW DlGREGORlO, et al. March 09, 2018
Page 49 Page 51
1 A. 2017 at some point. 1 BY MR. WEBER:
2 Q. Remember the month? 2 Q. Prior to your resignation from Mercer, did you
3 A. I don't remember which month. 3 discuss your non-solicitation obligations that you had
4 Q. No recollection? 4 with Mercer with anybody representing Lockton's
5 A. Somewhere between l'm going to guess October to 5 interest?
6 November time frame. 6 A. No. Can I add to that?
7 Q. Okay. And you met with three individuals from 7 Q. Sure.
6 Lockton in Kansas City? 6 A. We discussed the possibility ol' there being
9 A. I don't remember how many people l met \vith, 9 one, but l had no concrete knowledge that l had one.
10 but l know I met with a number ol` individuals. 10 Q. You didn't recall the agreement you signed?
11 Q. Okay. l didn't try to put words in your mouth. 11 A. No.
12 Approximate|y how many did you meet with? 12 Q. Genera|ly who did you discuss with at Lockton
13 A. A handful or so. 13 that you had - you may have the non-solicitation
14 Q. And had you already received an offer at that 14 obligations?
15 time? 15 A. Anyone who asked. l don't recall all who may
16 A. No. 16 have asked.
17 Q. That was part of your due diligence? 17 Q. Well, l'm trying to find out if you, one, if
10 A. Correct. 10 you had the discussion. It sounds like you did.
19 Q. And do you know whether those individuals were 19 A. The only discussions I had prior to joining
20 employed by Lockton Companies, LLC? 20 Lockton relative to any non-solicitation or any
21 A. l do not. 21 agreement l may have signed with Mercer was does one
22 Q. You don't know who their employers were? 22 exist.
23 A. l don't know the structure of Lockton. I 23 Q. And what was your answer?
24 haven't been there long enough to understand the legal 24 A. I don't kn0w.
Page 50 Page 52
1 structure. 1 Q. Did anybody from Lockton ask you to get a copy
2 Q. Okay. How long did those meetings take place 2 of it?
3 in Kansas City? 3 A. No.
4 A. I believe over a day. 4 Q. Did anybody ask you if you had any obligations
s Q. ln all these discussions that you just 5 not to solicit clients, prospects, or employees from
6 described with individuals representing Lockton 6 Mercer?
7 generally - and I don't mean to be narrow but broad 7 A. Det`ine "anyone".
6 Lockton entities - did you discuss your non-solicitation a Q. Anyone representing Lockton's interest.
9 obligations with Mercer with them? 9 A. At what point?
10 A. No. 10 Q. Any time prior to your resignation with Mercer?
11 Q. Did you ever show anyone representing Lockton's 11 A. Again, no. The only discussions l had were
12 interest your agreements Exhibits P|aintiff l and 2 to 12 relative does one exist or not.
13 anyone at Lockton? 13 Q. And your answer to that is you did not know; is
14 MR. SHAPIRO: Object to the fonn. 14 that correct?
15 MR. SIEGEL: Are you talking about before 15 A. Correct.
16 employment or did you change the time frame? 16 Q. And did anyone pursue that answer further
17 MR. WEBER: l'm referring to the documents that 17 representing Lockton's interest?
10 the individual signed. 13 A. No.
19 MR. SIEGEL: ljust would like you to clarify. 15 MR. SIEGEL: Before you ask a question,just
20 Are you still talking -» all your questions before 20 one second. l'm sorry.
21 were before your employment ls this question about 21 MR. WEBER: We're taking this time out from the
22 before employment or up until today? 22 two-and-a-ha|f hours.
23 MR. WEBER: Well, let's break it down. 23 MR. SHAPIRO: We're not going to hold anybody
24 24 to 10 minutes, 15 minutes here or there. That‘s not

 

 

 

t\‘lin-L -Sc ript I_¢

DALCO Reporting, lnc.

(l3) Pages 49 - 52

800.325.8779

 

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 16 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MA'I'THEW DlGREGORlO
MATTHEW DlGREGORlO, et al. March 09, 2018
Page 53 Page 55
1 the way we work, 1 Q. And where did this conversation take place?
2 MR. DIGREGORIO: That‘s his perception. 2 A. Again, l was referring to general discussions
3 MR. WEBER: l don't think there's a proper 3 over a period of our employment at Mercer.
4 objection. 4 Q. My question as you probably understand is
5 MR. SIEGEL: There's no question pending. s specific to the time period let's call it six months
6 MR. WEBER: Okay. So you're not going to make 6 before you resigned about yourjoining Lockton. Did you
7 any comment l hope. 7 discuss your employment offer tojoin Lockton prior to
s MR. SHAPIRO: No. a your resignation from Mercer with Ms. Steed?
9 MR. WEBER: Okay. Let's move on. 9 MR. SHAPIRO: Object to the form.
10 MR. SIEGEL: Wait, wait a second. 10 A. I did not discuss my employment offer with
11 MR. WEBER: l don't want any direction to the 11 Joanne Steed prior to joining Lockton.
12 witness. l want no comment -- 12 BY MR. WEBER:
13 MR. SIEGEL: He can talk to the witness. 13 Q. Did you tell her you were resigning?
14 MR. WEBER: No, he can’t, not during his 14 A. At some point, yes.
15 questioning in this deposition. 15 Q. Prior to your resignation; correct?
16 MR. SHAPlRO: l'm fine doing it af`ter. Go 16 A. Yes.
17 ahead. 17 Q. Was it a month before?
16 BY MR. WEBER: 13 A. No.
19 Q. You know who Joanne Steed is; correct? 19 Q. Was it two months before'?
20 A. Yes. 20 A. No.
21 Q. She's sitting in this room; right? 21 Q. Was it three months before?
22 A. Yes. 22 A. No.
23 Q. Did you discuss potential employment at Lockton 23 Q. Approximately when? Within a month of your
24 with her‘? 24 resi nation?
Page 54 Page 56
1 A. Yes. 1 A. Within days ol` my resignation is when l told
2 Q. When was that? 2 her I was definitively resigning from Mercer.
3 A. Prior to joining Lockton. 3 Q. And what did you say?
4 Q. Approximately when? 4 A. I'm resigning l'rom Mercer.
5 A. Idon't remember. 5 Q. And what else did you say?
6 Q. What did you say to her? 6 A. On this date.
7 A. I don't remember. 7 Q. And what else?
a Q. Well, try to rack your brain a little bit and a A. Specil'tc to my resignation that's it.
9 see if you can recall what you said. 9 Q. What else aboutjoining Lockton?
10 A. Prior to joining Lockton? 10 A. At some point in time we had a conversation
11 Q. Correct. 11 around exploring other opportunities of which Lockton
12 A. Through the course of our career working 12 was one oi' them.
13 together wc've had various conversations around Mercer 13 Q. At the time, al lite lime you told her you Were
14 and other companies and other opportunities l'm 14 resigning; correct?
15 certain at various points wc've discussed Lockton or 15 A. No. That was preceding that time.
16 other companies. l don't recall specifics to exactly 16 Q. Preceding that time did you discuss with her an
17 when we discussed Lockton and this opportunity. 17 opportunity to join Lockton?
13 Q. Approximate|y when? Prior to your resignation; 18 A. I did not discuss an opportunity for her to
19 correct? 19 join Lockton, no.
20 A. Prior to my resignation, yes. 20 Q. Did you discuss the benefits of Lockton versus
21 Q. And what do you recall generally discussing 21 Mercer?
22 with her prior to resignation from Mercer? 22 A. No.
23 A. Considering nn opportunity to join Lockton and 23 Q. Did you discuss that you were going to leave
24 what that may or may not entail. 24 Mercer and join Lockton?
Nlin-L -Script lt DALCO Reporting, lnc. (14) Pages 53 - 56

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 17 of 70

 

 

 

 

 

 

MERCE.R HEALTH & BENEFITS, LLC v. MATI`HEW DIGREGOR|O
MAT]`HEW DlGREGORIO, et al. March 09, 2018
Page 57 Page 55
1 MR. SHAPIRO: Object to the form. 1 A. Thank you for telling me and, you know, she was
2 A. At some point we discussed, again, the 2 going to make her dccision.
3 opportunities we've been presented. 3 Q. And what did you understand that to mean that
4 BY MR. WEBER: 4 she’s going to make her own decision?
5 Q. But when you say "we", do you know when she was 5 A. l believe that to mean she would evaluate her
6 presented an opportunity tojoin Lock -~ 6 offer and make a decision on that.
7 A. I do not. 7 Q. And do you know when she received an offer?
a MR. SHAPIRO: Let him finish his question, 6 A. No, I do not.
9 please. 9 Q. Was it prior to that conversation --
10 BY MR. WEBER: 10 MR. SHAPIRO: Object to the form.
11 Q. So you don't know when she was presented with 11 BY MR. WEBER:
12 an opportunity to join Lockton, do you? 12 Q. -- in January --
13 A. I don't know the time frame when she was 13 MR. SHAPIRO: Object to the form.
14 presented an opportunity. 14 BY MR. WEBER:
15 Q. You have no sense at al|? 15 Q. -- if you know‘?
16 A. l would have to assume it was between December 16 A. I don't know when she received her offer.
17 and when we left. 17 Q. Well, it was prior to that conversation though;
10 Q. Did you speak to Hiram about Ms. Steed't1 19 correct?
19 A. Yes. 19 MR. SHAPIRO: Object to the form.
20 Q. When was that? 20 A. I can't say certainly that whether she -
21 A. l would assume between Noveml)er and December. 21 BY MR. WEBER:
22 Q. 2017? 22 Q. Well, she said to you she was going to evaluate
23 A. Correct. 23 her offer; right?
24 Q. You recommended her to him? 24 A. She said she would evaluate her opportunity.
Page 58 Page 60
1 A. No. 1 Q. With Lockton?
2 Q. Why did you discuss Ms. Steed with Hiram? 2 A. Correct.
3 A. She asked me to share her contact information 3 Q. So that was prior to the second week in
4 with him. 4 January, was it not?
5 Q. Was that afier you told her you were 5 A. No. That was -- the discussion I referred to
6 consideringjoining Lockton? 6 was the second week of Jaauary.
7 MR. SHAPIRO: Object to the form. 7 Q. l understand that. And during that
B BY MR. WEBER: a conversation she discussed with you that she was going
9 Q. You can answer. 9 to explore her opportunities tojoin Lockton?
10 A. No. 10 A. Correct.
11 Q. When did you tell Ms. Steed that you had 11 Q. And you know who Jada Preston is; correct?
12 received an offer from Lockton? 12 A. Yes.
13 A. Jaauary. 13 Q. She's sitting here as wel|?
14 Q. When January? 14 A. Yes.
15 A. Some time in January before I |cft. 16 Q. And did you discuss potential employment
16 Q. A week before? Two weeks before? 16 opportunities at Lockton with her?
17 A. l don't have a calendar in front ofme, but my 17 A. Yes.
18 guess would be not the first week, maybe the second full 16 Q. When was that?
19 week ol`January. 19 A. Same time period as Joanne.
20 Q. And what did you tell her? 20 Q. Second week in .lanuary?
21 A. That l made a decision that l'm going to leave. 21 A. No. That‘s when we discussed the opportunity
22 Q. And what did she say to you? 22 and I communicated that l was resigning.
23 A. I don't recall her specific response. 23 Q. When did you discuss the possibilities of
24 Q. Generally. 24 joining Lockton with Ms. Preston?
t\lin-U»Scri pt I_¢` DALCO Reporting, lnc. (15) Pages 57 - 60

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 18 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DlGREGORlO
MATI`HE\V DIGREGORIO, et al. March 09, 2018
Page 61 Page 63
1 A. Some time between in that November and December 1 A. Correct.
2 time period. 2 Q. And they had been with the company for awhile
3 Q. And where did that -- where did those 3 as well?
4 discussions take place? 4 A. l believe they were there ten years, if l'm not
5 A. l don't remember where our first conversation 5 mistaken.
6 was. 6 Q. l want to go back to something to see if this
7 Q. And did you tell her you were considering 7 refreshes your recollection.
a joining Lockton? s A. Sure.
9 A. Yes. 9 (Plaillfiff'$ E_xhihi[_‘i, i\lnrsh & hchcnnan Code
10 Q. And what did she say? 10 of Conduet, was marked for identification.)
11 A. That she would be interested in exploring the 11 BY MR. WEBER:
12 opportunity. 12 Q. l'm showing you what's been marked Plaintiff‘s
13 Q. Did you put her in touch with Hiram? 13 E;g|]ibit A. lt's a document from Marsh & McLennan
14 A. l provided her contact information to Hiram per 14 Companies entitled The Greater Good: Our Code of
15 her rcqucst. 15 Conduct, and then it says Compliance Policies attached
16 Q. And what did you say to Hiram? 16 to it about six, seven pages. Could you review that and
17 MR. SHAPIRO: Object to the form. 17 l'm going to ask if you've seen that before.
18 A. Just - 18 MR. SIEGEL: l\/lichael1 l notice that on page 1
19 BY MR. WEBER: 19 and 4 there are two --
20 Q. When you conveyed her contact information to 20 MR. WEBER: All the documents have the same --
21 Hiram, did you say anything when you did so? 21 MR. SlEGEL: No, they're highlighted
22 A. Other than providing the contact information, 22 MR. WEBER: Correct.
23 no. 23 MR. SIEGEL: ls that something that was added
24 Q. You didn't say, Hiram, here's a potential 24 for the deposition or is that something that --
Page 62 Page 64
1 candidate for you? 1 MR. WEBER: Yeah, for the deposition.
2 A. No. l gave him the name and numbers of both 2 MR. SIEGEL: So it wasn't originally -
3 Joannc and Jada and said that they were interested in 3 MR. WEBER: Correct.
4 having a conversation with you. 4 MR. SIEGEL: -- in that form?
5 Q. Do you know if either Ms. Steed or Ms. Preston 5 MR. WEBER: Correct.
6 had conversations with anybody else from Lockton prior 6 BY MR. WEBER:
7 to that time? 7 Q. Have you had a chance to look at it?
a A. Idon't know at what times they ever had a A. Yes.
9 interactions with Lockton prior to that. 9 Q. ls this familiar to you?
10 Q. You had worked with both Ms. Steed and 10 A. No.
11 MS. Prcston when you were employed by Merccr; correct? 11 Q. You never SE\W il before?
12 A. Yes. 12 A. l don't recall reading this document before or
13 Q. And describe your working relationship with 13 ever going to Compliance.mmc.com.
14 them. l don't mean -- what l mean is describe how you 14 Q. Do you ever remember taking any online training
15 worked in a professional way with them while you were 15 courses that dealt with The Greater Good?
16 with Mercer. 16 MR. SHAPIRO: Object to the fonn.
17 A. On new clients or future opportunities 17 A. ldon't specifically remember taking an online
16 prospective clients I would identify those, and when it 18 training course for - what did you call it? The
19 was appropriate l would bring them to meet the client 19 Greater Good?
20 and we would attempt to convince them to move their 20 BY MR. WEBER:
21 business to Mercer. 21 Q. The title of the document is The Greater Good:
22 Q. And as I understand it, you were the kind of 22 Our Code of Conduct.
23 the front salesperson, they were the knowledgeable 23 A. Oh, I'm sorry. Yes. I don't specifically
24 people about the programs that Mercer would offer? 24 remember taking that course.

 

 

 

 

i\lin-U-Script*i

DALCO Reporting, lnc.

(16) Pages 61 - 64

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 19 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DIGREGORIO
MATTHEW DIGREGORIO, et al. March 09, 2018
Page 65 Page 67

1 Q. Do you remember any general recollection of 1 Q. Approximately?

2 taking a course related to the substance of this 2 A. OctoberlNovember time frame.

3 document? You could take a look at it again if you 3 Q. And did you retain him at Lockton's

4 want. 4 encouragement?

5 A. Yeah, I don't specifically recall taking this 5 A. Lockton re -

6 course. Again, l've taken many online courses over the 6 MR. SHAPlRO: Object to the form.

7 time of my employment with Mercer. ljust don't 7 A. Lockton retained him on my hehalf.

s remember the names of those. a BY MR. WEBER:

9 Q. Right. And you register online for those 9 Q. ln October of-- approximately October 2017?
10 courses; correct? 10 A. October or November.

11 A. You go to a websitc and go into it, correct. 11 Q. ls there a record of knowing when you would
12 Q. Right. And that websitc records your taking 12 first know that Mr. Shapiro was representing you?
13 the course, does it not? 13 A. Not that l have access to.
14 A. l would assume so, yes. 14 Q. You believe it was in that October/November
15 Q. You understand that to be the case, don't you? 15 time period?
16 A. I would assume it takes a record of completing 16 A. l believe so, yes.
17 a course, yes. 17 Q. And do you believe that Mr. Shapiro helped
10 Q. Right. So if the Mercer records reflect that 18 draft this letter?
19 you took a course on The Greater Good, do you believe 19 A. Yes. Well, no, l didn't say he drafted this
20 that would be accurate? 20 letter. You asked for whether or not l had support or
21 A. l'd have to review those records to determine 21 guidance and l referred to my attorney when drafting the
22 my perspective. 22 letter.
23 Q. Okay. 23 Q. Just so it's clear, did Mr. Shapiro help you
24 (Plaintiffs Exhihlt_$_, E-mail with Notice of 24 draft the letter is my question?

Page 66 Page 68

1 Resignation, was marked for identification.) 1 A. He provided guidance on the draft.

2 BY MR. WEBER: 2 Q. Did you send this to anybody else other than

3 Q. Showing you what's been marked Plaintiff‘s 3 Mr. Lynn?

4 E;g]]j_b_iL;i_, a two-page document, an e-mai| from you to 4 A. No. And myself.

5 Mr. Cory Lynn and a copy of the Notice of Resignation. 5 Q. Did you discuss this resignation with Ms. Steed

6 Familiar with that document? 6 and Ms. Preston?

7 A. Yes. 7 A. Yes.

a Q. What is it? s Q. And when did you discuss it with them?

9 A. My resignation letter. 9 A. Prior to sending it in the January time framc.
10 Q. And you sent that to Mr. Lynn on January |71h 10 Q. And did there come a time when your attorneys
11 at about 8:35 in the morning? 11 told you not to destroy any electronic or hard copies --
12 A. Yes, sir. 12 and let me generally say we lawyers call a litigation
13 Q. And you copied your home e-mail Hotmail 13 hold letter advising you not to destroy any materials
14 address? 14 Did you ever receive that guidance from any attomey?
15 A. Yes, sir. 15 A. Can you repeat the question?

16 Q. And who drafted page 2 of this document, your 16 Q, Sure.

17 Notice of Resignation? 17 At any time from August to today, did any of
10 A. I did. la your attorneys ever advise you what we cal|, as l say, a
19 Q. Did you have any assistance in drafting it? 19 litigation hold or tell you not to destroy an electronic
20 A. Conferred with my attorney. 20 or hard copy documents?

21 Q. Whieh attorney is that? 21 A. Would that be attorney/client privilege?

22 A. Lyle Shapiro. 22 Q. Believe me, you're well represented Don't

23 Q. When did you first retain Ler Shapiro? 23 worry about it.

24 A. Idon't remember the exact datc. 24 A. I never heard of a hold letter. The only
Min~U-Scriptn DALCO Reporting, lnc. (17) Pages 65 - 68

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 20 of 70

 

 

 

 

 

 

MERCER HEAL.TH & BENEFITS, LLC v. MATTHEW DIGREGOR|O
MATTHEW DlGREGORlO, et al. March 09, 2018
Page 69 Page 71
1 instruction l ever can recall is not to take any Mercer 1 Q. Never signed it or saw or received one?
2 documents with me when I left. 2 A. Idon't recall ever receiving an employee
3 Q. Okay. We will not pursue that any further. 3 handbook from Mercer.
4 You coordinated your resignation with Ms. Steed 4 Q. Why did you BCC yourself on this e-mail?
5 and Ms. Prcston; correct? 5 A. So l had a copy of it for my records.
6 A. No. 6 Q. Is it - strike that.
7 Q. The fact that they resigned the exact same time 7 You didn't feel it was appropriate to give some
a that you did is a coincidence? s advanced notice of your resignation?
9 A. I thought you said I coordinated it. We 9 A. No. I didn't feel I had an obligation.
10 coordinated it. 10 Q. In the second paragraph of your resignation
11 Q. Who is "we“? 11 letter you say you performed a thorough, diligent search
12 A. Mysell`, Joanne, and Jada. 12 and continued you don't have any confidential Mercer
13 Q. In the sense of-- explain what you mean by "we 13 information in your possession, electronic or otherwise.
14 coordinated". 14 Do you see that?
15 A. l mcan, the three of` us discussed what we 15 A. Yes.
16 mutually -- or excuse me - what we exclusively decided 16 Q. Were you given any guidance on saying that?
17 on our own and we decided when after that discussion 17 A. I don't believe I can answer that question.
13 what we wanted to do going forward. 18 Q. Why not?
19 Q. Any advice from counsel on that? 19 A. Due to attorney/client privilege.
20 MR. SHAPIRO: Object to the fonn. 20 Q. ls part of your compensation package with
21 MR. WEBER: You can answer. 21 Lockton a commission?
22 MR. SHAPIRO: l don't want you to get into any 22 MR. SHAPIRO: l'm going to lodge the same
23 client, attorney/client communications 23 objection, and we're happy to during a break discuss
24 MR. DIGREGORIO: Okay. 24 providing plaintiffs counsel with information he's
Page 70 Page 72
1 MR. SHAPIRO: So -- 1 requested with appropriate protections
2 BY MR. WEBER: 2 (P|aintiff's Ex|]ibit §, Dec|aration, was marked
3 Q. Did you have any guidance? 3 for identification.)
4 MR. SHAPlRO: lf there's non attomey/c|ient 4 BY MR. WEBER:
s communications, then you can respond to that s Q. Show you what's been marked Plaintiff‘s
6 question. 6 E:illi_b_it_&, a three-page Dec|aration in this case. Are
7 MR. DIGREGORIO: Sure. 7 you familiar with it?
a A. So what's the question? s A. Yes.
9 MR. SHAPIRO: Did you have any -- sorry. l 9 Q. And is that your signature?
10 can't help myself. 10 A. Yes.
11 MR. WEBER: l can use all the help l can get. 11 Q. ln paragraph 4 you state, "On January l'lth,
12 MR. SIEGEL: Did you have any guidance? 12 20|8, l sent my resignation letter to Cory Lynn at
13 A. I'm sorry. The question. 13 Mercer. That same day, l accepted a position with
14 BY MR. WEBER: 14 Southeast Series of Lockton Companies, LLC ('Lockton
15 Q. Did you have any guidance from anybody as to 15 Southeast') as a Senior Vice President." ls that an
16 the date of resignation? 16 accurate statement?
17 A. Define "guidance". 17 A. Yes, sir.
10 Q. l'll move on. 19 Q. So you didn't accept a position at Lockton till
19 Were you aware of an obligation to give two 19 you resigned from Mercer; right?
20 weeks prior notice resignation? 20 A. Correct.
21 A. No. 21 Q. What's the date of your Employment Agreement
22 Q. Were you aware of that provision in the 22 with Lockton?
23 employee handbook? 23 A. I don't have that in front of me so I don't
24 A. Never seen an employee handbook from Mercer. 24 know.
Min-l -Script ii DALCO Reporting, lnc. (18) Pages 69 - 72

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 21 of 70

 

 

MERCER HEALTH & BENEFI'I`S, LLC v. MATTHEW DIGREGORIO
MA'I`THEW DlGREGORlO, ct al. March 09, 2018
Page 73 Page 75

1 Q. Approximalely? l include any notes about Mercer client's business such as

2 A. After January l7th, 2018. 2 preferenecs, lines of business, or prieing."

3 Q. The date of your employment with Lockton is 3 Q. Where did you send that?

4 after January l7th, 2018? 4 A. l believe it was to my home computer.

5 A. To the best of my recollection, it's either the 5 Q. At your home e-mail address at Hotmail?

6 17th or after. 6 A. No.

7 Q. When is the first time you received a draft of 7 Q. How did it get to your home computer?

a your Employment Agreement? a A. l airdropped it.

9 A. Decemhcr/October -- excuse me. 9 Q. And tell me how you airdrop it.

10 December/January time period. 10 A. Idon't understand the question.
11 Q. And did you make any changes to that agreement 11 Q. Well, l'm not a technologically savvy person so
12 between November/December and n hen you finally signed 12 explain for the record what airdropping is.
13 it? 13 A. An airdrop is having the ability of taking a
14 A. December and January is when l received it. 14 contact from one place and putting it in another.
15 Did l make changcs'.’ l believe there were changes to the 15 Q. ls there any trail 01' trucking Ofll‘lat prOCeSS?
16 original agreement 16 A. l'm not a technology expert. I don't know.
17 Q. That your attorney may have made. l'm not 17 Q. Well, you knew enough how to drop it in there
16 asking you for those discussions 16 instead of sending it to your home e-mail address;
19 A. Correct. 19 right?
20 Q. On your behalf'? 20 MR. SHAPIRO: Object to the form.
21 A. Yes, sir. 21 A. I don't understand that question.
22 Q. In paragraph 5 of the Declaration, Plaintiffs 22 BY MR. WEBER:
23 Ezthlb_ij_&, you state, "Prior to resigning my position at 23 Q. Why didn't youjust e-mail it to your home
24 Mercer, I sent myself a copy of my Outlook contact list. 24 e-mail address?

Page 74 Page 76

1 My Outlook contact list consists of publicly available 1 A. Airdrop is the method l decided to use.

2 information, such as names, addresses, phone numbers, 2 Q. Have you ever used it before?

3 and e-mail addresses for the contacts. My contact list 3 A. Yes.

4 does not include any notes of any Mercer client's 4 Q. When?

s business such as preferences, lines of business, or 5 A. For other personal contacts.

6 pricing." ls that an accurate statement? 6 Q. Such as?

7 A. To the best of my knowledge, yes. 7 A. From one phone to another.

6 Q. And on your -- and you sent this to your home 0 Q. What did you send for airdrop?

9 e-mail address; right? 9 A. Oh, the question was did l ever use it before.
10 A. No. 10 Q. Correct. And l'm asking you - you said yes,
11 MR. SHAPIRO: Object to the fonn. 11 and l' m saying for what purpose?

12 A. No. 12 A. For getting other people' s contacts

13 BY MR. WEBER: 13 information.

14 Q. You said, "I sent myself a copy of my Outlook 14 Q. Fine. ls it only contact information that you
15 contact list." Where did you send it? 15 use the airdrop?

16 A. I didn't. I did not. l sent it to my phone. 16 A. I'm sorry. Can you repeat that?

17 Or excuse me. No. 17 Q. Is it only -- do you only use airdrop for

16 Q. Okay. Read paragraph 5 to the record, please. 16 contact information or do you use it for other purposes?
19 This is your sworn Declaration; correct? 19 A. l've never used it for a different purpose.
20 A. "Prior to resigning my position at Mercer, I 20 Q. Just for contact inforrnation?

21 sent myself n copy of my Outlook contacts. My Outlook 21 A. Correct.

22 contact list consists of publicly available information, 22 Q. ls there a way to track the use of an airdrop?
23 such as names, addresses, phone numbers, and email 23 MR. SHAPIRO: Object to the form.

24 addresses for the eontacts. My contact list does not 24 A. Again, I'm not a technology expert. Idon't

 

 

 

 

\lin-l`-Script tv

DALCO Reporting, lnc.

(19) Pages 73 - 76

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 22 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DlGREGORIO
MA'I'I`HEW DIGRECOR|O, et al. March 09, 2018
Page 77 Page 79

1 know the answer to that. 1 A. ln some cases, yes.
2 BY MR. WEBER: 2 Q. ln what cases?
3 Q. But you knew enough how to drop it into the 3 A. ln the cases where those companies decide to
4 airdrop; right? 4 list their executives' contact information.
5 A. Correct. 5 Q. But l'm asking to your knowledge, tell me which
6 Q. And where does that contact list reside right 6 companies do that.
7 now? 7 A. I couldn't, I eouldn't say which ones do.
a A. In multiple locations. s Q. Okay. What other public sources are there for
9 Q. One of them is at Lockton; correct? 9 somebody's e-mail address?

10 A. Onc of them would be on my Outlook, correct. 10 A. Form 5500 iilings.

11 Q. And you used that list to send announcements of 11 Q. And what is that?

12 yourjoining Lockton; correct? 12 A. A list that you can purchase from other various

13 A. Correct. 13 locations that collect this type of data.

14 Q. Now, you say in your declaration this contact 14 Q. Did you ever do that?

15 list consists of`publicly available information; 15 A. I've never had the need to do that.

16 correct? 16 Q. Okay. What's on a 5500 form?

17 A. Yes. 17 A. 5500 forms are IRS required filings for any

18 Q. And lll€l‘e'S Some Mercer clients Orl that list; 18 company that has over a hundred participants on their

19 correct? 19 benefits plan in any one given year.

20 A. There would be contact information for 20 Q. Do you ever look at them?

21 individuals who work for Mercer clients, yes. 21 A. Can I finish the question?

22 Q. And is it your testimony that that information 22 Q. Sure.

23 is publicly available? 23 A. They have renewal dates information on there.

24 A. Yes. 24 They have the client contact on there, whoever was

Page 78 Page 80

1 Q. And Where WOLllCl OIIE find that public 1 responsible for signing the document, They have premium
2 information? 2 information on there. They have the carrier information
3 A. Many public sources: Linkedln, their websites, 3 on there. They have what lines of coverage they
4 among others. 4 purchase on there. They have the broker commissions on
5 Q Okay. And Linl~tedln has the individual'$ e-rnail 5 there which is their compensation They have the number
6 address? 6 of participants that pnrticipate, a number ofelnployees.
7 A. You have the ability via Linkcdln to send an 7 They have - let me see if I've left anything out.
0 e-mai| to someone at whatever e-mail address they input. 8 Other such information that references the lines of
9 Q. You have to have that e-mai| address tirst; 9 coverage that they purchased.

10 right? 10 Q. A|l done? When is --

11 A. Correct. 11 A. Yes.

12 Q. What other public sources are there for 12 Q. --the last time you looked at the 5500 form?

13 somebody's e-mail address? 13 A. This week.

14 A. Employer's websites. 14 Q. And prior to your resignation when was the last

15 Q. Employer's website, is that your testimony? 15 tim you looked at it?

16 MR. SHAPIRO: Object to the form. 16 A. Probably that week or the week before.

17 A. The company's website, meaning if I go to 17 Q. And prior to that?

18 company ABC's websitc you can lind nut the @ part ofthe 18 A. It'S Something I WOllld look at, if not daily,

19 address. You can also find out who the executives' 19 at least once or twice a week.

20 names are typical|y. 20 Q. And what's the purpose of looking at it?

21 BY MR. WEBER: 21 A. To obtain publicly available information about

22 Q. So your testimony is that, for example, clients 22 companies.

23 of Mercer's websites have the e-mail address of the 23 Q. And did you ever download any information from

24 contact people of those employers? 24 thc 5500 form?

 

 

 

 

t\lin-U-Script lt

DALCO Reporting, lnc.

(20) Pages 77 - 80

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 23 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEF|TS, LLC v. MA'ITHEW DlGREGORIO
MA'I'THEW DIGREGORIO, et al. March 09, 2018
Page 81 Page 83

1 A. l'm not sure I understand the question. 1 system it automatically uploaded it; correct?

2 Q. Did you ever take information that you observed 2 MR. SHAPIRO: That'S what he said.

3 on a form 5500 and transfer it to any personal account1 3 A. That‘s what l said.

4 contact list, or anything else? 4 Can I have some water, please?

5 A. That doesn't make any sense. No. 5 BY MR. WEBER:

6 Q. Okay. l'll rephrase it. 6 Q. Please.

7 When you sent your contact list or when you 7 A. May I get up and get it?

6 airdropped your contact list to your home computer, a Q. You may.

9 where else did you send itTj 9 You mentioned that you airdropped this contact
10 MR. SHAPIRO: Object to the fonn. 10 list into your home computer. Do you still have that
11 A. l airdrop my contacts to my home computer, and 11 home computer?

12 that's the only place I sent that to. 12 A. Yes.

13 BY MR. WEBER: 13 Q. What kind of computer is that?

14 Q. Okay. And then you transferred it from there 14 A. It's an Apple something. lt's a desktop. l

15 to the Lockton account; correct? 15 don't know the model number.

16 A. No. No. 16 Q. Apple desktop?

17 Q. Does Lockton have your contact list? 17 A. Yeah.

10 A. Yes. 16 Q. And other than your Apple desktop, your iPhone

19 Q. And how did they get it? 19 and your Lockton computer, does that contact list exist

20 A. Via my Apple lD. 20 anywhere else?

21 Q. And how did they get it via your Apple lD”:‘ 21 A. l believe anywhere l'm logged in to my Apple lD

22 A. Because l have an Apple phone which l logged in 22 is where it would bc on: so my phone or l guess my

23 with my Apple lD and it automatically would pull it up 23 Outlook, and l guess, you know, wherever l'm logged in

24 on your phone. 24 on my Apple ID, so my iPad as we|l, it would as well be
Page 82 Page 84

1 Q. And you transferred that to Lockton? 1 on there.

2 A. No. It automatically loaded. 2 Q. Okay. Do all the Mercer clients with whom you

3 Q. Well, my point is the information on your Apple 3 worked, do the contact information from those clients

4 phone somehow got to a Lockton computer; correct? 4 appear on your contact list?

5 A. Again, l'm not a technological savvy 5 A. I wouldn't know.

6 individual. What l can say - if you'll let me answer 6 Q. What's your best estimale?

7 the question - is l airdropped the contacts from Outlook 7 A. There would be a percentage of them for sure

8 to my personal computer which is logged in to my Apple 0 that would be on there. l don't know if all of them nrc

9 lD. When l logged in to my Apple phonc, which has 9 on there1 but a good number ol'them would be on there.
10 Lockton apps on it, it showed up in my Outlook. 10 Q. Okay. Where would the ones who were not on
11 Q. Understood. 11 that contact list appear?

12 A. I mean, but your statement was that I 12 A. Iwouldn't have them.

13 downloaded or did something to make it happcn. lt just 13 Q. You wouldn't have them?

14 happened. Ididn't - 14 A. No.

15 Q. ltjust happened just by itself? 15 Q. And what about Mercer prospects, would they
16 A. I didn't, I didn't download it. The point is 16 appear on your contact list?

17 then it was there. 17 A. l'm confident there arc contacts in my Outlook
16 Q. The phonejust walked into Lockton by itself 16 that are not clients of Mercer.

19 and it gave it information; right? 19 Q. Would you call them prospects? You're not much
20 MR. SHAPIRO: Object to the forrn. 20 of a salesperson if they're not all prospects, are you?
21 A. Do phones have feet? No. So... 21 MR. SHAPIRO: Object to the form.

22 BY MR. WEBER: 22 MR. SIEGEL: Depends on your definition of
23 Q. There's no doubt that because your information 23 "prospect".

24 was in your iPhone and you connected it to the Lockton 24 MR. DIGREGORIO: Yeah.

Min-l -Script s DALCO chorting, lnc. (21) Pages 81 - 84

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 24 of 70

 

 

MERCER HEALTH & BENEF|TS, LLC v. MATI`HEW DIGREGOR|O
MATTHEW DlGREGORlO, ct al. March 09, 2018
Page 85 Page 87
1 A. Again, l'm confident there are client 1 Q. You tell me, Well, let me ask it this way.
2 company - there's contact information in there that are 2 Whenever you submitted expense reports related
3 prospects of Mercer. Not all of them are Mercer 3 to business development activities ~~
4 prospects, 4 A. Mm-hmm.
5 BY MR. WEBER: s Q. -- were those expense reports reimbursed'.’
6 Q. Understood. 6 A. Prior to, prior to my leaving, yes, they still
7 Does the contact list contain the names of 7 owed me money.
6 individuals that you metal Mercer-sponsored events such 6 Q. Okay. How much do they owe you'?
9 as cocktail parties, connections and cigar events? 9 A. lt's hard to figure out because they won't give
10 A. Yes. 10 me the information I need to ascertain that.
11 Q. In paragraph 6 you write that include 11 Q. Okay. Over -- strike that.
12 "prof`essional contacts". What does that mean by 12 On an annual basis, on an average annual basis,
13 "professional contacts"? 13 approximately how much did you incur for business
14 A. Can I read the paragraph? 14 expenses that was reimbursed by Mercer?
15 Q. Please. 15 A. Idon't know. l didn't have access to that
16 A. Profcssional contacts would bc companies that l 16 information.
17 have contact -- individuals l have contact with that l 17 Q. Did you keep copies of your expense reports
18 could not do business with directly, so not prospects. 18 that you submitted?
19 Q. l'm sorry? 19 A. No.
20 A. Not prospects, but individuals l have contact 20 Q. Mercer has them?
21 with from a business perspective but they would not be 21 A. Yes.
22 prospective clients. 22 Q. In paragraph 9 you state that someone from
23 Q. Can you give me an example? 23 Lockton tells you not to bring any Mercer documents or
24 A. Sure. So JP Morgan Chase, a large gigantic 24 information to Lockton. See that?
Page 86 Page 88
1 company, cannot be a prospect for me because they're not 1 A. Yes.
2 headquartered here, and l have friends that are bankers 2 Q. And who told you that?
3 there that l rely on from a business associate 3 A. Hiram Marrcro, and then l was instructed by my
4 perspective 4 attorney as well.
5 Q. Got it. Okay. Thank you. 5 Q. And did you comply with that directive?
6 ln paragraph 6 you also state, "'l`hese names 6 A. Yes.
7 were accumulated from all types of personal and 7 Q. And approximately when did you have those
6 professional interactions over the course of a conversations with the individuals from Lockton?
9 approximately 18 years, including, among other things, 9 A. I don't recall the exact time.
10 attending trade shows and professional or networking 10 Q. And you state in paragraph l0 that you have not
11 events, doing Intcrnet research, reviewing directories 11 used any confidential documents or information since
12 from business associates and attending personal 12 joining Lockton; correct?
13 functions"; correct? 13 A. Correct.
14 A. Yes. 14 Q. And that's an accurate statement; right?
15 Q. During your employment at Mercer, did you ever 15 A. Yes.
16 incur expenses related to the activities you described 16 Q. And paragraph l l says, "l did not retain any
17 in paragraph 6? 17 documents concerning client pricing, preferences, or
16 A. Yes. 18 renewal dates.
19 Q. And did Mercer reimburse you for those 19 A. Correct.
20 expenses? 20 Q. Did you retain any other documents not related
21 A. Yes. 21 to client pricing, preferences, or renewal dates that
22 Q. And did you submit regular expense reports in 22 are Mercer documents or property?
23 that regard? 23 A. No.
24 A. Dcfine "regular". 24 Q. You sent an c-mail to everyone on your contact

 

 

 

 

i\lin-U-Script R`

DALCO Reporting, lnc.

(22) Pages 85 - 88

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 25 of 70

MERCER HEALTl-l & BENEFITS, LLC v.
MATTl-IEW DIGREGOR!O, et al.

MATTHEW DIGREGOR|O
March 09, 2018

 

 

 

 

Page 88 Page 91
1 list as you've stated in paragraph 12; right? 1 way other than sending e-mails to your contact list?
2 A. ¥es. 2 A. Not intentionally. My understanding is that
3 Q And you advised them that you hadjoined 3 some people received faxes somehow. No idea how that
4 Lockton; is that right? 4 happened.
5 A. Yes. 5 Q. So other than the contact list or the faxes,
6 Q. l-low many people received announcements that you 6 you didn't announce your departure in joining Lockton
7 had joined Lockton? 7 any other way?
8 A. l have no idea. 8 A. l also would change my information on Linkcdln,
9 Q. Approximately? 9 which l suppose would probably create some kind of
10 A. No idea. l've never counted how many people 10 announcement l'm guessing.
11 arc in my contacts. 11 Q. Anything else?
12 Q. Do you have a ballpark estimate? 12 A. I did not send that e-mail in any other
13 A. I could not accurately make that statement. 13 fashion.
14 Q. Five thousand? 14 Q. And you didn't announce yourjoining Lockton in
15 A. Again, I could not accurately make that 15 any other fashion other than what you'vejust said?
16 statement 16 MR. SHAPIRO: Object to the fonn.
17 Q. No sense at al|? Could be 10,000? 17 A. Are we talking about the c-mails or -
16 A. l'm confident it's not 10,000. l'm sure we 18 BY MR. WEBER:
19 could get that answer for you if we - 19 Q. Any announcement that about -- any indication
20 Q. Somewhere between 5,000 and 10,000“?l 20 that youjoined Lockton.
21 A. l doubt it. 21 A. Yeah, l'm sure that between Linkedln, the
22 Q. Somewhere between 2,500 and 5,000'.J 22 c-mai|, and running into people and/or talking to people
23 A. Again, I don't know the answer to that 23 over thc phone that l suppose those would count as
24 question. 24 announcements as well.
Page 90 Page 92
1 Q. Do you know Tim Burns? 1 Q. Okay. You said some people received faxes of
2 A. Yes. 2 yourjoining Lockton; correct?
3 Q. Who is he? 3 A. Yes.
4 A. Hc is the CFO for FabSouth. 4 Q. Do you know how that happened?
5 Q. And how do you know him? 5 A. l have no idea how that happened. Apparcntly
6 A. l met him prior to my employment at Mercer. 6 it was a good thing because apparently no one receives
7 Q. Where did you meet him? 7 faxes.
6 A. l don't recall exactly where I met him. 6 Q. Do you know who Rogi Metvani (ph)?
9 Q. Was he a Mercer client before youjoined 9 A. Yes.
10 Mercer? 10 Q. Who is he?
11 A. I don't know. 11 A. Hc is, l believe his title is executive vice
12 Q. l-le became a Mercer client? 12 president or COO for Acumen.
13 A. I'm sorry? 13 Q. How do you know him?
14 Q. l-le became a Mercer client? 14 A. 1 originally produced that account for Mercer
15 A. I don't know. I don't know when FabSouth 15 when we originally sold it.
16 became a client of Mercer. They weren't a client of 16 Q. Did you know him before youjoined Mercer?
17 mine. 17 A. No.
16 Q. Did you send him an e-mail? 16 Q. His company is a Mercer client; right?
19 A. When? 19 A. Yes.
20 Q. l'm asking you, did you send him an e-mail 20 Q. And did you send an announcement to him via
21 announcing yourjoining Lockton? 21 text messagc?
22 A. Yes. He's in my contacts so he would have 22 A. No.
23 received an e-mail. 23 Q. Do you ever use text messages?
24 Q. Did you announce your new position in any other 24 A. Yes, I usc text mcssagcs.

 

 

l\lin-U-Script il

DALCO Reporting, lnc.

(23) Pagcs 89 - 92

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 26 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEF|TS, LLC v. MATI`HEW DlGREGORIO
MATTHEW DlGREGORlO, et al. Ma rch 09, 2018
Page 93 Page 95
1 Q. And when do you use them? 1 A. I don't know the exact count.
2 A. To contact friends and other people. 2 Q. So you stated in your Declaration that you
3 Q. Did you ever use text messages to communicate 3 performed a thorough and diligent search for any Mercer
4 with anyone from Lockton prior to your resignation? 4 material. Can you describe what steps you took in your
5 A. l'm sure I did. 5 search?
6 Q. Was that your method of communication with 6 A. I made sure that l didn't have any paper
7 representatives of Lockton prior to your resignation? 7 documents at my horne residence
6 MR. SHAPIRO: Object to the form. 6 Q. And when you say you made sure you didn't have
9 BY MR. WEBER: 9 any, what did you do?
10 Q. You can answer. 10 A. l don't - l never really kept paper documents
11 A. I usc various forms of communication. 11 at my house. l just made sure there wasn't anything
12 Q. Well, l'm asking if you used text messages 12 sitting on my office desk or anything like that -
13 MR. SHAPIRO: Object to the fonn. 13 Q. Okay.
14 A. Do l use text messages? 14 A. - or in my briefease.
15 BY MR. WEBER: 15 Q. What else did you do'?
16 Q. Did you use text messages to communicate with 16 A. I also went through my personal e-mail and
17 anyone representing Lockton's interest prior to your 17 attempted to locate anything that l may have sent front
16 resignation f`rom Mercer? 16 Mercer over the course ol` my career and deleted it.
19 MR. SHAPIRO: Object to the f`onn. 19 Q. Did you find anything'?
20 BY MR. WEBER: 20 A. Yes.
21 Q. You can answer. 21 Q. How many documents did you tind?
22 A. l'm sure I did. 22 A. Idon't recall the number.
23 Q. Was that your preferred method of communication 23 Q. Approximately?
24 with representatives of Lockton prior to your 24 A. I don't recall the number.
Page 94 Page 96
1 resignation'? 1 Q. More than ten?
2 A. ldon't have a preferred method ol` 2 A. I don't want to speculate on the number.
3 communication. 3 Q. More than 20?
4 Q. Well, did you use text messages more than 4 A. I don't want to speculate on the number.
s e»mai|s, for example? 5 Q. More than 30?
6 A. l don't have a count on those things sol 6 A. We can keep raising the number but l'm not
7 eouldn't comment. 7 going to commit to a number that l can't recall.
6 Q. Did you communicate with Lockton 6 Q. And how did you delete them?l
9 representatives via e-mail prior to your resignation? 9 A. Using a delete button.
10 A. Yes. 10 Q. That‘s all you did?
11 Q. When? 11 A. And then l deleted my delete tiles.
12 A. Don't recall. 12 Q. Anything else?
13 Q. l-Iow ot`ten? 13 A. I believe that's all you need to do to delete.
14 A. Don't recall. 14 Q. Did you wipe any files?
15 Q. To whom? 15 A. l never kept any hard copy doeuments, to the
16 A. Minoj, one oI' Lockton's counse|s, maybe Hiram, 16 best of my recollection, on any computer.
17 and l'm sure l communicated with Lyle, my nttorney, via 17 Q. So With respect to the Mercer documents Whieh
16 e-mail as well. 16 you had on your computer --
19 Q. How often did you use e-mail to communicate 19 A. Yes.
20 with the individuals youjust mentioned? 20 Q. - you simply deleted them and then deleted the
21 A. lnl'requently. 21 delete iile; is that right?
22 Q. Less than five times? 22 A. Correct.
23 A. l don't know the exact count. 23 Q. And you have none of those now?
24 Q. Less than ten times? 24 A. Can you repeat the last question, please?
i\lin-l`-Script il DALCO Reporting, lnc. (24) Pages 93 - 96

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 27 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATI`HEW DIGREGOR|O
MATI`HEW DIGREGORIO, et al. March 09, 2018
Page 97 Page 99
1 Q. And you have none of those documents? 1 compensation at Mercer in 2016, total compensation
2 A. I'm sorry. The question before the last 2 package, commissions and selling?
3 question, can you repeat that? 3 A. l'd prefer not to answer that in front of
4 Q. l believe you said you searched your computer 4 Mercer employees.
5 for Mercer documents s MR. WEBER: Lyle.
6 A. Mm-hmm. 6 MR. SHAPIRO: Could wejust do it outside the
7 Q. Those that you found that were Mercer 7 presence of Mercer?
a documents, you deleted them -- a MR. WEBER: They can step out if you want.
9 A. Yeah. 9 MR. SHAPIRO: lnc|uding Mercer?
10 Q. -- then you deleted the delete lile; correct? 10 MR. DIGREGORIO: That would be helpful.
11 A. Yes. 11 MR. SHAPIRO: ¥eah. Do you guys mind stepping
12 Q. And did you keep any of those documents that 12 out?
13 you claim you deleted? 13 MS. STEED: Not at all.
14 A. No. 14 MS. TREE: Want me to step out‘?
15 Q. And did you transfer them anywhere? 15 MR. WEBER: No.
16 A. No. 16 MR. DIGREGORIO: l would.
17 Q. And you don't have any hard copies in your 17 MR. WEBER: That's not your prerogative
16 possession at this time? 16 MR. DIGREGORIO: You asked for it.
19 A. No. 19 MR. SIEGEL: Mercer has that information.
20 Q. And you've not used any of the materials from 20 MR. DIGREGORIO: Mercer employees do nm, and
21 those documents at this time? 21 they're not going to be happy.
22 A. No. 22 (Ms. Steed, Ms. Preston, and Mr. Sharma
23 (Plaintifl’s Exhjhi_t_l, E-mai|, was marked for 23 exited.)
24 identification.) 24 MS. TREE: You're aware of the time; right?
Page 93 Page 100
1 Q. Show you what's been marked P|aintift‘s 1 MR. WEBER: Before l get there, you said you
2 l~}zgl]ibit Z. lt appears to be an e-mail from you to your 2 were flexible on the time. l'm going to have very
3 home e-mail address dated October 1 lth, 2017, Can you 3 little time with your other two clients. l'd like
4 tell me what that is? 4 to spend it here. l think it's more important.
5 A. .lewelers Mutual is an online insurance company 5 MR. DIGREGORIO: No.
6 that my insurance adviser told me about so l can insure 6 MR. WEBER: Do you have a problem with that?
7 my wife's jewelry. 7 MR. SIEGEL: lt depends on how much.
6 Q. Nothing's remarkable about that? 6 MR. WEBER: Two hours instead of - I mean,
9 A. l'm surprised to see that, which reminds me I 9 three hours instead of two-and-a-half.
10 still have to get that stuff insured. 10 MR. SHAPIRO: Okay. Let's see.
11 Q. Better get going. 11 MR. WEBER: l'm trying to get through this.
12 A. Can l take that with me as a reminder? 12 MR. SHAPIRO: l've got to talk to my client
13 MR. SIEGEL: Could you mark the transcript 13 about it.
14 smoking gun. 14 MR. WEBER: Ot`f the record.
15 MR. WEBER: l'm giving you a copy. 15 (Offthe record 10:22 a.m.)
16 (P|aintiffs Exl]ihi.t_&, E-mail with Active 16 (On the record 10:22 a.m.)
17 Account Listing, was marked for identification.) 17 BY MR. WEBER:
16 BY MR. WEBER: 16 Q. So what was your total compensation in 2016 at
19 Q. Before I show you that document, did you have 19 Mercer?
20 any issues with your compensation in or about 20 A. To the best of my rccollcction, somewhere in
21 October 2017 with Mercer? 21 the neighborhood of $750,000.
22 A. You'd have to be more specific with the issues. 22 Q. ln 2017 did your total compensation at Mercer
23 l'm not sure I understand what your question is. 23 change?
24 Q. Let me ask you this. What was your 24 A. 1 don't believe my base compensation changed.
t\‘lin-U-Script® DALCO Reporting, lnc. (25) Pages 97 - 100

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 28 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEF|TS, LLC v. MATTHEW DIGREGORIO
MATI°HEW DlGREGORIO, et al. March 09, 2018
Page 101 Page 103
1 My variable comp most certainly changed. 1 down.
2 Q. What was your base comp? 2 A. No.
3 A. I want to -»- 3 Q. You didn't?
4 Q. Approximately? 4 A. Not that I recall.
5 A. 130,000 or something. 5 Q. Do you know who Karen Doo|ittIe is?
6 Q. Okay. And what was your - your variable comp, 6 A. Oh, yeah.
7 you mean your commissions? 7 Q. Who is she?
6 A. No. Meaning the amount of money that Mercer 6 A. She is the sales manager based in Atlanta for
9 made, the percentage that l would take off of that. 9 whatever region Mercer calls it now.
10 Q. You don't call that commissions? 10 Q. And you had communications with her in October
11 A. No. 11 of 2017, did you not?
12 Q. What do you call that? 12 A. Yes, l communicated with Karen Doolittle in
13 A. Variablc comp. 13 2017.
14 Q. Variable comp is total revenues and then you 14 Q. And you communicated about your total
15 receive some percentage oftltat? 15 compensation package, did you not'ir
16 A. Correct. 16 A. l don't recall speaking to her about my total
17 Q. That‘s variable comp? 17 compensation.
16 A. Correct. 16 Q. What do you recall speaking to her about?
19 Q. Did that total about 750 in 2016'? 19 A. She was one of my direct rcports, so
20 A. No. You asked the total Of` my total 20 conversations with Karen would be around opportunities,
21 compensation was 750, so it would be the 750 minus the 21 pipeline, and promotions, things like that.
22 130 or roundabout numbers. 22 Q. You don't recall any conversation with her on
23 Q. Thank you. ln 2017 did your total comp cltange? 23 or about October 1 lth about your total package, comp
24 A. lt wouldn't because the variable component. l 24 package?
Page 102 Page 104
1 would not know what the variable differential was. 1 A. Again, l don't recall speaking to her about my
2 Q. You wouldn't know what that was? 2 compensation. if you were to tell me I did, l'd believe
3 A. l haven't looked at my W-2 yet so l don't know 3 you, but I don't recall.
4 the difference. 4 Q. l'm telling you you did. l have an e-mail that
5 Q. You didn't have any -- strike that. 5 she said she spoke to you on October l lth, 2017, at -~
6 You have no knowledge of any change in your 6 in fact, l have an e-mail that she sent you on
7 total comp in 2017 at Mercer? 7 October I lth, 2017, at 8:56 in the morning for a
9 A. l'm sure there was a change because of the 6 one-on-one where there's a breakdown of your
9 variable component, meaning it varies from year to year. 9 compensation, year one AR goal, year one BOR goal. You
10 Q. Right. Well, you had a two-year period of time 10 know what those things are; right?
11 where you got variable comp from clients, right, at 11 A. I think you're misinformcd. That‘s not
12 Mercer? 12 compensation.
13 A. Correct, a larger percentage on the first year 13 Q. Okay. Tell me what l'm referring to.
14 and an extremely small percentage on the second. 14 A. Those are goals that Mercer sets relative to
15 Q. And then it dropped oi`i`? 15 what they're expecting me to produce on an annual basis
16 A. Then there was no comp after that. 16 for annual revenue.
17 Q. Correct. So if you didn't bring in new 17 Q. Okay. Thank you.
16 business your variable comp would go down? 16 And those goals relate to your total
19 A. Correct. 19 compensation to some degree; correct?
20 Q. And isn‘t it true that in October you had 20 A. No. 1 could explain if you'd like me to.
21 discussions with representatives from Mercer about your 21 Q. l would. Thank you.
22 variable comp being Iower? 22 A. You guys don't want me to go in narrative. l'm
23 A. About my variable comp being lower? 23 going on the narrative.
24 Q. in other words, your total compensation going 24 Q. Go right ahead. They'll stop you if--
Min-l -Script i¢ DALCO Reporting, lnc. (26) Pages 101 - 104

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 29 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MA'I`THEW DIGREGORIO
MA'I`THEW DIGREGORIO, et al. March 09, 2018
Page 105 Page 107
1 A. Yeah, l know. 1 most likely because Mercer's goals are ridiculous
2 Q. Don't worry about them. 2 relative to the industry.
3 A. Mercer's variable compensation, which l believe 3 Q. Did you -- do you recall saying that you
4 they call the SCP plan, is based off of revenue that 4 recommended having similar AR goals for both associate
5 Mercer brings in the dunr, meaning they can set a goal 5 and principal for years one and two?
s of 52 million, it has zero impact on how I get paid. 6 A. No, I don't recall saying that.
7 They have not tied the two together. So il` l bring in 7 Q. Do you recall Karen asking for your comments on
6 52 million, l will get paid a percentage on that once it 6 the SCP?
9 comes in the door the first year. But if they said, 9 A. Yes.
10 we're doubling your sales goal, and 1 didn't hit it, l 10 Q. Do you remember what the SCP is?
11 still would be paid whatever I - 11 A. We just discussed it a minute ago.
12 Q. You still get paid that variable comp number? 12 Q. Okay. And did you provide your comments?
13 A. So what's in that e-mail is irrelevant to my 13 A. l'm sure l did.
14 compensation. 14 Q Do you remember saying that you didn't like the
15 Q. Does it refresh your recollection that you had 15 thresho|ds being tied to salary‘?
16 a discussion with her on October l Ith about goals, BOR 16 A. Yes.
17 goal, year two goal, year two BOR goal, year three goal, 17 Q. You said not only is it complicated to
16 et cetera? 16 understand, it becomes a negative and starts to
19 A. l remember - l don't know if it was October or 19 disincentive -- disinccnt people at some point, i.e.
20 not - l remember her sending me n document similar to 20 discourage, advance... Do you remember that
21 what you're describing, and she was asking for my 21 conversation?
22 opinion on the structure for tenure because they were 22 A. The statement you made is true, meaning
23 trying, l believe they were attempting to put a new 23 relative to how the plan works that's exactly how it
24 guideline together l`or tenured individuals and what 24 works. Whether l said it that exact way I can't tell
Page 106 Page 108
1 their sales goal should be relative to number ofyears 1 you.
2 and title. 2 Q. ls that something that you felt and you may or
3 Q. Do you remember what those guidelines were or 3 may not have said that to Karen?
4 goals? 4 A. Yes.
5 A. No, I don't. s Q. You said you'd like to see a more equitable
6 Q. Do you remember how it might have impacted you? 6 Marsh-Mercer referral arrangement Do you remember
7 A. I think, il`l recall - and, again, that was 7 that?
6 not presented to me as a linal. That was presented to B A. Yes.
5 me as, hcy, Matt, we'd like your opinion on this before 9 Q. What were you referring to?
10 we decide on it. 10 A. When Mercer - or excuse me.
11 Q. And did you give your opinion? 11 Q. Yes.
12 A. Yes. 12 A. When Mercer sends something to Marsh, our
13 Q. And what did you say? 13 compensation was limited to 10 percent. l think they
14 A. I don't recall specifically what l said, and 14 capped it at 10 percent 01`5250,000 credit, meaning you
15 you haven't shared the e-mail so 1 can't provide my 15 would get 10 percent on - said another way.
16 comments directly on what I may have said. 16 It` you referred something to Marsh and let's
17 Q. Did you ever tell Karen Doolittle that you 17 say it was a 5500,000 deal, Mercer would only allow you
16 thought the goals were too aggressive based on what our 16 to get credit for 250,000 of it and they would only pay
19 competitors are selling? 19 you 10 percent.
20 A. You'd have to show me what you're referring to 20 Q. Understood. You were not happy with that?
21 for me to -»» 21 A. Correct.
22 Q. l'm asking you if you recall generally that 22 Conversely, because when Mnrsh sends something
23 type ofdiscussion. 23 over to Mercer, they get paid 100 percent and at their
24 A. l'm confident l Said Something to that degree 24 whatever percentage they normally get paid at, and then

 

 

 

 

i\‘lin- U-Sc ript R`

DALCO Reporting, lnc.

(27) Pages 105 -108

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 30 of 70

 

 

Maact:a HEALTH & BeNEFth, LLC v. MATrHaw oloaeoonlo
MATI`HEW DIGREGOR|O, et al. March 09, 2018
Page 109 Page 111
1 it takes 50 percent out of my personal comp. 1 Q. And these are clients of Mercer and the
2 So said another way, if they send over S100,000 2 individual consultants who work with them; is that
3 deat, instead of me getting my percentage on 100,000, l 3 ri ght?
4 get my percentage on 50 percent. 4 A. Yes.
5 Q. So you're not happy with that'? s Q. And why did you send this to your home?
6 A. Well, no, because I've been doing the work, 6 A. l don't recall why l sent it to myself
7 And it wasn't mutually, it wasn't aligned mutually, 7 originally.
8 meaning it didn't work one way - it worked one way for 6 Q. Do you have this document now?
9 me and one way l`or them, both to my detriment. 9 A. No.
10 Q. Not happy with that? 10 Q. You didn't need this information to do your
11 A. Nope. 11 job, did you?
12 Q. Do you recall also saying that there were 12 MR. SHAPIRO: Object to the form.
13 discussions in the past about putting in an LTI plan for 13 BY MR. WEBER:
14 top salespeople? 14 Q. You can answer.
15 A. Yes. 15 A. Sure, this type of information would be helpful
16 Q. And what is that? 16 to do my job -
17 A. Long-term incentive plan. 17 Q. lt would?
16 Q. Do you recall at any time any discussions about 16 A. - at Mercer.
19 your compensation total package being reduced in 2017? 16 Q. How was that if these clients are already
20 A. No. 20 Mercer clients and that they are already assigned to a
21 MR. SIEGEL: You'rc nut marking thc document? 21 lead COn!-itiltant?
22 MR. WEBER: No. 22 A. Well, one, it helps you not prospect existing
23 MR. SHAPIRO: An: we done with the compensation 23 clienls; and two, it helps you to develop relationships
24 discussions? 24 with those other professional contacts we spoke about
Page 110 Page 112
1 MR. WEBER: Yes. 1 earlier and potentially helping them glenn into what our
2 MR. DIGREGORIO: ls it okay to ask them to come 2 clients look like and who they may potentially be able
3 back in? 3 to get introductions to.
4 MR. WEBER: Yes. 4 Q. Okay. Let's go to P|aintifl‘s Ezglli_bj_t_‘i
5 MR. DIGREGORIO: Thank you. 5 (Plaintiffs Eghjb_i_t_§, E-mail with Marsh
6 (Ms. Steed, Ms. Preston, and Mr. Sharma 6 Prospect List, was marked for identification.)
7 reentered.) 7 BY MR. WEBER:
6 MR. WEBER: l'm sorry. l forgot to give you 6 Q. Show you Plaintiff‘s E§l]ibit 9, an e-mail from
9 that 8. 9 yourself to your home address dated October l lth. Do
10 MR. SHAPIRO: You gave us 8. 10 you see that document?
11 MR. WEBER: l didn't give him 8. l gave you 8. 11 A. Yes.
12 l'm going to give him 8. And we'll mark that 9, but 12 Q. Tell me what it is.
13 let's give him 8. 13 A. It says 2017 Marsh Florida Prospect List.
14 BY MR. WEBER: 14 Q. And what does it consist of‘?
15 Q. l'm showing you what's been marked P|aintif`f's 15 A. Let's see. lt says names of companies,
16 E_§hj_b_i_t_$_, art e-mail from you to yourself, October l lth. 16 industry, addresses, names of individuals
17 Can you describe what that is? 17 Q. Contact people?
16 A. The attachment is titled Active Account List. 16 A. l'm sorry?
16 Q. And what's the word alier that? 16 Q. You say contact people?
20 A. .PDF. 20 A. No. lt says CEO and CFO, so the names of the
21 Q. Go ahead. 21 CEO's and the CFO's at the respective corporations
22 A. The attached page says Active Account List 22 Q. There appears to be a hyperlink to the Company
23 Confidential and then it lists lead consultants, names 23 Website, Senior Management Team, and the Company News;
24 of companies, and ol`lice. 24 correct?

 

 

 

 

t\lin-U-Script E>

DALCO Reporting, lnc.

(23) Pages 109 - 112

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 31 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATI`HEW DlGREGORIO
MATTHEW DIGREGOR|O, et al. March 09, 20|8
Page 113 Page 115
1 A. Yes. 1 A. Some of those individuals in the room, yes; not
2 Can I have a recess, please? 2 all.
3 Q. Can you have a recess? 3 Q. Okay. And are you still part of that
4 A. Yeah. 4 organization?
5 Q. Let's finish my question. 5 A. Yes, as a founding member, yes.
6 A. My understanding I'm allowed to go to the 6 Q. The South Florida Business Forum?
7 restroom if I want. 7 A. Correct.
6 Q. You are but not during one of my questions. a Q. And have you had any events since resigning
9 A. l answered your last question. I'd ask for a 9 from Mercer?
10 recess. 10 A. One.
11 MR. WEBER: Okay. 11 Q. When was that?
12 MR. DIGREGORIO: Thank you. 12 A. This week.
13 (Of`i` the record 10:35 a.m.) 13 Q. And how many people attended?
14 (On the record 10:40 a.m.) 14 A. Idon't have the final numbers.
15 B¥ MR. WEBER: 15 Q. ls there a list oi`invitees?
16 Q Okay. We were discussing Plaintil`l‘s 16 A. There would be a cumulative list of who
17 E§l]ibit Q, an e- -mai[ you sent to yourself on 17 responded, not necessarily who attended.
16 October l ith entitled Marsh Prospect List. Remember we 16 Q. ls there a list of who attended?
16 were talking about that document, correct -- 19 A. No.
20 A. Yes. 20 Q. l assume that list is at Lockton; right?
21 Q. -- before you wanted to take a break? 21 A. This list will be my personal information, not
22 And why did you send this to your home e-mail 22 party to Lockton.
23 address? 23 Q. So that's in your personal computer?
24 A. ldon't recall. My presumption would beto 24 A. The list‘il
Page 114 Page 116
1 have access to information relative to future clients. 1 Q. Yeah.
2 (Plaintif|‘s Exhihj_t_ltl, E-mail with 2 A. No. l'm sure I saved it to my Lockton
3 Invitation, was marked for identilieation.) 3 computer.
4 BY MR. WEBER: 4 Q. Okay.
5 Q. Show you P|aintii`f's Exhi_b_il_]_(l, an e-mail from 5 (Plaintifi‘s Ez;hibit l |, E-mail with
6 yourself to yourself October l lth, two pages. Can you 6 lnvitation, was marked for identitieation.)
7 tell me what this is? 7 BY MR. WEBER:
a A. Yeah. This is a form e~»mail that I send to a Q. Show you Plaintif`f‘s E§_hj_bi_t_|_l_, an e-mai| from
9 myself - or excuse me - that l send out fur one of the 6 yourself to yoursele Do you recognize this document?
10 C-Suite networking events that l formed eight, nine 10 A. Yes. It's a form e-mai| from one of the
11 years ago. 11 organizations that l've eo-founded with some centers of
12 Q. And tell me about that event. 12 influence.
13 A. Yeah, myself and seven or eight others that sit 13 Q. What is it? What is it?
14 on a hoard, we create an event targeting C-Suite 14 A. It's similar to the last event, a slightly
15 executives; started it, again, about eight years, eight, 15 different format in that we target C-Snite executives to
16 nine years ago. So basically invite our contacts and 16 invite and pay for coektails and cigars.
17 pay for cocktails. 17 Q. And did Mercer reimburse you for those
16 Q. And l assume C-Suite executives are potential 16 expenses?
19 or actual clients? 16 A. At the time, yes. I was also hasting those
20 A. No. A C-Suite executive will mean any C-Suite 20 events prior to joining Mercer.
21 executive of a company, so CEO, CFO, COO. 21 Q. Okay.
22 Q. l asked the wrong question. 22 (Plaintii`i‘$ Eztllihil_l_l, E-mail with
23 Those individuals arc either clients or 23 invitation, was marked for identification.)
24 potential clients to you? 24

 

 

 

 

Min-l -Se ript.i¢`

DALCO Reporting, Ine.

(29) Pages 113 -116

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 32 of 70

 

 

MERCER HEALTH & BE.NEFITS, LLC v. MA'ITHEW DIGREGORIO
MATTHEW DIGREGORIO, et al. March 09, 2018
Page 117 Page 119
1 B¥ MR. WEBER: 1 And then there's total opportunity revenue,
2 Q. Show you E§h_i_b_i_t_LZ. Can you identify that 2 which is a three-year number; current year rcvenue,
3 document? 3 which is what's expected to come in. I can't read that.
4 A. Yes. This is a form e-mail for an organization 4 l can't read whatever that column is, but it's got, most
5 that l used to be on the board of Finaneial Executives 5 of it says "none" when you look at the sales. And l
6 lnternationa|, again, a form e-mail that l would send 6 can't read what the following three columns are.
7 out to potential invitees. 7 MR. SIEGEL: And, Michael, just once again,
a (Plaintiff's Exh_ib_it_ll, E-mai| with Florida 6 there's a highlight in a column in yellow and
9 Pipeline Report, was marked for identifieation.) 9 sometimes pink and green different colors.
10 BY MR. WEBER: 10 MR. WEBER: l think they were on the document,
11 Q. Show you what's been marked Exhj_b_i_t_|_l. 11 Marty.
12 A. Yes. 12 MR. SlEGEL: That's all I wanted to distinguish
13 Q. This is an e-mail from yourself to yourself 13 as to whether it was something --
14 dated November 16th. You see that? 14 MR. WEBER: l believe so. l'm not sure, but l
15 A. Yes. 15 believe so, but we'll confirm that.
16 Q. Tell me what it is. 16 BY MR. WEBER:
17 A. lt says, "Florida Pipeline Report 11.16.17". 17 Q. Anything else on these other pages that are
16 Q. And there's numerous pages attached to it. Do 16 relevant to this document?
16 you see that? 19 A. l don't understand the question.
20 A. Yes. 20 Q. ln other words, you've described a number of
21 Q. |, 2, 3, 4, 5, 6, 7, 8, 9, 10, l l, 12, 13, 14, 21 things that are contained here. Is there anything else
22 15, 16, 17, 18, 19, 20, 2l, 22, 23 pagcs. You see that? 22 that you haven't mentioned on this document?
23 A. ¥ep. 23 A. Yeah. I mean,l haven't spoken to the line
24 Q. Tell me what this is. 24 print in the upper left hand corner or any ofthe fine
Page 118 Page 120
1 A. This is a pipeline report that we would review 1 print numbers above the columns that l just read
2 biweck|y for - and it's broken into multiple tabs, 2 through. It's very small print.
3 although you counted every page. We would go through 3 Q Yeah, l'm sorry, but there's a fourth Column
4 the first tab which were deals that either have closed 4 from the right in the later pages that seem to give some
5 or were about to close over 5100,000. l believe the 5 commentary. Do you see that?
6 second tab was something like the next 30 days. Again, 6 A. The fourth column from the right?
7 l only reviewed deals above 5100,000, despite wltat's on 7 Q. Yeah, in further pages back into the exhibit
8 the report. And then I think the third tab was sort of B there's a number of--
9 like the next six months to a year. And, again, l only 9 A. Oh, I'm sorry. What page arc you on?
10 reviewed anything that was potentially going to close 10 Q. Well, l'm on page -- let's go from the back.
11 above 3100,000. 11 l, 2, 3, 4, 5, 6, 8, 9 and lO. Ifyou can kind oflook
12 Q. What else is on these pages that are attached? 12 at those columns and see if you can describe --
13 A. You're asking me to read the top? 13 MR. SIEGEL: The second word is Aetivity. The
14 Q. Well, if you can describe generally what's, 14 first word --
15 what's contained on these documents and the pages that 15 MR. WEBER: Your eyes are better than mine.
16 are attached. 16 What's the first word before activity?
17 A. lt appears to have the company names; whoever 17 MR. SIEGEL: l don't know.
16 the relationship manager was at Mercer for the new 16 MR. DIGREGORIO: l can't read that.
16 business; oflice location of the relationship manager; 16 MR. SIEGEL: Right. The second word is
20 the name of the opportunity or which line of business, 20 Activity. The first word l --
21 address of the Mercer employee; potential close date; 21 MR. WEBER: I was going to say l was very
22 and at what stage, whether it's linalist or identified 22 impressed that you --
23 or in pursuit or otherwise; and then the number of days 23 MR. DIGREGOR[O: It says Activities? Are you
24 that it's been in the pipeline. 24 sure?

 

 

 

 

1\110- U-Script 6

DALCO Reporting, lnc.

(30) Pages 117 - 120

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 33 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEF|TS, LLC v. MA'ITI“IEW DIGREGORIO
MATTHEW DIGREGORIO, et al. March 09, 2018
Page 121 Page 123
1 MR. SHAPIRO: News Archive. 1 What do the ten pages represent attached to
2 MR. DIGREGORIO: l think the second word is 2 this e-mail?
3 Actions. 3 A. Marsh & McLellan Agency's, 1 assume a Florida
4 MR. SIEGEL: Something with an A. How about 4 client list.
5 that? 5 Q. Right.
6 MR. DIGREGORIO: l think it says Actions. 6 A. This list is widely believed both at Mercer and
7 BY MR. WEBER: 7 Marsh to be not accurate.
a Q. Okay. So whether - can you describe what's 6 Q. Why did you send that to yoursell'?
9 under that title or that heading? 6 A. Back in October?
10 A. I can read, it says, "10!10/16 building 10 Q. October l lth, l:03 p.m.
11 relationship for 20|7". There's another one that says, 11 A. Yeah, l don't remember the specitic. My, my
12 "Mceting scheduled and confirmed with prospect on 12 assumption would be so l understood who their clients
13 October -- or excuse me -- January 10th, 2017, at 13 were and who they wercn't, because technically we're not
14 10:30 a.m. at their ol'tice. Spoke with .lohn Cummings 14 allowed to go al'tcr their clicnts, even though we did --
15 and going to make an intro" -- l mean, it's hard to read 15 Q. Okay.
16 these things. They look like, they appear - l don't 16 A. - with instruction from our management
17 know. Maybe that says "necd actions". l can't, l can't 17 Q. But you did send it to your home, right, your
16 line them up. l was trying to line it up because this 16 home e-mail address?
16 is obviously one, a spreadsheet that goes lengthwise and 19 A. Yeah, that's what it says here on October llth
20 you have it on ll x 8 which makes it hard to figure out. 20 at 1:03:22 p.m.
21 Q. So are you describing what that column appears 21 Q. Right. On October l lth?
22 to be? 22 A. Yes, sir.
23 A. l don't know what the title ofthe column is. 23 (Plaintift‘s E§lLib_it_]_$_, E-mail with MMA-FL
24 Q. What about the content under it? 24 Comp|ete Capabi|ities, was marked l'or identilicatinn.)
Page 122 Page 124
1 A. lt's hard to read a lot ol' it. So it looks 1 BY MR. WEBER:
2 like - l don't know. "Dceisions to hold" - l mean, 2 Q. Show you Plaintif`f'$ Ezihi_bil_]_§_, an e-mail from
3 they look like comments about whoever - l'm assuming 3 yourself to your home e-mail address dated October l lth,
4 that these nrc companies because on the left-hand column 4 it Contail‘ts a ZS-page deck. Familiar with that
5 it doesn't have the name of the company. lt just - oh, 5 document?
6 wait. There's the name ol`the company. Yeah, l'm 6 A. Yes.
7 assuming they're comments about that particular company 7 Q. YOll S€l‘lt il 10 your hOme; right?
6 is my guess. 6 A. Yeah.
6 Q. Okay. 6 Q. And what is the document?
10 (Plaintifi‘s Ex[]ib'|t |3, E-mail with MMA 10 A. This is a Marsh & McLellan Agcncy Capabilities
11 Florida Client List, was marked i`or identification.) 11 deck that Mercer had in its possession that it obtained
12 BY MR. WEBER: 12 through a client and should not have had it in its
13 Q. Let me show you what's been marked as 13 possession.
14 P|aintiff's Exhlbit_]_¢l, an e-mail dated October l lth 14 Q. Why did you send it to your home?
15 from yourself to yourselt`. The subject is "MMA Florida 15 A. lt was helpful to compete against them in
16 C|ient List" and the attachment is MMA Florida C|ient 16 situations where l had it, so having readily access to
17 List 5.5.]7.pdf. See that? 17 it was helpful.
16 A. Yes. 10 Q. And how was it helpful?
19 Q. And what's the attachment there, the number of 19 A. Well, Marsh & McLellan Agency was a competitor
20 pages that are attached? 20 of Mercer, so just like any eompetitor, knowing what
21 A. They're not numbered, so let me count them. 21 their capabilities were -
22 Q. Let's count them. 22 Q. Even though --
23 A. I counted 10,1 believe. 23 A. - in a presentation would be helpful.
24 Q. l counted l0. 24 Q. Even though they're a sister company, they're
\lin-l.I-‘n'criptn DALCO Reporting, lnc. (31) Pages 121 - 124

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 34 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DlGREGORlO
MATI`HEW DIGREGOR|O, et al. March 09, 2018
Page 125 Page 127
1 competitors? 1 the time of that date, if I remember correctly.
2 A. They are 100 percent a competitor to Mercer. 2 Q. On or around October llth?
3 Q. This would be helpful to any competitor of 3 A. If l remember eorrectly.
4 Mercer; right? 4 Q. One of the links is to Ul~lC Motion for l-l-18.
s A. Exeuse me? 5 Do you see that?
6 Q. This information would be helpful to any 6 A. Yes.
7 competitor of Mercer? 7 Q. What's that about?
6 A. No. 6 A. Idon't know. Again, if my recollection is
9 Q. lt wouldn't? 9 correct, my understanding that these are all the things
10 A. This is completely irrelevant to Mercer. This 10 that were going to be discussed about at that sales
11 is about Marsh & McLellan Agency, a totally separate 11 conference Actually, no. l think I know what that
12 company. 12 might be.
13 Q. Would it be helpful to a competitor of Marsh & 13 Q. Okay.
14 McLellan? 14 A. l think that's a United Healthcare program
15 A. Would this be? 15 where they paid l`or something to do with health savings
16 Q. Correct. 16 accounts ifindividua|s do certain things. So it's
17 A. Yeah. 17 something that's proprietary to United l'lealthcare and
16 (Plaintiff's Exhjhit_l_é, E-mail with links, was 16 not Mercer.
16 marked for identitieation.) 16 Q. He|pful though to your sales efforts?
20 BY MR. WEBER: 20 A. No. lt's irrelevant. It would be helpful to
21 Q. l'm Showng you Plaintii`f‘$ EX]li_llI_l_l§, an 21 anyone who works at United Hcalthcare. lt's marketing
22 e-mail dated October l Ith from you to your home e-mail 22 material.
23 Hotmail account, and there are five apparently 23 (Plaintiff's E_x]_\j_l)j_t_ll, E-mait, was marked fur
24 attachments that -- or links on this document, Do you 24 identification.)
Page 126 Page 128
1 see that? 1 BY MR. WEBER:
2 A. Yes. 2 Q. Let me show you what's been marked P|aintiffs
3 Q. Can you explain what's attached to this, what 3 Exhihil__ll, an e-mail you sent to your home Hotmail
4 the links are? 4 account dated October l lth, "Emails" is the subject,
5 A. l'm not sure what the iMercer Compensation Data 5 "Flag: Follow up." Can you describe what that document
6 link is to. 6 is?
7 Q. What do you think that is? 7 A. Yeah. This is a draft c-mail I used to keep
6 A. l wouldn't want to comment on what l think it 8 just so l could keep c-mail addresses tagged to certain
9 is. l don't know what it is. 9 items, so when l wanted to send out invitations it was
10 Q. But you sent it to your home e-mail so there 10 easier to send it out versus having to click each
11 must have been a reason for that. 11 individual person I wanted to send invitations to.
12 A. Yeah, l can tell you exactly what this is. 12 Q. And "PE" is what, private equity?
13 Q. Okay. 13 A. Yes. Those would bc individuals that work at
14 A. So I believe, if l remember correctly if the 14 private equity companies.
15 timing is correct, we were having a - what do we call 15 Q. And were any of these clients of Mercer?
16 them - a offsite sales management meeting. All this 16 A. Whieh ones?
17 stuff was forwarded to the attendees. I could not 17 Q. l'm asking you, were any of them?
16 attend in person, so Cory Lynn asked mc if I would be 10 A. Any of these e-mail addresses on here? I'm
19 able to participate over the phone. l was not positive 16 sure some of them here arc clients of Mercer.
20 l would bc able to based on my calendar, so l forwarded 20 Q. And C-Suite are?
21 it to my home address so I had access to it. 21 A. CEOs, CFOs, ClOs, CAOs, other executives.
22 Q. And when was that call? 22 Q. And you compiled this list during your
23 A. That was an offsite meeting, so, again, if my 23 employment at Mercer?
24 recollection is correct, it was somewhere on or around 24 A. No.
i\lin-U-Script lt DALCO Reporting, lnc. (32) Pages 125 - 128

800.32 5.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 35 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHE\V DlCREGDRlO
MATI`HEW DIGREGORIO, ct al. March 09, 2018
Page 129 Page 131

1 Q. When did you compile this list? 1 Q. ln that Golt` group can you recognize any Mercer

2 A. On, on, before and during, meaning you could 2 clients in that group?

3 count this to be equivalent to my Outlook contacts. 3 A. Pete Prygelski at Fedcrated National, but that

4 Q. So this would have been compiled certainly with 4 e-mail address doesn't work because he doesn't work

5 employment at Marsh and/or Mercer; correct? 5 there anymore and hasn't for well over a year.

6 A. And before. 6 Q. You sent that document to yourself on

7 Q. Before you were in college? 7 October l lth; right?

8 A. Yeah. I had an internship ata couple 6 A. Yeah. l'm still reading.

6 different places. l also worked at Nationwide. l also 6 Q. You don't have to read any further, but l want
10 attended personal events where l would meet people and 10 to ask you, you felt it would be helpful to you, that
11 get business cards. 11 document?

12 Q. You can't tell by looking at this document 12 A. l don't remember why l sent this to myself at

13 which of these contacts were from people you met before 13 that time.

14 joining Marsh or Mercer, can you? 14 Q. Okay.

15 A. Not at this exact second, no. 15 (P|aintil`l‘s Exl]ibit l&, E-mail, was marked for

16 Q. We have PE. We have C-Suite. We have Senior 16 identification.)

17 HR. What is that? 17 BY MR. WEBER:

16 A. Those would be individuals that l would 16 Q. Show you what's been marked Plaintiff‘s

19 consider to be more senior level HR pcop|c, so someone 19 E§h_ihi_t_l_&, an e-mail from yourself to yourself dated

20 that would be in human resources at the executive lcvel. 20 November l3th re: Financial Wellness - Mercer. Tell me

21 Q. Potential clients, if not actual clients? 21 what that document is.

22 A. Yes, and also potentially companies that are 22 A. If I can read it. Give me a second, plcase.

23 not clients or even potential clients because they're 23 Q. Sure.

24 too small for Mercer. 24 A. lt's an c-mail from one of my former colleagues
Page 130 Page 132

1 Q. And then the next category is Seminar Invites? 1 to another former colleague requesting competitive

2 A. Yes. 2 intelligence about Aon, which l suppose Mercer had in

3 Q. See that? What is that? 3 their possession.

4 A. Again, like all of these sub headings are 4 Q. And is that those links to that information?

5 c-mail addresses to individuals that l would want to 5 A. I don't see links on hcre.

6 send something to quickly for invitations so l didn't 6 Q. Well, where it says in the middle, looks like

7 have to go through my Rolodex and click on each 7 "if` lsupportlists".

6 individual e-mail to send it. 6 A. Those don't appear to be links.

6 Q. And the last one appears to be Golf? 9 Q. Right.

10 A. Yeah. 10 A. l can read what it says, but that's certainly
11 Q. And what is that? 11 not a link. lf you type that in somewhere that wouldn't
12 A. I believe it's a list of e-mail addresses of 12 do anything.

13 people that may have, at one point in time, mentioned 13 Q. Did you try to type it in?

14 they liked to golf, so ifl was ever hosting an event or 14 A. No. l'm just suggesting I know what a link
15 needed an extra person for a foursomc l would send out 15 looks like and it does not look like a link.

16 an e-mail. 16 Q. Why did you send that e-mai| on November l3th?
17 Q. Any of these Mercer or Marsh clients? 17 A. Idon't recall.

16 A. Potentially. 16 (Plaintiff‘s Exhib_i_t_l_§, E-mail with Standard
16 Q. l'm sorry? 16 Commission ehart, was marked for identitieation.)
20 A. Potentially. I would not know what Marsh 20 BY MR. WEBER:

21 clients are. 21 Q. Show you Plaintiff‘s Eshibil_l£. It's an

22 Q. Would you know Mercer clients? 22 e-mail you sent to yourself on November l3th, Stanclard
23 A. I would not know all the Mercer clients off the 23 Commission Benchmarks. See that?

24 top of my head either. 24 A. Yes.

 

 

 

 

l\‘lin-U-Script "9

DALCO chorting, lnc.

(33) Pages 129 - 132

800.32 5.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 36 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATI`HEW DlGREGORlO
MAT|`HEW DIGREGORIO, et al. March 09, 2018
Page 133 Page 135
1 Q. And tell me what this document is. 1 Observations and Considerations.
2 A. Let me read it for a second. It looks like it 2 Q. Do you know what that's about?
3 is a list of lines of coverage, medical, stop-loss, 3 A. lt appears to be information that was reviewed
4 dental, vision, et cetera, and then by employee count 4 and Mercer's observation about the information that
5 the average commission per line ofbusincss. The below 5 Hollander or HSF provided.
6 remark says, "The above benchmarks are average and do 6 Q. Was HSP a eliel‘|l?
7 not take into account employer premiums that are 7 A. Again, l'm not sure at this time whether they
c significantly greater or lower than industry norms. a were or wercn't a client of Mercer.
5 Such factors may cause commission percentages to vary." s Q. Did they become one, to your knowledge?
10 Q. Are these commissions that you received as a 10 A. Yes.
11 salesperson? 11 Q. Are they one now?
12 A. No. 12 A. l have no privy into Mercer's current clients.
13 Q. What are they? 13 Q. Have you reached out to them since youjoined
14 A. As I statcd, these are average industry 14 Lockton?
15 commissions that any broker would potentially bc getting 15 A. Yes.
16 on any one of these line of businesses depending on the 16 Q. When?
17 size of the cmployer. 17 A. I don't recall.
16 Q. And why did you send it to yourself on 16 Q. Since January l?th, 2018?
19 November l3th? 19 A. Yes.
20 A. It's helpful to have this information when 20 Q. A couple pages down there is Pacilic Coast
21 you're at a client meeting or a future client meeting. 21 Feather Company. See that?
22 (Plaintiff's Exh_ihi|jg, E-mail with 22 A. Whieh page are you on?
23 attachments, was marked for identification.) 23 Q. It says 6.
24 24 A. Okay.
Page 134 Page 136
1 BY MR. WEBER: 1 Q. Do you know what that is?
2 Q. Show you Plaintit`l‘s E_§]J_i_tli_|_]§, an e-mai| from 2 A. Same as above. It looks to be comments from
3 yourself to yourself on November 13th forwarding an 3 Mercer on specific items within Pacil'tc Coast Feather
4 e-mail from Deborah Lage or Lage to yourself and others. 4 Company's program at the time.
5 Can you tell me what this document is? It seems to 5 Q. Were they a client ol` Mercer?
6 attach a deck of some sort. 6 A. Again, I can't comment on on or before
7 A. lt appears to be a document that was presented '7 November 13th whether they were or weren't a client at
s to Dream II Holdings. s that time.
s Q. Right. And who is that or what is that? s Q. Have you reached out to Paciiic Coast Feather
10 A. I can't recall when they became a client, 10 Company since January l7th?
11 whether it was on or before this date, so it was either 11 A. Thcy're the same company.
12 a prospective client at the time or a client. l don't 12 Q. As Hollander?
13 know. 13 A. Yes.
14 Q. Did you bring that client in? 14 Q. Who did you reach out to at Hollander since
15 A. I was on the pursuit team for that, yes. 15 January l7th?
16 Q. And tell me what this document is, the Dream ll 16 A. .Iim Allen. He'S a personal friend of mine.
17 Holdings, LLC, 17 He's a CFO for Hollander. l called him just out of
18 A. lt says, "Optimize, Compete, and Excel. Dream 10 respect to let him know l made a change to Lockton and
19 II Holdings. Program Review and Harmonization." 19 to thank him for his consideration.
20 Q. Tell me about Hollander Sleep Products (HSP) 20 Q. Have you pitched business with him?
21 Observations and Considerations, some data there; right? 21 A. No. Well, actually - excuse me - let me take
22 A. Whieh page are you on? 22 that back. When l was at Mercer, yes. When l was at
23 Q. Page 4 of the -- 23 Lockton, no.
24 A. Yes, it says Hollander Sleep Products (HSP) 24 Q. l-las anybody else at Lockton pitched business

 

 

 

 

\1in-l -Script li

DALCO Reporting, lnc.

(34) Fages 133 - 136

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 37 of 70

 

 

ME.RCER HEALTH & BENEFITS, LLC v. MATTHE\V DlGREGORIO
MATI`HEW DIGREGORIO, et al. March 09, 2018
Page 137 Page 139
1 for him? 1 that help refresh your recollection of what your sales
2 A. l have no knowledge what anyone else at Lockton 2 were?
3 has done with Hollander. 3 A. I know what my sales were.
4 (Plaintift‘s Exhj_b_i_t_ll, E-mail with 4 Q. Okay. And tell me if that's accurate.
5 attachments, was marked for identifieation.) 5 A. It's a little bit more than that.
6 BY MR. WEBER: 6 Q. How much more?
7 Q. l'll show you Plaintift‘s Exlli_|:>_i_t_ll_, an e-mail 7 A. I think it was 3.5.
s from yourself again to yourself at your Hotmail address B Q. This is November, so you're thinking about
9 dated November 14th. Can you tell me what this is? 9 through the year?
10 A. I believe this is the meeting I was referring 10 A. Yeah, l'm just saying in total. These reports
11 to earlier that as to why l forwarded that e-mail to 11 arcn't always a hundred percent accurate either, so...
12 myself. 12 Q. Well, as of November 10th, 2017, does that
13 Q. And what's the attachment? 13 number appear to be accurate for yourself?
14 A. Thcse are Florida sales - hold on. Agenda for 14 A. No, because l know these reports arc not
15 November 2017 Stnl'|' Meeting, Sunrise, Florida; Florida 15 accurate. So no, that number is not accurate as of
16 Sales Grid; Unlock the Growth 'l`ogcthcr llandnut; Unlock 16 November.
17 Growlh 'l`ogetlter llandout 1; Carrier Assignmcnts 2017; and 1'7 Q. But it'S CloSe 10 yOllt‘ Sale$; Correct?
13 Carrier Relationship Management. 13 A. You'd have to define "c|ose". lt's within a
19 l believe this actually is directly related to 19 few hundred thousand dollars. Let's say it's within a
20 that e-mail you showed me carlicr. 20 half a million.
21 Q. And what's on page 3 of this document? It's 21 Q. lt's within 10 percent?
22 entitled Florida 2017 Sales and Percentage to Goal. 22 A. What's 10 percent of 320, 3,285,305?
23 A. This is a separate report that Florida used to 23 Q. lt's 320,000 the last l knew.
24 keep on production. 24 A It's probably, it's within that, that and
PBQe 138 Page 140
1 Q. Florida meaning Mercer? 1 500,000 probably.
2 A. No. Florida ~ Mercer Florida only. 2 Q. Okay. And the other individuals list their
3 Q. l understand that. So tell me what's on that 3 sales revenues as well?
4 list there, what's on the lett column and what goes 4 A. Yeah. This is not exactly the same thing that
5 across. 5 they're capturing on this report. l believe this report
6 A. LaSt names. 6 captures what M ercer refers to as shadow eredit, meaning
7 Q. Oi`what? 7 they didn't actually produce it. They were tagged to
a A. Of people. a it.
9 Q. Who? 9 Q. Mm-hmm.
10 A. Mercer employees - 10 A. So Joanne and Jada, by example, if we produced
11 Q. Okay. 11 something together and it was worth 5100,0011, they would
12 A. - as of November 10th, 20]7. 12 get shadow credit for that. So they didn't actually
13 Q. Right. What else is there? 13 bring the money in. lt's not real money that Mercer is
14 A. lt says "2017 Goal". l have no idea what the 14 giving them credit for being part of the pursuit.
15 second column says, it's too sma|l, or the third. 16 Q. Further on in the document there's something
16 Fourth says "Percentage of Goal" and then it has the 16 called Mercer link.
17 months listed from January to December. 17 A. What page are you on?
1a Q. Are these sales figures? 18 Q. Eight. See that? Page l of 2, "Site Page -
19 A. Yes. From a monthly perspective, yes. These 19 Unlocking Growth Together, MercerLink", see that?
20 are production numbers in any one given month. 20 A. Yeah.
21 Q. Does the third column appear to be annual 21 Q, What is that?
22 sales? 22 A. This is the lirst time I'm seeing this,
23 A. Third column. No. 23 Q. But you sent it to your home; right?
24 Q. Now, looking at your own numbers there, does 24 A. lt doesn't mean l opened it or looked at it.

 

 

 

 

l\lin-L -Script tt`

DALCO Reporting, lnc.

(35) rages 137 - 140

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 38 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DlGREGORlO
MATTHEW DlGRl:`.GORlO, et al. March 09, 2018
Page 141 Page 143
1 Q. Are you saying you didn‘t? 1 A. No. No. You asked me if I recall and l said
2 A. To the best of my recollection l never opened 2 l'm not sure.
3 this document. 3 Q. Okay.
4 Q. You're saying you never opened the document 4 MR. SHAPIRO: Mike, l think we're at
s with this financial information on it when you sent it 5 two-and-a-half hours. Where are we?
6 to your home? 6 MR. WEBER: l'm about three documents away.
7 A. I'm saying looking on page 8 as you just 7 MR. SHAPIRO: Okay. Good.
a described, Unlocking Growth Togctlier, this is the first 0 MR. WEBER: l'm going to be done in like my
9 that I believe l've ever seen of this page. 9 three-hour. Thank you for your tlexibi|ity.
10 Q. Well, we're going to the first page. You 10 MR. SHAPIRO: You got it.
11 acknowledge that you sent it to your home Hotmail 11 MR. WEBER: l'm talking as fast as I can.
12 account; right? 12 She's not happy about that.
13 A. Yes. 13 (Plaintiff‘s Eh'l]i_b_i.t_ll, E-mail with
14 Q. ls it your testimony that you didn't look at 14 attachment, was marked for identification.)
15 it, youjust sent it to your home? 15 BY MR. WEBER:
16 MR. SHAPIRO: Object to the fonn. 16 Q. S|iowing you P|aintiffs Exh_ihi_|,_ZZ, e-mail you
17 A. No, that's not what l'm saying. l'm saying I 17 sent to yourself, correct, on November 16tli?
18 don't recall seeing this specific page based on the 16 A. Yes.
19 questions you had asked. 19 Q. Rig|it? Tell me what that is.
20 BY MR. WEBER: 20 A. So let me read it real quick. lt appears to be
21 Q. l see. You have may have seen it. You don't 21 an e-inail l'rom liarolil Gubnitsky who is the, l think he's
22 recall? 22 president and chiefstrategy officer for ProcessMAP.
23 A. Correct. 23 He's a friend of mine and he was offering me tickets to
24 Q. So going back to it, do you recall what it 24 n Dolpliins game, and then he came as well l think, if
Page 142 Page 144
1 means or what it refers to? 1 I'm not mistakcn.
2 A. Let me read it. The first page looks to lay 2 Q. ls lie a client of Mercer's?
3 out the new leadership team at Mercer, Kcn Hadcrer. l 3 A. No.
4 don't know. Mercer changed liis leadership quickly, so l 4 (Plailltil`l"§ E_L'_hj_bjl_l§, E-l‘nail With
5 assume be's the North American Regional. l've never met 5 attachment, Was marked for identification.)
6 him. 6 BY MR. WEBER:
7 Q. Go two pages back in tliere, it says, "Draft, 7 Q. Show you Plaintiff‘s E§hj_bi_t_Z§, e-mail that
s Carrier by Coverage, Lead". Do you see that chart, two 8 you sent -- it's an e-mail you sent, right, to yourself
9 pages? 9 on November thh?
10 A. You said back. Did you mean forward? 10 A. Yes.
11 Q. l meant going back into the document. See 11 Q. And what is this document?
12 that? Tell me what that is. 12 A. This is - appears to be an e-mail that was
13 A. l would - l'm guessing this is -I don't - 13 sent to For Eyes. lt has within it Aon's Proprictary
14 hold on. Let me see. This is the right page? 14 Sell' Insured Statement of Work, and also Aon's
15 My guess would be this is carrier assignment 15 Proprietary HR Employee Beuelits Statement of Work.
16 is my guess. 16 Q. And why did you send it home?
17 Q. Do you know why you sent that document to 17 A. I believe at the time we were potentially going
10 yourself on November l4th? 13 to start going after this account again because we
19 A. l don't recall when Isent this or the reasons 19 didn't get the business last year.
20 for it. 20 Q. Did you go after the account?
21 Q. Well, you sent it on November l4th; right? 21 A. In - when? l mean, originally we did in
22 A. Yeah. Well, that's what this e-mail says, yes. 22 2000 -- I think early 2017 or late 2016. I don't
23 Q. But you're not disputing that it's the e-rnail; 23 remember.
24 right? 24 Q. Have you reached out to anyone at For Eyes

 

 

 

 

olin- U-Script H`

DALCO Reporting, lnc.

(36) Pages 141 - 144

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 39 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MAT|`HEW DIGREGOR!O
MATI`HEW DIGREGORIO, et al. March 09, 2018
Page 145 Page 147
1 since you joined Lockton? 1 documents.
2 A. Yes. 2 MR. DIGREGORIO: You've got different
3 Q. Who did you reach out to? 3 documents. This is only two pages.
4 A. I want to say Mary and Raysa. 4 MR. WEBER: That‘s good. Always heipful.
s Q. And did you make this proposal to do business 5 MR. SHAPIRO: We've got one,
6 With them? 6 MR. WEBER: Are yours two the same and mine
7 A. 1 never connected with them. 7 diH`erent?
6 Q. But you reached out to them? 8 MR. SHAPIRO: l've got a tliree-page.
9 A. Yes, via my announcement and other e-mails. 9 MR. SIEGEL: No. The e-mail marked is
10 Q. You communicated with them beyond your initial 10 different than tlie one you handed us as 113111]111_2:1.
11 e-mai| announcement; right?
12 A. Again, l never made contact with them, just 11 MR. WEBER: Indeed it is. Okay. Let's see if
13 those communications 12 we can figure that one out.
14 Q. That‘s not my question. Did you reach out to 13 MR. SIEGEL: So that's going io be, the one you
15 them? 14 marked is going to stay 24 and this one will be 25.
16 A. Yes. 15 MR. WEBER: Yeah, let's leave t|iis. But this
17 Q. Since your initial e-mail? 16 one is the right one. This is what I'm talking
16 A. No. Before. 17 about, 24.
19 Q. Before you leit'? 10 MR. DIGREGOR[O: That‘s what | was handed
20 A. No. ll' l understand your question correctly 19 though.
21 was: Did you rcncli out to them after joining Lockton? 20 MR. WEBER: Yeah. l made a mistake. This is
22 Q. Yes. 21 what l want you to see and for some reason --
23 A. I said yes, via my announcement 22 MR. SHAPIRO: So why don't we mark this,
24 Q. Yes. And l'm asking alter your announcement 23 MR. WEBER: lt is marked.
24 MR. DlGREGORIO: This one is marked.
Page 146 Page 148
1 did you make any effort to reach out to them again? 1 MR. SlEGEL: No. No. Whai was marked was a
2 A. I believe l reached out one or two more times 2 different document.
3 via e-mail but never connected with them. 3 MR. WEBER: Let's mark that 24. Thank you.
4 (Plaintii`i"s ExhihiLZ_d, E-mail with 4 Sorry.
5 attachment, was marked for identilieation.) 5 (Plaintiffs Exhihi.t_l§, E-mai|, was marked for
6 BY MR. WEBER: 6 identification.)
7 Q. Show you Plaintiff‘s E§l]j_b_i_[_&, an e»mail that 7 BY MR. WEBER:
a you sent horne on November l6th, "Subject: Annual a Q. l'll show you what's been now marked
9 Renewa|". Do you see that document? 9 Plaintifl‘s E§]]j_hi_t_l§, ask you if you're familiar with
10 A. Yes. 10 that document.
11 Q. Tell me what it is. 11 A. Okay. Give me a second to take a look at it.
12 A. Tliis is what appears to be a document that was 12 Okay. I've read it. And your question?
13 put together by Doug Czerwonka who's the vice president 13 Q. Are you familiar With it?
14 the resources at Universai Trailer. 14 A. Yes.
15 Q. And what was the purpose of this e-mail 15 Q. You sent that yourself on November 16th?
16 exchange'? 16 A. Yes.
17 A. lt wasn't an exchange. He e-mailed me. 17 Q. And why did you send it home?
13 Q. You e-mailed him back on November l6th, 20l7, 16 A. I don' t recall.
19 at l l :45 a.m.; right? 19 Q. You say that -- you do see your e-mail` in the
20 A. I don't have that e-mail in front of me. 20 middle of the page, correct, November 16th at
21 Q. Well, take a look in the middle of the page. 21 l l :54 a. m. ?
22 Do you see from yourself to Roberts? 22 A. 11:54. Sure.
23 A. I think you're looking at the wrong - 23 Q. You see that; right?
24 MR. SHAPIRO: l think wc've got different 24 A. Yeah.

 

 

 

 

Min-l -Script 19

DALCO Reporting, lnc.

(37) Pages 145 - 148

800.32.5.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 40 of 70

 

 

MERCER HEALTH & BENeFiTs, LLC v. MATTHEW DioRi-:conio
MA'I'I`HEW DIGREGORIO, et al. March 09, 2018
Page 149 Page 151

1 Q. You sent Robert an e-mail on November l6th at 1 Q. They were?

2 Il:54; right? 2 A. Prior to me joining the firm and for years

3 A. Correct. 3 prior to that.

4 Q. And you have a number of sentences, but the 4 Q. And what kind of business did Lockton do with

5 last sentence says, "Can we talk in January about 5 Universal Trailer?

6 evaluating your broker relationsliip?" Correct? 6 MR. DIGREGORIO: ls thai propriety in Lockton?

7 A. Correct, but I don't believe this was the end 7 Can l answer that?

6 ol` our discussion. l believe we had other discussions. 6 MR. SHAPIRO: That‘s fine.

9 Q. l'm just asking you a question. 9 A. Okay. So my understanding is out ol` the
10 A. So do I see that? Yes, Isec that this says, 10 Chicago ol`lice Lockton does their employee benefits
11 "Can we talk in January about evaluating" - 11 brokers and their property and casualty brokers and has
12 Q. Did you say that? 12 for many, many years.

13 A. Well, I wrote it, yes. 13 BY MR. WEBER:
14 Q. You wrote tliat; right? 14 Q. Okay. So now you're doing different business
15 A. Yes. 15 with them now; correct?
15 Q. And read his response to you. 16 A. l don't understand your question.
17 A. "Wc can. l'm ready to make a niove. Per below, 17 Q. Are you not doing business with them out of the
16 tliough, you set a high expectation." 16 Florida oftice?
19 Q. So when he says, "l'm ready to make a move" -- 19 A. l still don't understand the question.
20 A. Sure. 20 Q. When you went to see Mr. Czerwonka, did you go
21 Q. -- was lie ready to make a move at that time in 21 to see him to expand the business that Lockton was doing
22 November? 22 with them?
23 A. No. 23 A. I have not seen Doug since Ijoined the
24 Q. Okay. We'll make an extra copy. Let's put 24 company.

Page 150 Page 152

1 that -- exactly. 1 Q. Okay. That answers that.

2 Now we'll go back to what was marked 24. 2 (Plaintiff's E3h111iL2_&, E-mail, was marked for

3 A. So this is the one that I was just reviewing. 3 identification.)

4 MR. SIEGEL: Do you have extra copies? 4 BY MR. WEBER:

5 BY MR. WEBER: 5 Q. Let me show you what's been marked Plaintift's

6 Q. ls that a two-page one? 6 Exhjhh_l&. lt appears to be an e-mail you sent on

7 A. Yes. 7 December Sth to yourself, "Subject: Armin Strom".

0 Q. Tell me what this document is. o A. Yep.

9 A. This is nn e-mai| from Doug Czerwonka, the VP 9 Q. Can you explain what that is? lt may be
10 or - excuse me - vice president ol' Human Resources at 10 nothing and it may bejust -

11 Universal Trailer to me saying, "Look this over and 11 A. It's definitely nothing.

12 let's have a quick cal|. l'm anxious to move ahead 12 Q. I'Iumorous aside, but l'd like to know -

13 since we ended open enrollment." 13 A. This is the smoking gun 2.

14 Q. And why did you send that to yourself on 14 Q. Yep.

15 November l6th? 15 A. Armin Strom is a high-end watchmaker, and these
16 A. I believe to look it over. Il` l'm not 16 are two watches I was looking at and the prices
17 mistaken, that's in or around Thanksgiving, I was 17 associated with those watches.

16 leaving for vacation, so I could actually review it. 18 Q. 30,000 and 4,000?

19 Q. And did you -- strike that. 19 A. 54,000.

20 Have you reached out to Mr. Czerwonka since you 20 Q. Not bad.

21 joined Lockton? 21 MR. SHAPIRO: l'm not charging enoug|i.
22 A. Yes. 22 MR. DIGREGORIO: l'm good at what l do.
23 Q. And you made a proposal to him? 23 MR. WEBER: That‘s why l wanted it.

24 A. They're a Lockton client. 24 MR. DIGREGORIO: Fnr tile rccord, l did nut buy

 

 

 

 

i\lin-U-Scripi ='~

DALCO Reporting, lnc.

(38) Pages 149 - 152

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 41 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DIGREGORIO
MATTHEW DlGREGORIO, et al. March 09, 2018
Page 153 Page 155
1 either one of those watches. They're very nice 1 on your move to Lockton", how he learned that
2 watches. Give me a couple of years at Lockton, l 2 information?
3 will buy those watches. 3 A. Well, because by the 26th of January l had
4 (Plaintifl‘s Ez;hj_b_il_Zl, E-mai|, was marked for 4 already left.
5 identification.) 5 Q. l understand that, but how did he -- do you
6 BY MR. WEBER: 6 have any idea --
7 Q. Showing you Defendant's - excuse me -- 7 A. You'd have to ask Warren how he found out.
6 Plaintiffs Ezg]llb_i_tjl, an e-mail that you sent home on 6 Q. You don't know?
9 January 16th. Tell me what that is. 9 A. Idon't know how Warren found out.
10 A. Let mejust read it real quick. This is 10 Q. You never sent him any announcement?
11 smoking gun 3 in that this is an e-mail from .Iennil'er 11 A. No. l never sent Warren a direct announcement
12 Buchanan who's a director ol` Senior Dcvelopment at 12 on or before the 22nd of Jaauary.
13 Cystic Fibrosis of which is l was n chairman for their 13 Q. So we've gone through 28 documents of e-mails
14 largest event in south Florida for eight years. 14 that you sent while you were employed by Mercer to your
15 Q. They're noia client of Mercer, are they? 15 home e-mail account; correct?
16 A. No. She was reaching out to just catch up and 16 A. l didn't count thcm, but il' that's the numbcr,
17 have lunch. 17 then yes.
16 Q. Are they a client of Lockton's? 16 Q. 28 is the last exliibit.
19 A. l have no idea who does Cystic Fibrosis 19 A. Okay.
20 Foundation's work. l don't even know where they're 20 Q. You're riglit, not all of them were e-mai|s. A
21 based out ol'. Again, l was the chairman for many, many 21 Substantial number Ofthem.
22 years in south Florida fur one ot` their largest events. 22 ls it your testimony that you do not have
23 Q. Okay. 23 possession of any of those documents that you sent to
24 (Plaintiff‘s 5313_111111§, E-mail, was marked for 24 yourself?
Page 154 Page 156
1 identification.) 1 A. No.
2 BY MR. WEBER: 2 Q. lt is not your testimony?
3 Q. Let me show you what's been marked P|aintiff‘s 3 A. No.
4 Ex]li_b_`iLZ_& e-mail from Warren Wirth to you on 4 Q. What is your testimony? You have these
5 January 26th. Do you see that? s documents?
6 A. Sure. 6 A. No.
7 MR. SHAPlRO: Object to the fonn. 7 Q. Let me rep|irase it.
6 MR. WEBER: What's that? 6 ls it your testimony that on all the e-rnails
9 MR. DIGREGORIO: 28. 9 that you sent to yourself in October, November, and
10 MR. SHAPIRO: l objected to the form of the 10 December while you were employed by Mercer no longer
11 question, yeah. 11 exist on any of your electronic devices?
12 BY MR. WEBER: 12 MR. SHAFIRO: Object to the form.
13 Q. And this is an e-maiI from Warren to you 13 A. Can you repeat the question, please?
14 congratulating you on your move. See that? 14 BY MR. WEBER:
15 A. It appears to be. 15 Q. Sure.
16 Q. And was Ultimate Soliware a client of Mercer? 16 On all of the e-mails that you sent while you
17 A. No. 17 were employed by Mercer to your home c-mail address that
16 Q. What is ultimate sottware? 16 we'vejust gone through this moming, do you still have
19 A. It's an HRS software company that delivers 19 any of those documents either on your personal devices,
20 software to employers. 20 laptop, iPhone, airdrop, or any Lockton computer or
21 Q. Okay. Did you send a notice to him that you 21 other similar device?
22 hadjoined Lockton? 22 A. Can you break that question up? That's like
23 A. Not at that time, no. 23 multiple questions in one.
24 Q. Do you understand why the subject is "Congrats 24 Q. What don't you understand?

 

 

 

 

Min-l -qcript®

DALCO Reporting, lnc.

(39) Pages 153 - 156

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 42 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHE\V DIGREGORIO
MA'ITHE\V DIGREGORIO, et al. March 09, 2018
Page 157 Page 159
1 A. You asked multiple questions and asked me to 1 My declaration, l may have that in my personal
2 give you a yes or no answer. 2 e-mail.
3 Q. Okay. My questions have to do with whether any 3 MR. SHAPIRO: Reference the exhibit number.
4 of these documents that wc've gone through today exist 4 A. Exhjhi_t_€¢.
5 in your possession in any form or in Lockton's 5 To the best of my knowledge I deleted
6 possession in any fonn. 6 Eshibj_i_&.
7 A. Yes. 7 MR. SIEGEL: The only ones --just go through
6 Q. Do you understand that question? 6 the ones you might have; not the ones you deleted.
9 A. Yes. 9 MR. DIGREGORIO: Okay.
10 Q. Where do they exist? 10 A. l may have Exhihij_§. 1 may have Emh_i_t_]_ii.
11 A. A l`cw ol' them exist in my personal e-mail
12 account 11 I may have flsh'dtit_i_l. I may have L_r;hihi_LlZ ....
13 Q. which ones? 12 riot - oh. sorry-
14 A. l would have to physically go through them. 13 BY MR- WEBER:
:i.s Q. Go throuin them. 14 Q- 13?
16 MR. SHAP}RO; please go through them The 15 A. No. l don't believe I have ~ I don't believe
17 first few were not. 15 l have 14-
16 MR. oiGREGoRlo: cain we star a tamm n 17 Q- Okay-
19 MR_ SHA[)]R(); Yeah_ 16 A. l believe l have 15. l don't believe I have
20 MR. DIGREGOR!o= which number ira a san so 19 16- I do have 17- l don't recall if l have 19-
21 MR. SHAP[RO: Here. l got it. 20 Q- HOW about 13?
22 By MR_ WEBER: 21 A. l don't. l thought you asked mejust to do the
23 Q. Start with the first e-mai[ in the exhibits 22 OI\CS l don't-
24 that you sent home, 23 Q- l'm SOI'W-
24 A. l don't believe l have 19. Ican't recall il`I
Page 158 Page 160
1 A. Is this one of them? 1 have 22. I have 23. I don't believe I have 25. I
2 Q. No. Here. Starts liere. 2 don't believe l have 24. l potentially could have 26.
3 A. That‘s not one? 3 1 may have 27. And most certainly l do not have 28
4 Q. No. Starting here. 4 because it went to Mercer's server.
s A. Okay. s Q. Okay. Now, you identified your home, I think
6 MR. SHAPIRO: This is the resignation letter. 6 you said, deskiop is an Apple?
7 MR. DIGREGORIO: But I have that in my own 7 A. Yes.
6 e-mail account. 6 Q. Do you have any other computers at home?
9 MR. SHAPIRU: Teehnically you're right. Okay. 9 A. l liave an old, an old Apple laptop that was my
10 Got it. 10 wife's.
11 A. So I have - 11 Q. You used that today?
12 BY MR. WEBER: 12 A. No.
13 Q. Mention the exhibit number, please. 13 Q. Did you use it in 201 ??
14 A. l have Exh.i.lli_t_i in my home e-mail account. 14 A. I may have used it to print something off.
15 Q. Okay. 15 Q. Did you store any information on it?
16 MR. SIEGEL: The resignation letter. 16 A. No.
17 A. My resignation letter. 17 Q. What else do you have by way of` computers or
1a BY MR. WEBER: 16 lapt ps or iPhones?
19 Q. Go ahead. 19 A. I believe my youngest daughter has a Dell
20 A. I potentially could have the Jewelers Mutual 20 laptop that wc've never used or I've never used.
21 Insurance name of which was a jewelry insurance 21 Q. You've never stored any information on it?
22 company - 22 A. No.
23 Q. Okay. 23 Q. What kind of computer does your wife have?
24 A. - for my wife. 24 A. Well, we use the Apple computer that you first
Mirr-u-srr-ipr® aALCo aeporiing, lnc. 140) Pages 157 - 160

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 43 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DIGREGORIO
MATTIIEW DIGREGOR|O, et al. March 09, 2018
Page 161 Page 163

1 referenced, the desktop. That‘s our home computer. 1 possession.

2 Q. What's her e-mail address? 2 Q. Now, the documents that we showed you today

3 A. Ligelle@aol.eom. 3 that you think might be in your possession are the ones

4 Q. Say that again. 4 that your attorneys saw (sic) you to preserve?

5 A. Ligelle@aol.eom. 5 A. I'm sorry. Can you repeat that?

6 Q. Do you or your wife have any other e-mail 6 MR. WEBER: Read it back.

7 addresses other than Matid5454@hoimail.eom or the one 7 (The requested portion of the record was read

6 youjust described? s back by the court reporter.)

9 A. l may, butI don't use them. 9 MR. SIEGEL: Attorneys told you to preserve.
10 Q. What orteS? 10 MR. SHAPIRO: Do you mindjnsi asking it again,
11 A. 1 don't know. 11 Mike, so we get the right question.

12 Q. Do you know the names? 12 MR. WEBER: Sure.

13 A. I believe l had a Yahoo account at one time. l 13 BY MR. WEBER:

14 don't know the address. 14 Q. What l want to know is that you acknowledge

15 Q. What about Gmail? 15 that you kept certain documents that you sent to

16 A. I probably have to have a Gmail account 16 yourself when you were employed by Mercei“?

17 somewhere because l have a Galaxy phone. ljust don't 17 A. No. l acknowledge that l didn't realize that l

18 use it. l don't know What it is either. 16 accidentally had some ofthcse documents after making an

19 Q. So when you said today that you might, some you 19 effort to delete everything in my possession prior to

20 acknowledge you do have at home and some you might, the 20 leaving Mercer.

21 only way to know that is to go and look at your 21 Q. Okay. So that's what the reference was to

22 computer; right? 22 today's acknowledgment', correct?

23 MR. SHAPIRO: Object to the form. 23 A. Correct.

24 A. No. 24 Q. When your attorneys advise you to preserve all
Page 162 Page 104

1 BY MR. WEBER: 1 documents --

2 Q. How else would we know? 2 A. yes.

3 A. l'm sorry. l misunderstood the question. 1 3 Q. -- when did they do that?

4 thought you asked is that the only way l would know. 4 A. l don't remember the specific date, but l would

5 Q. How would one know - "one" meaning you, me, or 5 imagine it was on the same day and time the injunction

6 your attorneys - other than looking at your computer? 6 was delivered.

7 A. There wouldn't be another way. 7 Q. Okay. And are there --

6 Q. That‘s the only way; correct? 6 A. Yeah, l would imagine that's the ease.

9 A. For me to ascertain, correct. 9 Q. Are there documents that your attorneys told
10 Q. OI' for anyone to ascertaii‘i. 10 you to preserve that have not been discussed here today?
11 A. For me to ascertain, correct. 11 A. Not to my knowledge.

12 Q. Yeah. Now, some of the information you said 12 Q. And do they reside in your home computer?
13 you possess, would you also possess it on your Lockton 13 A. The documents presented to me today, correct,
14 Compi.itei'? 14 would be not - no. Actua||y, no, nat my home computer.
15 A. No. 15 In my Hotmail account -

16 Q. Why are you so certain? 16 Q. Okay.

17 A. Because l have not opened, to the best of my 17 A. - which is a cloud-based system.

16 knowledge, I have not opened - let me back up. 16 Q. Do you use any other storage devices to

19 l deleted all of the documents that l was aware 19 maintain documents?

20 of in my possession prior to leaving Mercer. l only 20 A. No.

21 recently became aware that there were other documents 21 Q. You ever use a floppy disk?

22 that l misscd, and l became aware ofthat on or around 22 A. Have I ever used a floppy disk itt my life'.’
23 the time of the lawsuit. And l was instructed not to 23 Yes.

24 delete anything, which is why they're still in my 24 Q. To maintain, to keep documents?
\lin-U-Script il DALCO chorting, lnc. (41) Pages 161 - 164

800.325.87'79

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 44 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DIGREGORIO
MATI`HEW DlGREGORIO, et al. March 09, 2018
Page 165 Page 167

1 A. l'm confident in the history ol' my lit`e I've 1 Q. Please read it back.

2 used a floppy disk. 2 (The requested portion of the record was read

3 Q. ln the last l2 months, have you ever used any 3 back by the court reporter.)

4 other electronic storage devices? 4 A. No.

s A. To the best of my knowledge, no. 5 BY MR. WEBER:

6 Q. Ever use a USB drive? 6 Q. Would you identify all telephone numbers,

7 A. Yes, l'm sure I've used a USB drive. 7 mobile and landline, that you own?

6 Q. For business purposes? 6 A. (610) 203-4251. l have to go into my phone to

9 A. Yes, l'm sure in my career I've used a USB 9 understand what this number is because l don't ever use
10 drive. 10 it.

11 Q. ln the last 12 months l'm asking you. 11 Q. And tell me the service provider as wel|.

12 A. Not to the best of my knowledge. 12 A. Sure. Hold on one second. (786) 682-8778.

13 Q. Have you ever used any zip drives? 13 That is a Verizon, it` l'm not mistaken. And the l'trst

14 A. l'm sure l've used a zip drive within the last 14 number was a T-Mobile.

15 12 months. 15 Q. Have you ever -- strike that.

16 Q. For business purposes? 16 Since November l, 2017, to the present time,

17 A. Yes. 17 have you contacted any Mercer employees?

16 Q. And do you have possession of those zip drives? 16 A. Please repeat the question.

19 A. I don't understand. \’our questions are not 19 Q. l'll rephrase it and l'll restate it.

20 accurate the way you're stating them. 20 Since November 1, 2017, to January l?th, 20| 8,

21 Q. Okay. Do you ever use any CD's? 21 have you contacted any Mercer employees about leaving

22 A. To listen to music, yes. 22 Mercer?

23 Q. Well, what l'm trying to get at here is there 23 A. No.

24 are a number of devices which you can store information 24 Q. Since January l'i'th, 20|8, to the present, have
Page 166 Page 160

1 on you're aware Of; Correct? 1 you contacted any Mercer employees about leaving Mercer?

2 A. Yes. 2 A. No.

3 Q. USB drive, zip drive, CD's, external hard 3 Q. Since January 17, 2018, have you contacted any

4 drives, et cetera. l'm asking you over the last 12 4 Mercer clients?

5 months have you stored any Mercer or Marsh data on any 5 A. When were the dates again?

6 of those electronic storage devices? 6 Q. January l7th, 2018, to the present.

7 A. And my answer to that question is I don't 7 A. Yes.

6 recall in the last 12 months whether or not l've used 6 Q. Tell me who they are.

9 that in the course of business at Mercer for Mercer 9 A. Isent an e-mail out to all ol` my contacts. I
10 business, but l most certainly did not use any ol` those 10 suppose there are clients in there that received it. l
11 to either take, maintain, or keep information from 11 don't know whom.

12 Mercer. 12 Q. Okay. Any other communications?

13 Q. But they're in your possession, these 13 A. l did make phone calls to a number of them; l
14 electronic storage devices? 14 don't remember who they are off the top of my head.
15 MR. SI-IAPIRO: Object to the t`onn. 15 Q. Make any sales calls on any -- strike that.

16 A. You must not have understood my answer. l just 16 Whieh companies have you made sales calls on
17 stated that 1 don't have those things. l didn't take 17 since January l?th, 20|8?

16 those things. 16 MR. SHAPIRO: Object to the form.

19 BY MR. WEBER: 19 A. Del`ine "sales calls".

20 Q. l'm asking you a question. Do you currently 20 BY MR. WEBER:

21 have in your home or office or elsewhere any electronic 21 Q. Pitches, lunches, golf outings, to do yourjob.
22 storage devices that have Mercer or Marsh material on 22 Have you made any efforts to do yourjob to get

23 them? 23 businesses January 18th or l'lth, 201 8, and to whom?
24 A. Please repeat the question. 24 MR. SHAPIRO: Object to the form.
Min-U-Seripl 6 DALCO Reporting, lnc. (42) Pages 165 - 168

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 45 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DIGREGOR|O
MATTHEW DIGREGOR|O, et al. March 09, 2018
Page 169 Page 171
1 A. So the question, if l understand it, is have l 1 expedited discovery in the preliminary injunction.
2 made any efforts to do my business - 2 MR. WEBER: l'll modify my question
3 BY MR. WEBER: 3 accordingly.
4 Q. Mm-hmm. 4 MR. SlEGEL: ln what way?
5 A. - since I joined Lockton? 5 MR. WEBER: Related to Mercer clients.
6 Q. Correct. 6 A. So since we've just gone through eight versions
7 A. Yes. 7 nfl think the same question, have l met with any Mercer
6 Q. And who have you met with? 6 clients or had lunch with any Mercer clients?
9 A. l've met with many people since I've joined 9 BY MR. WEBER:
10 Lockton. 10 Q. Had drinks with any Mercer clients.
11 Q. l~low many? 11 A. Drinks with Mercer clients.
12 A. l don't know off the top of my head. 12 Q. Any meals, any social activity, anything to get
13 Q. As best as you can recall, can you name them? 13 their business since January --
14 A. l'm not at liberty to name every person l've 14 A. Those are two different questions.
15 met with since l, since Ijoined Lockton. 15 Q. -- since january 17th. You're right. Let's
16 Q. You're not at liberty? 16 break it up. Let'sjust meet with them.
17 A. Well, I mean, l don't know off the top of my 17 Who have you met with?
16 head how many people l've met with since l joined 16 A. l've met with I)ufi`y's. I've met with Palm
19 Lockton. 19 Beach Country Club. l've had social interactions with
20 Q. Well, you must have a record ol` them somewhere; 20 Oxis. One ofthe owners is a member of my country club.
21 right? 21 l've met with -- l'm sure l've run into various people
22 A. Not necessarily, no. 22 at different networking events; l can't recall who off
23 Q. So there's no record of who you met with since 23 the top of my head.
24 January 17th in the last two months -- 24 Who else have I met with? l can't recall any
Page 170 Page 172
1 A. There would not - 1 other meetings where there were Mercer clients.
2 Q. - and you don't recall who they are? 2 Q. Do you have any recording of meetings that you
3 A. No. What I was suggesting or what l'm saying 3 have or have had by way of an Outlook calendar or a
4 is l can't remember every person l've met with since 4 paper calendar?
5 Jaauary. 5 A. l do keep an Outlook calendar, yes.
6 Q. Let's start with anyone you do remember. 6 Q. And that would contain the meetings that you've
7 A. Let's see. 7 had in the last two months?
6 MR. SIEGEL: Are you talking about Mercer 6 A. Yes.
9 clients? 9 MR. WEBER: Okay.
10 MR. DIGREGORIO: Yeah, that's why -- 10 MR. SHAl’lRO: Good, Mike?
11 MR. WEBER: I'm talking about anyone. 11 Okay. We're going to take a break. l might
12 MR. DIGREGORIO: Any human being apparently 12 just have a few questions for you.
13 BY MR. WEBER: 13 MR. SlEGEI..: You're done'?
14 Q. Any business efforts in the last two months, 14 MR. WEBER: Yeah.
15 l'd like the name of the entity and the individua|. 15 MR. SHAPIRO: A|| right.
16 A. Whieh you defined as lunches - 16 (Off the record l l:Sl a.m.)
17 Q. Any effort to get business, You know what you 17 (On the record 12:00 p.m.)
16 do. You do it in different ways. 16 CROSS EXAMINATION
19 A. But you're asking, but you're asking the 19 BY MR. SHAPIRO:
20 question. 20 Q. Hi, Matt. l'm Lyle Shapiro, your attorney. l
21 Q. l am. Tell me every individual you met with 21 have a few follow-up questions --
22 since January 17 with an intent to get their business, 22 A. Okay.
23 MR. SHAPIRO: 1 don't see how - it doesn't, in 23 Q. -- with regard to the questions that Mr. Weber
24 any way, relate to Mercer -- how that relates to the 24 asked you earlier today.

 

 

 

 

Min-U-Scripl ':i.

DALCO Reporting, lnc.

(43) Pages 169 - 172

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 46 of 70

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DlGREGORlO
MATTHEW DlGREGORlO, et al. March 09, 2018
Page 173 Page 175
1 First l want to talk about the e-mai|s that you 1 Q. Okay. Now, before you resigned from Lockton --
2 sent from your Mercer account to your personal e-mail 2 strike that.
3 account that wejust finished talking about, 3 Prior to your resignation from Mercer and
4 Now, in reviewing the exhibits in those 4 before youjoined Lockton --
5 e-mails, it looks like most, if not all those documents 5 A. Mm-hmm.
6 were sent in October and November, and a lot of them 6 Q. -- did you undertake efforts to go through your
7 were sent on the same date in October and November. 7 personal e-mai| account and delete Mercer-related
6 At that point in time, had you received any 6 information?
9 instructions or guidance from Lockton or anybody else as 9 A. Yes.
10 to what documents or information could be retained upon 10 Q. Okay. Now, you testified earlier that some
11 a transition of employment ii'om Mercer to somewhere 11 e-mails were not deleted.
12 else? 12 A. Yes.
13 A. No. 13 Q. Okay. Do you know why that is the ease?
14 Q. Could you explain, you know, with regard to the 14 A. To the best ol` my -- to the best that I can
15 exhibits that we talked about, you know, what was your 15 recall, either l did not believe they were Mercer, it
16 mindset in terms, generally speaking, sending them from 16 wasn't Mercer information at the time and/or l just
17 your Mercer account to your personal e-mail account? 17 didn't see them.
16 MR. WEBER: Objection; leading. Go ahead. 16 Q. Okay. On the date that you resigned from
19 A. To the best of my recollection, some of them 19 Mercer, was it your belicf, albeit a wrong one, that you
20 were for business purposes and some of them were 20 had deleted all of the Mercer-related e-mails ii‘om your
21 documents l thought would be helpful in the future ifl 21 personal e-mail account?
22 decided to leave. 22 MR. WEBER: Objection; leading.
23 BY MR. SHAPIRO: 23 MR. SIEGEL: You can answer.
24 Q. Okay. And at some point after sending them to 24 A. Unequivocally. l believe that I made good
Page 174 Page 176
1 your personal e-mail account you received information 1 faith efforts to delete and destroy all information that
2 which said that you cannot retain documents, the 2 I had in my possession electronically that was
3 documents that you sent from Mercer to your personal 3 confidential and/or proprietary to Mercer.
4 e-mail account. 4 BY MR. SHAPIRO:
5 A. Yes. 5 Q. At some point after you commenced employment at
6 Q. Okay. Do you recall the approximate date when 6 Lockton --
7 you first spoke with an attorney associated with your 7 A. Yep.
6 possible transition to Lockton? 6 Q. -- did you determine that you did still have
9 A. l don't, l don't remember the date, but l 9 some of those Mercer-related e-mails in your personal
10 believe it was December time frame. 10 e-mail account?
11 Q. Okay. Do you recall that the first time we met 11 A. Yes.
12 was on December 6th? 12 Q. Okay. At any time, have you used any of the
13 MR. WEBER: Leading. 13 information in your personal e-mai| account that in any
14 A. Can I answer? 14 way relates to Mercer in connection with your employment
15 BY MR. SHAPIRO: 15 at Lockton?
16 Q. Go ahead. You can answer it. 16 A. No, l did not use any information that l had in
17 A. I don't, I don't recall that that was the 17 my possession that I believed to be proprietary or
16 specific date, l do know it was at the W Hotel and 16 conlidential to Mercer.
19 there would be a record ofa room being reserved. 19 Q. You did retain a contact list, right, from -
20 Q. Okay. Did we meet before or aher the e-mails, 20 your personal contact list?
21 the October and November e-mails that had been marked as 21 A. Correct. And my understanding is that is not
22 an exhibit to this deposition which you sent from the 22 confidential or proprietary information of Mercer in
23 Mercer account to your personal e-mail account? 23 this circumstance based off of New York law.
24 A. After. 24 Q. Okay. And specii`tcally, the e-mails that are

 

 

 

 

-'\lill-U-Script it

DALCO Reporting, lnc.

(44) Pages 173 - 176

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 47 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATI`HEW DlGREGOR|O
MATTHEW DlGREGORlO, et al. March 09, 2018
Page 177 Page 179
1 currently in your personal e-mail account that relate to 1 from Exllihi_t_[l; is that correct?
2 Mercer, did you use any - use those e-mails or any 2 MR. WEBER: Objection.
3 information in those e-mails in your connection --in 3 A. Yes.
4 connection with your employment at Lockton? 4 BY MR. SHAPIRO:
5 A. Not specifically to generate or earn business 5 Q. And after you received instructions that you
6 on behalf of Lockton. 6 cannot retain Mercer-related infonnation, you undertook
7 Q. Okay. How, if at al|, was it used? 7 efforts to delete the information that you had
8 A. If` I have used it -- again, I don't recall 6 previously sent to yourself based upon the expectation
9 specifically when l did or didn't use it- but ifl did 9 you might have been able to use it -
10 use it, it would have been those c-mails for any event 10 MR. WEBER: Objection.
11 that l may have ltosted since l'vejoincd Lockton anchor 11 BY MR. SHAP[RO:
12 in conjunction with my announcement. 12 Q. -- at a future employment; is that correct?
13 Q. Okay. Whieh e-mails are you referring to'.F 13 MR. WEBER: Objection.
14 A. There were - can l look for the exhibit? 14 BY MR. SHAPIRO:
15 Q. Sure. 15 Q. You’re looking at me strange. Let me, let me
16 A. It's the exhibit with all the c-mail addresses 16 rephrase it.
17 on it. l don't know which number it was. l don't want 17 A. Yeah.
16 to get this all messed up. le Q. After you received instructions that you cannot
19 Yes, Exhihij_]_l, l may have used these e~mai|s 19 retain Mercer-related information, you went back to your
20 to send invitations for various networking functions 20 personal e-mail account and undertook good faith efforts
21 since l've joined Lockton. 21 to delete the e-mails that you thought, wrongfully, that
22 Q. Okay. Other than that information, have you 22 you would be able to take to a future employment; is
23 used any other information contained in any of these 23 that correct?
24 e-mai|s in your personal e-mail account that relate to 24 A. Yes, that's correct.
Page 178 Page 180
1 Mercer in connection with your employment at Lockton? 1 Q. All right. Let me, let me switch gears a
2 A. No. 2 little bit.
3 Q. Okay. Have you provided to anybody else at 3 ls there -~ let me ask you an open-ended
4 Lockton any of the information contained in these 4 question.
5 personal e-rnails? 5 ls there anything else that you testified about
6 A. Not to my knowledge. 6 during Mr. Weber's deposition that you want to correct
7 Q. Okay. When -- strike that. 7 or you want to clarify or you want to add to to make
a ls the -- are the e-mai|s that are in a sure that the record accurately reflects your testimony?
9 [‘§xhib`|t l 2 substantially similar to the e-mail addresses 9 A. l can think ol` three separate items.
10 that are contained in the contact list that you 10 Q. Okay.
11 airdropped from Mercer to your Apple iPhone? 11 A. Onc, l was asked questions around can you name
12 A. Yes, extremely similar, if not almost 12 Mercer clients that you participated in. l don't know
13 identical. 13 why l have blanked then and why l'm hianlting now. l'm
14 Q. Okay. When you -- upon your resignation, was 14 confident if I sat down l could come up with a list if l
15 it your honest efforts not to retain any Mercer property 15 really put time and effort into it. So that was not
16 at all? 16 intentionally to be misleading, and l apologize for the
17 MR. WEBER: Objection. 17 way that may have come aeross.
16 A. Yes. 16 Similarly to the prospects, again, I blanked
19 BY MR. SHAPIRO: 19 out and it was not intentional or purposeful, and l'm
20 Q. Okay. And if l understand what you've 20 confident that we could come up with something that
21 testified today, the only information that you've used 21 would be more representative of a realistic answer.
22 that in any way relates to Mercer in connection with 22 The third item is the questions around that
23 your employment at Lockton is contact information from 23 pertain to Joanne and Jada and Lockton and the
24 your personal contact list and potentially the e-mails 24 discussions around how it got to this point 1 felt -
l\‘lin-l -Script'® DALCO Reporting, lnc. (45} Pages 177 - 180

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 48 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DIGREGOR|O
MA'I'I`HEW DIGREGOR|O, et al. March 09, 2018
Page 181 Page 183
1 l'm not sure ifl answered the questions in a way that 1 1 will also say that, again, we each went
2 could have painted the picture the correct way. l felt 2 through the evaluation process separately and made our
3 maybe the questions that were being asked l was 3 own decisions individually on an employment that's best
4 answering but not necessarily what you were trying to 4 for our families and our future.
5 get to. 5 BY MR. WEBER:
6 So the fact of the matter is at some point in 6 Q. 'You received a direction not to - to preserve
7 time - l don't remember the date, 1 don't recall the 7 all documents in this case; correct?
8 month - Joanne approached me on an opportunity she was 8 MR. SHAPIRO: l'm SOl'|'y?
9 presented with for separate brokerage firm and an 9 BY MR. WEBER:
10 opportunity that that reeruiter thought could be good 10 Q. You received a litigation hold notice to
11 for the two of us. We discussed that opportunity. Wc 11 preserve all documents, electronic or otherwise, from
12 looked at the opportunity. 12 your attorneys; isn‘t that right?
13 As part of that same discussion, since Joanne 13 A. Yes.
14 was open with me, I was open with her that f was 14 Q. You know that applies to personal and company
15 considering other opportunities Then she asked mc to 15 devices'?
16 put her in contact with whoever l was speaking with at 16 A. I don't know that l understand the question.
17 Lockton. 17 Q. Okay. Your attorneys told you not to destroy
16 Accurately to my testimony, l provided her 16 any documents, evidence, electronic or hard copy.
19 contact information and .lada's contact information per 19 A. Sure.
20 their request to Hiram, and we separately went through 20 Q. You understand that?
21 the process of any normal human being would go through 21 A. Yes.
22 to consider a new employer. 22 Q. You understand why that's the case?
23 Ultimater we got to a point where l think we 23 A. Sure.
24 all separately agreed we were leaving, and yes, we 24 Q. 'l`o preserve documents for this litigation.
Page 182 Page 164
1 obviously coordinated a day and time we were going to 1 A. Yes.
2 leave once we all separately decided that we were going 2 Q. YOU understand that?
3 to leave Mercer for our own individual rcasons. That‘s 3 A. Yes.
4 all. 4 Q. Do you understand that applies to both company
5 MR. SHAPIRO: Those are all the questions l 5 and personal devices: laptopl desktop, iPhone, airdrop,
6 have, Matt. Thank you. 6 anything at all you understand that?
7 MR. DIGREGORIO: Thank you. 7 A. Yeah. I have not made efforts to destroy
6 REDIRECT EXAMINATION 6 anything at all since l've been given this information.
9 BY MR. WEBER: 9 Q. And you'l| continue to honor that direction;
10 Q. You said you had just talked to Joanne about a 10 correct?
11 mutual opportunity that was presented; correct? 11 A. Yes, sir.
12 A. Yes. 12 Q. The document that your counsel showed you,
13 Q. You didn't -- .lada wasn't part of that 13 Exhihil_ll with the list of e-mail addresses on it--
14 discussion, was she? 14 A. Yes, sir.
15 A. Not the original discussion, no. 15 Q. -- are the e-mail addresses on your contact
16 Q. But you provided her contact infonnation, as 16 list the same as the e-rnails on Ezgl]ibit l Z?
17 well as Joanne's, to Lockton, didn't you? 17 A. As I described to my attorney, they are
16 A. Joanne had a conversation with Jada. 16 substantively, virtually the same.
19 Q. How do you know that? 19 Q. Does your contact list contain other ~- does
20 MR. SHAPIRO: Just let him finish his answer. 20 your contact list contain other addresses other than
21 A. Joanne had a conversation with Jada. At the 21 what are contained on Exhjhi_t_ll?
22 time that Joanne came back to me she offered me both her 22 A. Other e-mail addresses?
23 contact information, as well as Jada's, to provide to 23 Q. Correct.
24 Hiram, which I did based upon their request. 24 A. Yes.
i\lin-l -Script n DALCO Reporting, lnc. (46) Pages 181 - 184

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 49 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MA'ITHEW DlGREGORIO
MATTHEW DIGREGOR|O, et al. March 09, 2018
Page 165 Page 187
1 Q. How many more? 1 sun op m wm )
2 A. I have no idea. 2 l ”
3 Q. Can you take an estimate? 3 com °P )
4 A. l cannot. 4
5 Q Well, thalis about four or five pages of 5 I. l»IATTl-tsw DIGRBGURIO, hereby certify that 1 have
6 e_mails there; correct? 6 read the pages of the foregoing testimony of this
7 A. I"/I{.".c accurately Six pages. 7 deposition and hereby certify it t:o be a true and
6 Q. Okay. Do you think your contact list has more a °°"°°° '°°°'d'
s than that number? 9
10 A. Yes. 10
11 Q. A lot more? 11
12 A. Again, l don't know thc number in my contacts, 12 "“TTHE“ °IGRE°°RI°
13 and l'm not going to attest to a number l'm not 13
14 confident in. 14
15 Q. You said that New York law allows -- strike 15
15 that 16 Sworn to before me this
17 You said New York law provides that a contact 17 _____dav of . 2018-
16 list is not confidential or proprietaiy; correct? 13
19 A. That is my understanding, yes. 19
20 Q. Where did you get that understanding? 20
21 A. From my attorneys. 21 notary public
22 MR. SHAPIRO: Oh -- 22
23 MR. DIGREGORlO: Sorry. 23
24 24
Page 186 Page 188
1 BY MR. WEBER: 1 CERTIP'ICATE QF UA'I'B
2 Q. Any other answers you want to change other than 2 sum oF FL°RIDA
3 the ones you just testified about? 3 com °F mm'mmg
4 MR. sHAPlRo: object 16 the fonn. 4 I' "‘°T°““ B"mz' "“° ““"°"*9“°“ °“°*‘°'“1"
5 BY MR. WEBER: 5 certify hhat'. MATTHBW DIGREGORIO. personally appeared
6 Q You can answer' 5 before mo and was duly sworn cm t:ho 9t-.h day of March.
1 A. Not ar this time. " =°1’~
6 Q. Do you think there may be answers you want to a witness my hand thin nw day of March_ mud
9 change at a later date? 9
10 MR. SHAPIRO: Object to the fonn. 1°
11 A. I can't comment on my future thoughts. 11
12 MR. SHAPIRO: Good, Mike? 12 §§::§:B§g:l‘§§: :éTgE°§§B§:°RIDA
13 MR_ WEBER: pm good_ 13 emission exp= ramsey 24, 2021
14 MR. SHAPIRO: All right. We'll read. 14
15 MR. DIGREGORIO: Thank you. 15
16 FURTHER DEPONENT SAl'l`H NOT. 15
17 (Whereupon, the Deposition was concluded at 17
16 12:20 p.m.) 18
19 19
20 20
21 21
22 22
23 23
24 24
t\‘lin-U-Seript® DALCO Reporting, lnc. (47) Pages 185 - 188

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 50 of 70

MERCER HEALTH & BENEF|TS, LLC v.
MATI`H EW DIGREGORIO, et ol.

MA'I"I`HEW DIGREGORIO
March 09, 2018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page189
1 CBRTI?ICATE OP RBPORTER
2 ETATR QF FLDRIDA
3 comr or arm-nms
4 I, VICTQRIA SUAREZ, Court Reporter end Notery Public
5 for the State of Florida, do hereby certify that I
6 was authorized to end did stenographically report end
7 transcribe the foregoing proceedings, and that the
8 transcript is e true and complete record of my notes.
9 I further certify that I am not a relative. employee.
10 attorney or counsel of any of the perties, ncr am I a
ll relative or employee of any of the parties' attorneys
12 or counsel connected with the action, nor am I
13 financially interested in the action.
14 Witneee my hand this llth day of March, 2018.
15
16
17
18 ME§H
19
20
21
22
23
24
Page190
1 seems secs'r
2 Depcsition of: MATTHEW DIGREGDRIO
3 net mesa HEALTH v ua'rrmzw ozonzcoalo. ec al.
4 Date Taken: March 9, 2018
5 Page Line 0 Correction Reason
6
7
B
9
10
11
12
13
14
15
16
17
18
19 (Signature)
20 Sworn to before me this
21 __dey of . 2018.
22
23 Notary Puhlic
24

 

 

 

Min-U-Scripi®

DALCO Repurting, lnc.
800.325.8779

(48) Pages 189 - 190

Case 1:18-cv-01805-.]GK Document 33-1

MERCER HEALTH & BENEF|TS, LLC v.
MATTHEW DlGREGORlO, ct al.

Filed 03/13/18 Page 51 of 70

 

$

5100,000 (5)
l0922;l 18:5,'.-',1 l;
l40'.l l

52 (2)
105'.6,8

5250,000 (1}
l08:l4

8500,000(1)
l08:l7

5750,000 (1)
100:21

A

ABC’s (l)
78218

ability (2)
75213,'78.‘?

able (5)
||2:2;|26:|9,20;
|79:9,22

above (6)
l4:22;| l8:7,l l;
120:I;l33:6;l36:2

accept (2)
30:|2;72: l 8

Acceptable (l)
21 :6

accepted (1)
72:13

access (9)
33:|3;42:2,1],]3;
67:|3;87:|5;|14:|;
|24116;126:21

accidentally (l}
163218

accordingly (1)
l7l:3

account (38)
14:6,7,16;15:17;
8|:3,15;92:14;98:|7;

 

13,15,l5;l65:20
accurately (5)
89:|3,15;|80:8;
181:18;l85:7
acknowledge {4)
l4l:ll;l6l:20;
I63:I4,l7
acknowledgment (l)
163;2?.
across (2)
l38:5;180:l'l'
action (1)
9:| l
Actions (3)
|ll :3.6,| 7
Active (3)
98:|6;| l0:18,22
activities (3)
86:|6;87:3;|20:23
Activity (4)
l20:13,16,20;17l:12
actual (2)
l 14:19;129.'21
Actual|y (10)
l?:15;44'.9;48:17;
l2'l;l l;|36:21;137:|9;
l40:T-‘,l2;|50:l8;
164: 14
Acumcn (1)
92: l 2
add (2)
51:6;|80:7
added (1)
63:23
address (26)
14:7,1|;66:|4;74:9;
75:5,18,24;78:6,8,9,|3,
19,23;79:9;98:3;1 l2:9;
113:23;1 18:21;l23:18;
124:3;126:21;13|:4;
|37:8;156:|7;16|:2,|4
addresses (17)
|4:9;74:2,3,23,24;
ll2:16;128:8,|8;

 

advising (l)
68:|3

affect (1)
7123

affiliated {l)
48:13

Again (41)
15:22;16:9,12;?.6:23;
3 l :24;42;1 1;45:19;
52:] |;55:2;57:2;65:3,
6;76:24;82'.5;85:|;
89:|5,23;104:1;|06:7;
ll4:l5;l 17;6;l 18;6,9;
ll9:7;l26:23;127:8;
130:4;l35:7;|36:6;
13'.-‘:8;|44:18;l45:l2;
l46:l;l53:21;16l;4;
|63:10;168:5;|?7:8;
180:18;183;1;185:12

against (1)
l24:15

Agency (3)
l24:10,l9;l.'!5:ll

Agcncy's (1)
l23:3

Agenda {l)
137:14

aggressive (1)
l06'.lS

ago (4)
21:22;|0?:11,'
ll4:l 1,16

agree (2)
36:1;38:|1

agreed (2)
9:3;181:24

Agreement (16)
9:6,17,22;10:1,5;
1|:24;12:16;18:]3,20;
48:16;5|:|0,21;72:2|;
73:8,| 1,16

Agreements (2)
38:|3;50:|2

ahead (7)

 

MA'I'I`HEW DlGREGORIO
March 09, 2018
23:|7;24:21 84:4,||,|6;|21:|6;
aligned (1) 132:8;138:21;139:l3
109:7 appears (12)
Allen (1) 98:2;112:22;118:|7;
136:16 l?.l:21;130:9;134:7;
allow (1) l35:3;l43:20;l44:l2;
l08:17 l46'.12;152:6;l54:15
allowed (2) Apple (16)
ll3:6; 123: 14 81 :20,21,22,23;82:3,
allows (1) 8,9;83:|4,16,|8,2|,24;
185: l 5 160:6,9,24; | 7811 1
almost (l) applies (2)
1?8:12 183:14;184:4
along (2) appreciate (2)
li:|3;30:24 38:|0,24
although (1) approached (1)
l 18:3 18 l :8
always (2) appropriate (4)
l39:l 1;147:4 38.‘4;62:|9;7|:7;
Amcrican (l) 72;1
|42:5 approximate (2)
among(Z) 4|:1;174:6
78:4;86:9 Approximately (22)
amount(l) 9:19;||:9;|3:21;
|01:8 15:24;|6:|7;35:|4;
Amy (l) 40:20;4| :21;43:6;
6'.15 49:]2;54:4,|8;55:23;
andfor (6) 6721,9;73:|;86:9;

40:?.;91:22;|29:5;
I'i5:16;l76:3;l77:ll
announce (3)
90:24;9116,l4
announcement (10)
91 :10, l 9;92:20;
l45:9,l 1,23,24;155:10,
l 1;177:l2
announcements (3)
77:1 l;89:6;9l 224
announcing (1)
90:2|
annual (6)
87:12,|2;|04:15,|6;
l38:2|;|46:8
answered (2)

 

87:13;88:7;89:9;95:23;
101 :4

arms (1)
82:|0

AR (2)
104:9;|07:4

Arcl\ivc (1)
|21:1

Armin (2)
|52:7,15

around (10)
54:|3;56:1|;103:20;
126:24;127:2;150:17;
162:22;180:1 1,22,24

arrangement (6)
24:|3;37: 14;41:8;

 

1|0;|3,23;|25;23; l30:5,l2;161:7; 53:|7;|04:24; 1|3:9;|81:l 46:4;47:13;|08:6
123;4;133;7;|41;|2; 177:16;178:9;184:l3, 110:21;150:12;|58:19', anxious (1) arrangements (1)
144;13,20;|55;|5; l5,20,22 l73:18;l74:16 150:l2 24:2
157:|2;|58:8,14; advance (1) airdrop (l l) anymore (l) ascertain (4)
16|;13,16;|64;|5; 107:20 75:9,13;76:|,8,15,17, 131:5 87:10;162:9,|0,|1
173;2,3,17,17;174;|,4, advanced (1) 22;77:4;81:1|;156:20; Aon (1) aside (1)
23,23;175:7,2|;|76:|0, 7113 184:5 l32:2 152:12
| 3;|77;| ,24;| 79;20 advice (l) airdropped (5) Aon's (2) aspects (1)
accounts (1) 69119 7528;8128;82!7;8329; 144113,14 4721
127;|6 advise (2) l78:l l apologize (2) Assets (1)
accumulated (1) 68218;163!24 l'lil’€ll'llpplllg (1) 2723;[802|6 2i16
36;7 advised (1) 75:12 Apparently (4) assigned (l)
accurate (I l) 8923 albeit (1) 9225,6; l 25!23; l l 1220
65:20;72:16;74:6; adviser (1) 175:19 |')'0:12 assignment (1)
88:14;123:7;139:4,11, 98:6 Ale (2) appear (7) 142:15
Min-L -Script k DALCO Reporting, lnc. (191) Sl00,000 - assignment

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 52 of 70

 

MERCER HEALTH & BENEFITS, LLC v. MATl`HEW DlGREGORIO
MA’I"I`HEW DlGREGORlO, et al. March 09, 2018
Assignments (l) 10:12;68:10,|8;l62:6; Il4: 16 board (2) button (l)
|37:| 7 163:4,9,24;l64:9; basis (4) 114:14;117:5 96:9
assistance (l) 183:l2,17;185:21 27:6;87:|2,12; BOR (3) buy (2)
66:|9 attorneys' (3) 104:15 104:9;|05:16,17 152:24; l 53:3
associate (3) 37:24;38:1,14 bathroom (l) both (10)
|1:8;86:3;107:4 attorncy's (l) 39:3 22:22;25:2;31:3; C
associated (2) 45: 10 BCC (l) 62:2,|0;|07:4; |09:9;
|52:17;174:7 August (5) 7l:4 |23:6;l82:22;184:4 calendar (10)
associates (l) 34:8,|3,19;35:|1; Beach (l) brain (l) 30:23,24;31:|0;
86:12 68:17 l7l:|9 54:8 4|:24;42:5;58:|7;
assume (l l) l\ugusthcptcmbcrlOclober (3) became (6) break (l l) l2652l];l 7223,4,5

14:19;15:3;32:2;

39:ll;40:7;4l117

 

 

 

 

90:12,14,|6;134:|0;

 

7:16,|8;15:10;38:16;

 

calendars (2)

 

57:|6,2|;65:|4,|6; automatically (3) l62:2| ,22 39:3;50:23;71:23; 422|2,|3
114:18;115:20;123:3; 8|:23;82:2;83:1 become (1) l l3:2|;l56:22;l7l:l6; call (17)
142:5 available (6) l35:9 |72:|] 29:|6;31:]8,18;
assuming (2) 28:2;74: 1,22;77: l 5, becomes (l) breakdown (l) 32:22;45:24;46:21;
122:3,7 23;80:2| 107:18 |04:8 55:5;64:|8;68:12,|8;
assumption (l) average (4) began (3) briefcase (l} 84:19;|0| :10, |2;
123:|2 87:|2;133:5,6,|4 I8:2l;22:l9;35:8 95:|4 l05:4;126:l5,22;
At|anta (l) avoid (l) behalf (3) bring (6) |50: 12
103:8 38:23 67:7;73:20;177:6 62:|9;87:23;|02:17; called ('l')
attach (l) aware (9) belict'(l) l05:7;l34:l4;l40:13 6:5;2|:4;28:24;
134:6 l0:ll;l7:l;70:l9,22; |75:19 brings(l) 31:|9;32:|2;|36:|7;
attached (8) 99:24;162:19,2|,22; belongings (l) 105:5 l40: 16
63:15;1|0:22; 166:1 l5:l3 broad (l) calling {3)
ll7: l 8;1 18: 12,|6; away (l) below (2) 50:7 32:2;33:23;34;20
122:20;|23:1;|26:3 143:6 l33:5; l49: 17 broken (l) calls (5)
attachment (7) awhile (l} BenchmarlG (2) l 18:2 103:9;168:13,15,l6,
l 10:18;l22:16,|9; 63:2 l32:23;133:6 broker (3) l9
|37:|3;|43:14;144:5; Bcneiits (9) 80:4;|33:15;149:6 came (5)
|46:5 B 18:|9;22: l3,18,21; brokerage (l) 33:23;34:2| ;36:24;
attachments {3) 44:24;56:20;79:19; 181:9 143:24;182:22
|25:24;|33:23;13?:5 Bachelor's (l) 144: 15; 15 |:l0 brokers (2) can (99)
attempt(l) 22116 beside (l) lSl:l l,ll 7:8;|0:|0,20;14:16;
62:20 back (29) 8:|5 brought (l) 15:18,21;19:3;23:12,
attempted (l) 17:15,|6;24:7,1 l,|8; besides (l) 9:10 16;25:4,|8;27:|,23;
95: l 7 28:|4,|6;3 l :4;39:9; 10:24 Bruno (2) 28: 13;31 :23;32:7;
attempting (l) 41:|4;63:6;| 10:3; best (22) 42:22,23 33:12,20;34:5;38:2;
l05:23 l20:7,l0;l23:9; 13:8;|6:6;18:8; Buchanan (l) 39:3;44:22;45:2;48:7,
attend (l) 136:22;|41:24;l42:7, 33:20;40:24;47:5; 153:|2 9,| 7;5 l :6;53:|3;54:9;
126:18 10,| |;I46:|8;l50:2; 48:|5;73:5;74:7;84:6; building (l) 58:9;68:15;69:1,2|;
attended (4) 162:|8;l63:6,8;|67:l, 96:16;|00:20;|41:2; 12l:I0 70:5,| l,| |;7|:17;
115:13,l7,18;129:l0 3;|79:|9;182:22 159:5;162:l7;165:5, Burns (1) 76:|6;78:|8,19;79:12,
attendecs (l) background (3) 12;169:|3;l73:l9; 90:| 21 ;82:6;83:4;85: 14,23;
126117 3932|;4339,?-| l75:l4, |4; l 83:3 Business (45) 93:|0,21;95:4;96:6,24;
attending (2) bad (l) Better (2) l l:l6;23:7;25:|2; 9713;98:3,6,|2;99:8;
86:10,12 152:?.0 98:1|;120:|5 26:|5;28:|,6;29:6,|3; 105:5;110:17;111:14;
attest (I) ballpark (l) beyond (2) 39:22;62:21;74:5,5; l 1312,3;1 l4:6;l 17:2;
185:13 89:12 44:18;145:|0 75:|,2;85:|8,21;86:3, 118:14;120:11,12;
attorney (14) bankers (l) bit (3) |2;87:3,13;102:18; |2|23,10;|2613,12;
19:8;37:19;47:18,23; 86:2 54:8;|39:5;180:2 |15:6;|18:19,20; 128:5;129:14;13 l:l,
66:20,2|;67:2|;68: I4; base (5) biweekly (l) 129:11;133:5;136:20, 22; l32: l 0;l34:5;
73:|7;88:4;94:17; 32:|;45:14;46:10; 118:2 24;|44:19;145:5; 137:9;143:11;147:12;
l72:20;|74:7;|84:l7 100:24;10l:2 blank (2) l5l:4,14,l7,2l;l65:8, 149:5,1 l,17;15|:7;
attorney/client (4) based (9) 23:22;27:| 7 16;166:9,10;169:2; |52:9;156:13,22;
68:2|;69:23;70:4; 103:8;|05:4;l06118; blanked (2) 170:14,17,22;171 :l3; 163:5;165:24;169:l3,
71:19 |26:20;|41:18;|53:2|; I80:13,18 173:20;177:5 13;174:14,16;175:14,
attorneys (16) 176:23;179:8;182:24 hlanking (l) businesses (2) 23;177:14;180:9,11;
6:22;8:8,|2,15,18; basically (l) 180: l3 133:16;168:23 185:3;186:6
\lin-U-Scripl i~' DALCO chorting, lnc. (192) Assignments - can

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 53 of 70

MERCER HEALTH & BENEF|TS, LLC v.
MATTHEW DIGREGORIO, et al.

 

candidate (l)
62:1

CAOs (l)
128:21

capabilities (6)
39:21;43:9,21;
123:24;124:10,21

capability (l)
26:16

capped (1)
108:14

captures (l)
140:6

capturing (l)
140:5

cards (l)
129:1 1

career (3)
54:12;95:18;165:9

Ca regiver (1)
23:21

carrier (5)
80:2;137:17,18;
142:8,15

case (10)
7:14;9:4;10:3,|3;
65:15;72:6;164:8;
175:13;183:7,22

cases (3)
79:1,2,3

casualty (1)
151 :1 l

catch (4)
29:20;32:23,24;
153:16

category (l)
130:1

cause (1)
133:9

CD‘s (2)
165:21;166:3

cell (l)
48:7

centers (3}
28:3,4;116:11

CEO (2)
112:20;114:21

CEOs (1)
128:21

CEO's (1)
1 12:21

certain (5)
54:15;127:16;128:8;
162:16;163:15

certainly (7)
38:2;59:20;101:1;
129:4;132:10;160:3;
166:10

cetera (3)

 

105:18;133:4;166:4
CFO (4)
90:4;1|2:20;114:21;
136:17
CFOs (l)
128:21
CFO's (l)
l 12:21
chairman (2)
153:13,21
Champion (1)
23:20
chance (3)
16:3;17:10;64:7
change (1 l)
10:21;48:17;50:16;
91:8;100:23;101:23;
102:6,8;136:18;18[:`:2,
9
changed (3)
100:24;101:1;142:-'1
changes (3)
73:1 1,|5,15
charging (l)
152:21
chart (2)
132:19;142:8
Chasc (l)
85:24
cl\at (1)
29:14
Chicago (1)
151:10
cbiet'(Z)
39:18;143:22
cigar (1)
85:9
cigars (l)
1 16: 16
ClOs (1)
128:21
circumstance (l)
176:23
City (4)
48:19,22;49:8;50:3
claim (1)
97:13
claims (l)
9:|0
clarify (3)
13:9;50:19;180:7
clear (3}
6:8;26:17;67:23
click (2)
128:10;130:7
client (37)
26:5,8,12;38:17;
62219;69:23;79:24;
85:1;88:17,21;90:9,12,

 

14,16,16;92:18;
100112;122:1 1,16,16;
123:4;124:12;|33:2|,
21;134:10,12,12,14;
135:6,8;136:5,7;|44:2;
150:24;153:15,18;
154:16

clients (58)
23:10,12,17;24:3,6;
25:6,9,15,20,24;26:18;
38: 13,14;52:5;62:17,
18;77:18,21;78:22;
84'.2,3,18;85:22;100:3;
102:|1;11111,|9,20,23;
112:2;114:1,19,23,24;
123:12,14;128:15,19,'
129:21,2|,23,23;
130:17,21,22,23;131:2;
135:12;168:4,|0;
170:9;171:5,8,8,|0,11;
172:|;|80:12

client's (2)
74;4;75:1

close {5)
118:5,10,21;139:17l
18

closed (1)
l 18:4

cloud-based (1)
164:17

Cluh (2)
171 : 19,20

Coast (3)
135:20;136:3,9

cocktail (1)
85:9

cocktails (2)
114:17;|16116

Code (4)
21 :2;63:9, 14;64:22

co-del'endants (1)
10: 12

co-l`ounded (1)
1 16:1 1

coincidence (l)
69:8

colleague (1)
132:1

colleagues (l)
131:24

collect (l)
79:13

college (1)
129:7

colors (l)
119:9

column (ll)
|19:4,8;120:3,6;
121 :21,23;122:4;

 

MATTHEW DIGREGOR|O
March 09, 2018
138:4,15,2|,23 136:10,11;151:24;
columns (3) |54:19;158:22;183:14;
119:6;|20:1,12 184:4
commenced {l) company's (2)
176:5 78:17;136:4
comment (7) compensation (38)
38:|0;53:7,|2;94:7; 10:7;37:14,22,24;

126:8;136:6;186:11

commentary (l)
120:5

comments (6)
106:16;107:7,12;
122:3,7;136:2

commission (13)
24:13,19,22;25:1,2,
5;45:|4;46:|1;71:21;
132: 19,23;133:5,9

commissions (8}
11:11;44:23;80:4;
99:2;101:7,10;133:10,
15

commit (1)
96:7

Committcc (4)
43:1,16;44:4,11

communicate (4)
93:3,16;94:8,19

communicated (8)
23:9,12;25:19;60:22;
94117;103:|2,14;
145:|0

communicating (l)
25: 15

communication (4)
93:6,1 1,23;94:3

communications (6)
42:18;69:23;70:5;
103:10;145:13;168:12

community (l)
29:6

comp (16)
101:1,2,6,13,14,17,
23;|02:7,11,16,18,22,
23;|03:23;105:12;
109:1

companies (17)
28:5,6;49:20;54:14,
16;63:14;72:14;79:3,6;
80:22;85:16;110:24;
112:15;122:4;128:|4;
129:22;168:16

company (32)
11:20;14:2;17:24;
18:1,2;26:|3,14;28:1;
63:2;78:18;79:18;85:2;
86:1;92: | 8;98:5;
112:22,23;114:21;
118:17;122:5,6,7;
124:24;125:12;135:21;

 

38:5;4|:8,10;44:23;
45:4,7,20;46:10,18;
47:2,12,17;7|:20;80:5;
98:20;99:1,1;|00:18,
22,24;101:21;|02:24;
1031 15,17;104:2,9,12,
19;105:3,14;108:|3;
109:19,23;|26:5
compete (2)
124:15;134:18
competitive (l)
132:1
competitor (6)
124:19,20;125:2,3,7,
13
competitors (3)
29:7;106:19;125:1
compile (l)
129:1
compiled (2.)
128:22; | 29:4
Complete (1)
123:24
completed (l)
20:2
completely (l)
125:10
completing (l)
65:16
Compliance (5)
17:9;19:10;20:4,16;
63:15
Complianccmmccom (l)
64:13
complicated (1)
107:17
comply (2)
18:7;88:5
component (4}
45:14;46:11;101:24;
102:9
compromise (l)
38:12
computer (24)
75:4,7;81:8,11;82:4,
8;83:10,11,13,19;
96:16,18;97:4;115:23;
116:3;156:20;160:23,
24;161:1,22;162:6,14;
164:12,14
computers (2)
160:8,17

 

Min-l -Script ."¢`

DALCO Reporting, lnc.

800.325.8779

(193) candidate » computers

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 54 of 70

MERCER HEALTH & BENEF|TS, LLC v.
MATTHEW DIGREGOR|O, et al.

MATTHEW DIGREGORIO

March 09, 2018

 

con (1)
43:24
concepts (1)
45: 18
concerning (2)
45:4;88:| 7
concluded (l)
186:17
concrete (l)
51 :9
condition (1)
18:23
conditions (1)
45:l
Conduct (4)
21:2;63:10,15;64:22
conference (l)
127:1 I
Conl`erred (l)
66:20
confident (8)
84:|7;35:|;89:18;
106:24;165:1;180:|4,
20;185:14
confidential (14)
12:19,21;13:1;20:24;
22:3,9;46: l 5;71:12;
88:11;110:23;176:3,
18,22;185:|8
Con|`identiality (1)
l 1:23
confirm (1}
1 |9: | 5
confirmed (2)
7|:12;121:|2
confrontation (l)
38:23
Congrats (l)
154:24
congratulating (l)
154: 14
conjunction (1)
177:12
connected (3)
82:24;145:7;146:3
connection (5)
176:14;177:3,4;
178:1,22
connections (l)
85:9
consider (2)
129:19;181:22
consideration (2)
3821;136:19
Considerations (2)
134:21;135:|
Considering (4)
54:23;58:6;61:7;
181 : 15

 

consist (3)
44:5;45:|4;|12:14

consists (3)
74:1,22;77: 15

consultant (l)
l 1 1:21

Consultants {3)
23:18;110:23;111:2

contact (60)
28:11,21;31:5;58:3;
61 : 14,20,22;73:24;
74:1,3,15,22,24;75:14;
76:14,18,20;77:6,14,
20;78:24;79:4,24;81:4,
7,8,17;83:9,19;84:3,4,
11,16;85:2,7,17,17,20;
88:24;91:1,5;93:2;
112:17,19;145:12;
176:19,20;|78:10,23,
24;181 :16,19,19;
182:16,23;184:15,19,
20;185:8,17

contacted (5)
26:19;167:17,21;
16811,3

contacts (20)
30:18;74:3,2|,24;
76:5,12;8|:11;82:7;
84:17;85:12,13,16;
89:1|;90:22;1 11:24;
114:|6;129:3,13;
168:9;185:12

contain (4)
85:7;172:6;184:19,
20

contained (7)
20:11;|18:15;
119:21;177:23;|78:4,
10;184:21

contains (1)
124:4

content (1)
121 :24

continue (3)
10:1,6;184:9

continued (1)
l 1:18

contract (3)
47:6,15,19

contractual (l)
46:24

contractually (2)
37:15;45:19

conversation (22)
29:23;30:2,5,7,9,1 l;
31:7,24;34:|;35:4;
39:10;55:1;56:10;59:9,
17;60:8;6|:5;62:4;
103:22;107:21;182:18,

 

21

conversations (7)
33:19;35:12;41:1;
54:13;62:6;88:8;
103:20

Conversely (1)
108:22

convey (l)
37:4

conveyed (l)
61 :20

convince (1)
62:20

COO (2)
92:12;114:21

cooperative (i)
46:14

coordinated (5)
69:4,9,10,14;182: 1

copied (1)
66113

copies (5)
17:4;68:11;87:17;
97:17;150:4

may (l l)
52:1;66:5;68:20;
71:5;73:24;74:14,2|;
96:|5;98:15;149:24;
183:18

corner (1)
1 19:24

corporate (l)
6113

corporations (l)
1 12:2|

correctly (4)
126114;127:1,3;
145:20

Cory (3)
66:5;72:1 2;126: | 8

counsel (4)
10:24;69:19;71:24;
184:12

counsels (1)
94:16

count (9)
9|:23;94:6,23;95:1;
122:21,22;129:3;
133:4;155:16

counted (4)
89:10;|18:3;122:23,
24

Country (2)
171 :19,20

couple (4)
26:24;129:8;135:20;
153:2

course (26)
20:3,18,23;21:|,3,5.

8,13,16,2 | ,23;22:2,4,5,
8;54:12;64: | 8,24;65:2,
6,13,|7,|9;86:8;95:18;
166:9
courses (10)
19:20,22;20:12,13,
16,17,20;64:15;65:6,10
court (9)
7:7;24:|1,18;28:16;
38:11,21;46:21;163:8;
167:3
coverage (4)
80:3,9;133:3;142:8
create (2)
91:9;1 14:14
credit (5)
108:14,18;140:6,12,
14
CROSS (1)
172:18
cross-selling (l)
22:20
C-Suite (8)
|14:10,14,18,20,20;
116:15;128:20;129:16
Cummings (1)
121114
cumulative (l)
l 15: 16
current (3)
8:23;119:2;135:12
currently (3)
26:15;166:20;|77:|
Cystic (2)
153:|3,19
Czerivonkn (4)
146: |3;150:9,20;
151 :20

 

D

 

 

daily (l)
80:18

Data (5)
2|:13;79:13;126:5;
134:21;166:5

date (26)
13:19;15:24;16:6;
30:17;34:13,16;36:6,8;
43:5;44:24;56:6;66:24;
70:16;72:21;73:3;
118:2|;127:1;134:11;
164:4;173:7;174:6,9,
18;175:18;181:7;186:9

dated (9)
98:3;|12:9;117:14;
122:14;124:3;125:22;
128:4;131:19;137:9

dates (6)

 

34:17;41:21;79:23;
88:18,21;168:5
daughter (l)
160:19
Dave (l)
43:|
Dave’s (2)
48:1,5
David (1)
14:8
day (5)
36:8;50:4;72:13;
164:5;182:1
days (3)
56:1;|18:6,23
deal (3)
39:1;|08:17;109:3
deals (2)
l 18:4,7
dealt (l)
64115
Deborah (l)
134:4
December (13)
36:20;37:10,|1;43:7;
57:16,21;61:|;73:14;
138:17;152:7;156:10;
i74:10,|2
December/January (5)
40: l 5;43:23;45:5;
47:22;73:10
December/October (l)
73:9
decide (2)
79:3;106:10
decided (5)
69:16,17;76:1;
|73:22;182:2
decision (4)
58:21;59:2,4,6
Decisions (2)
122:2;183:3
deck (3)
124:4,11;134:6
Declaration (7)
72:2,6;73:22;74:19;
77:14;95:2;159:1
defendant (2)
7:12;38:}4
defendants (3)
8:17,18;38:6
Defendant's (l)
153:7
Dcline (9)
13:1 1;26:2;44:22;
48:12;52:7;70:17;
86:24;139:18;168:19
defined (I)
170: 16

 

l\lin-U-Script .'.'t`

DALCO Reportiag, lnc.
800.325.8779

(194) con - defined

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 55 of 70

MERCER HEALTH & BENEF|TS, LLC v.
MATI`HEW DIGREGOR|O, et al.

MATTH EW DlGREGOR|O

March 09, 2018

 

definitely (l)
152:1 l
definition (l)
84:22
definitively (1)
56:2
degree (3)
22:16;104:19;|06:24
delete (14)
13:17;15:24;96:8,9,
11,|3,21;97:10;
162:24;|63:19;175:7;
176:|;179:7,21
deleted (25)
13:15,23;14:15,17;
15:4,9,16,18,23;16:7,
15,23;17:5;95:18;
96:11,20,20;97:8,10,
13;159:5,8;162:19;
175:1 1,20
delivered (1)
164:6
delivers (1)
154: 19
Dell (l)
|60:19
dental (1)
133:4
departure (l)
91 :6
depending (1)
133: 16
Depcnds (2)
84:22;100:7
DEPONENT (l)
186: 16
deposed (l)
27:6
DEPOSITION (9)
6:|;7:9;8:5;53:15;
63:24;64:1;174:22;

 

1 18:'1'

destroy (6)
68:11,13,19;176:1;
183:|7;|84:7

detail (1)
10:23

determine (4)
31:5,6;65:21;176:8

detriment (l)
109;9

develop (3)
25;11;27:24;111:23

development (4)
11:16;23:8;87:3;
153:12

device (2)
14:20;156:21

devices (10)
156:11,19;164:18;
165:4,24;166:6,14,22;
183:15;184:5

diary (3)
30:21,21;3|:10

difference (1)
102:4

different (13)
76:19;116:!5;119:9;
129:9;146:24,'147:2,7,
10',148:2',151;14',
1?0:18;1 71:14,22

differential (l)
102:1

difficult (2)
27:3;46:7

DlGREGORlO (39)
6:1,4,10;24:23;27:2,
1 1,16;53:2;69:24;70:7;
84:24;99:10,16,18,20;
100:5;|10:2,5;|13:12;
120:18,23;121:2,6;
147:2,18,24;151:6;

 

23:9;85:18;106:16;
137: 19

director (1)
153: 12

directories (l)
86:1 1

disclosed (2)
12:21,24

discourage (l)
107:20

discovery (2)
38:20;171:1

discuss (21)
39:20;41:1,4;47:7,
12;50:8;51:3,12;53:23;
55:7,|0;56:|6,18,20,
23;58:2;60:15,23;68:5,
8;7|:23

discussed (16)
10:13,23;30:1,7;
39:9;51:8;54:15,17;
57:2;60:8,21;69:15;
107:11;127:10;164:10;
181 :1 l

discussing (4)
44:20;45:20;54:21;
1 13: 16

discussion (21)
31 :22',33:1;34:21,24;
35:5;41:9;45:4,13;
47:3,9,11,14;51:18;
60:5;69:17;105:16;
106:23;149:8;181:13;
182:|4,15

discussions (18)
34:9;35:8;40:10,14,
17;41:3;50:5;51:|9;
52:1 1;55:2;6124;73:18;
|02:21;109:13,18,24;
|49:8;180:24

disincent (l)

 

131:6,11,21;133:1;
134:5,7,16;137:21;
140:15;141:3,4;
142:11,17;144:11;
146:9,12;148:2,|0;
150:8;184:12
documents (5|)
14:1,2,20,24;50:17;
63:20;68:20;69:2;
87:23;88:|1,17,20,22;
95:7,10,21;96:15,17;
97:1,5,8,12,21;|18:|5;
143:6;147:1,3;155:13,
23;156:5,19;157:4;
162:19,21;163:2,15,13;
164:1,9,13,19,24;
173:5,10,21;174:2,3;
183:7,11,18,24
dollars (l)
139:19
Dolpliins (1)
143:24
done (6)
17:6;80:10;109:23;
137:3;143:8;|72:13
Doolittle (3)
103:5,12;|06:17
door (2)
105:5,9
double-sided (1)
19:14
doubling (1)
105:10
doubt (2)
82:23;89:21
Doug (3)
146:13;150:9;151:23
down (8)
7:8;15:10;33:8;
50:23;102:18;103:1;
135:20;180:14

 

165:6,7,10,14;166:3,
3
drives (3)
165:13,18;166:4
drop (2)
75;17;77:3
dropped (1)
102:15
due (2)
49:17;71:19
Dut't'y's (1)
171:18
duly (1)
6:6
during (19)
|3:13;23:13;29:22;
30:1;34:19;38:16;
39:12;40:3,7,11;41:1;
53:14;60:?;71:23,'
86.'15;1 13:8;128:22;
129:2;180:6
duties (1)
11:14

E

earlier (5)
112:1;137:11,20;
172:24;175:10

early (3)
36;20;37:11;144:22

earn (1)

177:5

easier (1)

128:10

education (3)
22:23;39:22;43:9

effort (4)
146:1;163:19;
170:17;180:15

efforts (10)

 

180:6;186:17 |52:22,24;154:9; 107:19 download (2) |27:19;168:22;
depositions (1) |57:18,20;158:7; disincentive (1) 80:23;82: 16 169:2;170:14;175:6;
38:2 159:9;170:10,12; 107:19 doivnlonded {l) 176:1;178:15;179:7,
Describe (9) 182:7;185:23;186:|5 disk (3) 82:13 20;184:7
28:4;62:13,14;95:4; diligence (1) 164:2|,22;165:2 draft (7) eight (9)
1 10:17;118114;|20:12; 49:17 disputing (l) 9:22;67:18,24;68:1; 19:23;29:4;114:10,
121 :8;128:5 diligent (2) 142:23 73:7;128:7;142:7 13,15,15;140:18;
described (6) 71:11;95:3 distinguish (1) drafted (2) 153:14;171:6
50:6;86:16;119:20; DlREC'l` (4) 119:12 66:16;67: 19 either (15)
141 :8;161 :8;184:17 6:17;37:19;103:19', document (52) drafting (2) 13:15;30:23;31:9;
describing (2) 155:11 12:3,6;17:8;18:16, 66:19;67:21 62:5;73:5;114:23;
|05:21;121:21 direction (3) 24;19:2,15;20:8;63:13; drawing (2) 118:4;130:24;134:11;
desk (1) 53:11;183:6;184:9 64:12,21;65:3;66:4,6, 23:21;27:17 139:11;153:1;156:19;
95:12 directions (1) 16;80:1;98:19;105:20; Dream (3) 161:18;166:11;175215
desktop (7) 7:2 109:21;111:8;112:10; 134:8,16,18 electronic (13)
14:21;83:14,16,18; directive (1) 113:19;116:9;117:3; drinks (2) 30:21;31:10;42:6;
160:6;161:1;184:5 88:5 119:|0,18,22;124:5,9; |71:10,11 68:11,19;71:13;
despite (l) directly (4) 125:24;128:5;129:12; drive (6) 156:11;165:4;166:6,
Miii-U-Sci'ipt '.! DALCO Reporting, lnc. (195) definitely - electronic

800.325.8779

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 56 of 70

 

MERCER HEALTH & BENEFlTS, LLC v. MATTHEW DIGREGORIO

MATTHEW DIGREGORIO, et al. March 09, 2018
14,21;183:11,18 184:16;185:6 108:5 executed (l) 116:18

electronically (2} employed (10) equity (2) 47:| 5 experience (4)
1421;176:2 19:18,24;23:13;43:2; 128:12,14 Executive (8) 22:12,15,22,23

else (36} 49:20;62:11;155:14; equivalent (l) 42:24;43:16;44:4,11; expert (2)
8:11,15;10:14,18; 156:10,17;163:|6 129:3 92:11;|14:20,21; 75:16;76:24
35223;37:6,8;39:12; employee (10) essentially (2) 129:20 explain (6)
41:11;42218;43:13,24; 22212,21;37:17; 28:7,9 executives (5) 69:13;75:12;104220;
56:5,7,9;62:6;68:2; 70:23,24;71:2;118:21; estimate (3) 114:15,18;1 16215; 126:3;152:9;173:14
81:4,9;83:20;91:11; |33:4;144:15;151:10 84:6;89:|2;185:3 117:5;12822| explore (l)
952|5;96:|2;1 18:12; employees (8) et (3) executives' (2) 611:9
119:17,21;136:24; 52:5;80:6;99:4,20; |05:18;133:4;166:4 78:19;79:4 exploring (2)
|37:2;138:13;160:17; |38:10;167:17,21; evaluate (3) Exhibit (84) 56:11;61:11
162:2;171:24;173:9, 168:1 59:5,22,24 1 1222,23;12:3,6; extent (3)
12;178:3;18025 employer (4) evaluating (2) 18:12,16;19:10,14; 20:9;24:24;38:3

elsewhere {l) 8:24;133:7,17; 149:6,11 2025,11;63:9,13;65:24; external (1)
166:2| 181:22 evaluation (l) 66:4;72:2,6;73:23; 166:3

e-mail (146) employers (3) 18322 97:23;9822,16;1 10:|6; extra (3)
14:6,9,11,16;65:24; 49:22;78:24;154:20 even (5) 112:4,5,8;113:|7; 130:15;149:24;150:4
66:4,13;7124;74:3,9, Employer's (2) 123214;|24:22,24; 1 14:2,5;116:5,8,22; extremely (2)
23;75:5,18,23,24;78:5, 78:14,15 129223;|53:20 117:2,8,11;|20:7; 102:14;178:12
8,8,9,13,23;79:9;88:24; Employment (42) event (8) 122:10,14;123:23; eyes (6)
90:18,20,23;91:12,22; 9:6,|6,21;10:1,5; 10:2;27:14;114:12, 124:2;125:18,21; 37:24;38:1,15;
94:9,|8,19;95:16; 11:5;13:13;17:23,24; 14;116:14;130:14; 127:23;128:3;131215, 120:15;144:13,24
97223;98:2,3,16;104:4, 18:22,23;22:11,19; 153:14;177210 19;132:18,21;133:22;

6;105:13',106:15;
110:16;11225,8;
113:17,22;114:2,5,8;
l 16:5,8,|0,22;1|7:4,6,
8,13;122:10,14;123:2,
18,23;12422,3;125218,
22,22;126:10;127:23;
128:3,7,8,18;13025,8,
12,|6;131:4,15,|9,24;
132:16,18,22;133222;
134:2,4;137:4,7,1 1,20;
142:22,23;143:13,16,
21;144:4,7,8,12;
|45211,17;146:3,4,7,
15,20;147:9;148:5,19;
149:1;15029;15222,6;
153:4,8,11,24;154:4,
13;155:15;156:17;
157:11,23;158:8,14;
159:2;16122,6;168:9;
173:2,17;174:1,4,23;
17527,21;176:10,13',
177:1,16,24;178:9;
179:20;184:13,15,22

e-mailed (2)
146:17,18

Emails (1)
128:4

e-mails (28)
91:1,17;94:5;145:9;
155213,20;156:8,16;
173:1,5;174:20,21;
175211,20;176:9,24;
17722,3,10,13,19,24;
17825,8,24;179221;

 

38:13;44:21,22;45:1;
50:16,21,22;53:23;
55:3,7,10;60:15;65:7;
72221;73:3,8;86:15;
90:6;128:23;129:5;
173:|1;176:5,14;
177:4;178:1,23;
179:12,22;183:3

encouragement (l)
67:4

Eneryption (1)
2128

end (l)
|49:7

ended (l)
|50: 13

engaged (l)
26:16

enough (4)
49:24;75:17;7?:3;
152:21

enrollment (1)
150:13

entail (l)
54:24

entirety (l)
1924

entities (l)
50:8

entitled (6)
20:23;21:13;46:3;
63:14;113:18;137:22

entity (1)
170:15

equitable (l)

 

events (9)
85:8,9;86:1 1;1 14:10;
115:8;116:20;129:10;
153222;171:22

everyone (5)
44:3,10;48:|0,12;
88:24

everyone's (1)
6:7

evidence (l)
183:18

exact (8)
1421;66:24;69:7;
88:9;94:23;9521;
107:24;129:15

exactly (7)
33:9;54:16;90:8;
107:23;126:12;140:4;
150:1

EXAMINAT|ON (3}
6217;|72218;182:8

example (4)
78:22;85223;94:5;
140:10

Excel (1)
134:18

exchange (2)
146:16,17

exclusively (l)
69:16

excuse (11)
26214;69:16;73:9;
74217;108:10;114:9;
121:13;125:5;136:21;
150:10;153:7

 

134:2;137:4,7;143:13,

16;144:4,7; 146

:4,7;

147210;148:5,9;152:2,
6;15324,8,24;154:4;

155:18;158:13,

159:3,4,6,10,10,11,11;

174:22;177:14,
178:9;179:1;18
16,21
Exliibits (4)
50:12;|57:23;1
15
exist (7)
51 :22;52:12;83
156211;157:4,1
existing (1)
1 1 1222
exists (l)
42:8
exited (1)
99:23
expand (1)
151:21
expectation (2)
149:18;|79:8
expected (l)
1 1923
expecting (l)
104:15
expedited (l)
171:1
expense (4)

14;
16,19;
4:13,

73:4,

219;
0,11

86:22;8722,5,17

expenses (4)
86: | 6,20;87214

$

 

F

FabSouth (2)
90:4,15
fact (3)
69:7;104:6;181:6
factors (l)
133:9
faith (2)
176:1;179:20
familiar (9)
19:1,6;20:7;64:9;
66:6;72:7;124:4;148:9,
13
families (l)
183:4
family (1)
10: 19
far (l)
44: 19
fashion (2)
91 :13,15
fast (l)
143:1 1
faxes (4)
91:3,5;9221,7
Feather (3)
135221;136:3,9
Federated (l)
131:3
fee (5)
24:12,19,22;25:2,5
feel (2)
71 :7,9
fees (2)

 

\lin-U-Script ."~'§

DAI..CO Reporting, lnc.
800.325.8779

(196) electronically - fees

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 57 of 70

 

MERCER HEALTH & BENEFITS, LLC v. MATTHEW DlGREGORIO

MATTHEW DIGREGORIO, et al. March 09, 2018
8:23;2425 12825 153:20 45210,|1,13;50:7; guessing (2)

feet (l) flexibility (1) founding (l) 51212;54221;58224; 91210;142:13
82221 14329 115:5 68:12;106:22;118214; guidance (9)

felt (4) flexible (l) four (l) 173:16 67:21;6821,14;70:3,
108:2;131:10; 100:2 185:5 generate (2) 12,15,17;71:16;173:9
180224;18122 floppy (3) foursome (l) 1 1215;177:5 guideline (1)

few (5) 164:21,222165:2 130:15 gentlemen (2) |05:24
139:19;15721 1,17; Florida (19) fourth (3) 829,22 guidelines (1)
172212,21 112:13;11526;117:8, 120:3,6;138216 gestures (l) 106:3

Fibrosis (2) 17;122:11,15,16; frame (15) 725 gun (3)
153213,|9 123:3;137214,15,15,22, 20:1;28:17;30:16; gigantic (1) 98:|4;152:13;153:11

figure (3) 23;13821,2,2;151:18; 31:13;33:5;34:24; 85:24 guys (2)
87:9;|21:20;147:12 153:14,22 36:11;47222;48:23; given (5) 99:11;104:22

figures (l) Follow (l) 49:6;50216;57:13;67:2; 48:10;71:16;79:19;
138218 |28:5 68:9;174:10 138:20;184:8 H

File (3) following (1) framework (1) giving (2)
21:9;96:21;97210 119:6 45:22 98:15;140:14 Haderer (1)

liles (2} follows (1) friend {3) glean (1) 142:3
96:11,14 626 48:6;136:16;143223 11221 half(l)

filings (2) follow-up (1) friends (3) Gmail (2) 139:20
79:10,17 172221 10:19;8622;93:2 161215,16 hand (1)

final (2) forgot (1) front (7) goal (12) 1 19224
10628;115:14 110:8 2024;37:17;58:17; 104:9,9;10525,10,17, handbook (3)

lina|ist (1) form (59) 62:23;72:23;9923; 17,17,17;10621; 70:23,24;71:3
118222 9:|2;10:8;14223; 146:20 137:22;138:14,16 handed (2)

finally (1) 15219;16:4,8;25216; full (l) goals (7) 147210,|8
73212 26:1,6;32:8,16;33:10; 58:18 104214,|8;105:16; handful (2)

financial (4) 36:3;42:10;50214;5529; fully (1) 10624,18;107:1,4 40:21;49:13
38:8;11725;131:20; 57:1;5827;59210,13,|9; 2521 goes (2) Handout (2)
141:5 61:17;64:4,16;6726; functions (3) 121219;138:4 1372|6,17

find (6) 69:20;74:11;75:20; 29:13;86213;177:20 Go|f(4) happen (l)
51217;78:1,18,|9; 76:23;78:16;792|0,16; further (6) 130:9,14;|31:1; 82213
95219,21 811:12,24;8123,10; 52216;69:3;120:7; 168:21 happened (5)

fine (9) 82220;84:21;91216; 131:9;140:15;186216 Good (22) 82214,15;9124;9224,5
1 124;23:23;27:20; 9328,13,19;1 1 1212; future (8) 6219,20;21:2;22:6; happens (l)
30212;53:16;76:14; 114:8;116210;11724,6; 62217;114:1;|33:21; 34211;38:20;63:14; 1027
119:23,24;15128 141:16;154:7,10; 173:21;179212,22; 64215,19,21;65219; happy (7)

finish (6)
7217,17;5728;79:21;
113:5;182:20

finished (l)

173:3

firm {3)
48:3;151:2;18129

first (35)
625;9:21;|1:|4;23:1;
28210;29:1;30:11;31:7;
32:1,13;44:20;4524;
58:18;61:5;66:23;
67:12;73:7;78:9;
102:13;10529;11824;
|20:14,16,20;140:22;
14128,10;14222;
157217,23;160:24;
167:13;17321;17427,11

five (6)
19215;35:16;89:14;
94:22;125:23;185:5

Flag(l)

 

156:12;157:5,6;
161:23;166:15;168:18,
24;186:4,10
format (1)
l |6:|5
formed (1)
l 14210
former (2)
131:24;132:1
forms (2)
79217;93:1 1
Forum (l)
l 1526
forward (2)
69:|8;142:10
forwarded (3)
126:17,20;137211
forwarding (1)
134:3
found (3)
97:7;15527,9
Foundation's (l)

183:4;186:11

 

G

 

 

Galaxy (1)
161217

game (1)
143:24

gave (4)
62:2;82219;110:10,
1 1

gears (l)
180:1

Gee (l)
23:20

general (14)
11:19;16:14;19:7;
23:6;31:23;33:15;
39:22;44:23,24;4524,7;
46:10;55:2;65:1

generally (15)
11218;27:21,24;4124;

 

84:9;9226;143:7;147:4;
152222;172210;175:24;
179:20;181210;186:12,
13

Greater (8)
2121;22:5;63:14;
64:15,19,21;65:19;
133:8

green (l)
| 1929

Grid (l)
137:16

group (2)
131:1,2

Growth (4)
137216,17;140:19;
141:8

Gubnitsky (1)
143:21

guess (7)
49:5;58:18;83:22,23;
12228;142215,16

 

37:23;71223;99:21;
108:20;109:5,10;
143212

hard (10)
68:11,20;8729;96215;
97:17;121:15,20;
122:1;16623;183218

harmless (l}
9210

Harmonization (l)
134:19

Harold (l)
143221

head (10)
7:5;23215;25222;
44:17;48:2;130:24;
168214;169:12,18;
171:23

heading (1)
12129

headings (l)
130:4

 

i\lin-U-Sci'ipt®

DALCO Reporting, lnc.
800.325.8779

(197) feet - headings

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 58 of 70

 

 

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATI`HEW DlGREGORlO
MAT'I`HEW DIGREGOR|O, et al. March 09, 2018
headquartered (l) 134:8,17,19 81 :20,21,23;82:9; 91:19 instead (4)
86:2 Hollander (7) 83:21,24 individual (12) 75218;10028,9;109:3
Health (6) 134220,24;135:5; idea (9) 38:14;39217;46:9; instructed (2)
18219;22:3,17;3223; 136:12,14,17;137:3 1521 ;89:8,10;91 232 47:24;50:18;82:6; 88:3;162:23
44:24',127215 home (47) 92:5;138:14;153219; 111:2;|28:11;130:8; instruction (2)
Healthcare (4) 1422|,21;30:24; 155:6;185:2 170:15,21;182:3 69:1;123:16
22219;127:14,17,21 66213;74:8;75:4,5,7,18, ideas {1) individually (1) instructions (3)
heard (2) 23;81:8,11;83:10,11; 1927 183:3 17329;179:5,18
6:21;68:24 9527;9823;1 I 1:5;1 1229; identical (l) individuals (29) Insurance (5)
hearing (1) 113:22;123217,18; 178:13 28:11;42:16;44:1,5, 22:17;98:5,6;158:21,
38222 124:3,7,14;125:22; identification (28) 12,15,18;45:6;48213, 21
Hello (l) 126:10,21;128:3; 11:24;18:13;19:11; 20;4927,10,19;5026; insure (l)
30:3 140:23;141:6,11,15; 63:10;66:1;72:3;97:24; 77221;85:8,17,20;88:8; 98:6
help (9) 144:16;14628;148:17; 98217;112:6;1|423; 94:20;105224;112:16; insured (4)
11:15;|3:9;16222; 153:8;|55:15;156:17; 116:6,23;11729; 114223;1|5:|;127:16; 25:1,2;98:10;144:14
31211;41:24;67:23; 157:24;158214;160:5, 122211;123:24;125:19; 128213;129:|8;13025; intelligence (1)
70:10,11;13921 8;161:1,20;164212,14; 127:24;131216;132:19; 140:2 132:2
helped (1) 166:21 133223;|37:5;|43:|4; individual's (1) intent (l)
67:17 honest (l) 144:5;14625;148:6; 78:5 170:22
helpful (15) 178215 152:3;153:5;15421 industry (4) intentional (1)
99210;111215; honestly (1) identified (2) 107:2;112216;13328, 180:19
124:15,17,18,23;125:3, 34:14 1|8:22;160:5 14 intentionally (2)
6,13;|27:19,20; honor(l) identify (3) influence (3) 9122;180216
131210;133:20;147:4; 184:9 62218;117:2;167:6 28:3,4;116:12 interactions (3}
173:21 hope (1) ie (1) information (87) 6229;86:8;171:19
helping (1) 53:7 107:19 12:19,22;1321;15:23; interest (6)
112:1 hosted (1) ll (3) 20224;21:6,11,17;2223, 32214;50:|2;51:5;
helps (2) 177:11 134:8,16,19 9;28:2;37216;42:12; 52:8,17;93:17
1 1 1222,23 hasting (2) imagine (2) 47216;5823;61:14,20, interested (4)
here's (l) 116:19;130214 164:5,8 22;7| 213,24;74:2,22; 32:323526;61211;
61:24 Hotel (l) iMereer (l) 76213,14,18,20;77:15, 62:3
hey (l) 174218 12625 20,22;78:2;7924,23; lnternational (1)
106:9 Hotmail (10) immediately (1) 8022,2,8,21,23;81:2; 1|7:6
Hi (l) 14224;1524,17;66213; 17:23 8223,19,23;84:3;8522; lnternet (l)
172220 75:5;|25:23;128:3; impact (1) 87:10,16,24;88211; 86211
high (1) 137:8;141:|1;164215 105:6 91:8;99:19;111210,15; internship (1)
149218 hours (4) impacted(l) 11421;115:21;125:6; 129:8
high-end (1) 52222210028,9;14325 10626 132:4;133:20;135:3,4; into (17)
152215 llouse (3) important (1) 14125;155:2;160:15, 33:|;45:2;65:11;
highlight (l} 23:18224221;95:11 10024 21;|62:12;165:24', 69:22;77:3;82218;
11928 11R(3} impressed (1) 166:11;1732|0;174:1; 83:|0;91:22;112:1;
highlighted (1) 129:17,19;144:15 120222 175:8,16;176:1,13,16, 11822;12027;13327;
63:21 1~1RS(1) incentive (1) 22;177:3,22,23;178:4, |35212;142:11;|67:8;
Hiram (2|) 154:19 |09217 21,23;17926,7,19; |71221;180:15
28220;2924;30:14; HSP (4) include (3) 181219,19;182:16,23; intro (l)
31:17;4|213,16;44:|4; 134:20,24;135:5,6 74:4;75:|;85211 |84:8 |21:15
45:8,9,13;57:18;5822; human (4) included (l) Infrequently (1) introductions (l)
61:13,|4,16,21,24; 129220;150210; 18:5 94:21 112:3
88:3;94:16;181220; 170:|2;181221 including (2) initial (3) introductory (l)
182:24 Humorous (1) 86:9;99:9 34:9;145:10,17 17217
history (l) 152:12 incur (2) initially (l} lnvitation (3)
165:1 hundred (3) 86:16;87:13 30:14 114:3;11626,23
hit (l) 79218;139:11,19 Indeed (1) initiated (1) invitations (4)
105:10 hyperlink (1) 147:11 35:1 128:9,11;130:6;
hold (10) 1 12:22 indemnification (1) injunction (4) 177:20
9:9;52:23;68:13,19, 9:24 10:2;38:22;164:5; invite (2)
24;122:2;137:14; l indemnify (2) 171:1 114:16;116:16
142:14;167212;183:|0 9:3,10 input (l) invitees (2)
Holdings (3) lD (6) indication (l) 78:8 1 15215;1 1727
i\lin-l`-Seript `R§ DALCO Reporting, lnc. (198) headquartered - invitees

800.325.8779

Case 1218-cv-01805-.]GK Document33-1 Filed 03/13/18

MERCER HEALTH & BENEFITS, LLC v.
MATTHEW DlGREGORIO, et al.

Page 59 of 70

MA'ITH EW DIGREGORIO

March 09, 2018

 

 

 

 

 

 

 

 

 

 

 

 

invites (l) Joanne's (l) knowledge (17) learning (l) 24;77:6,1 1,15,18;79:4,
13021 182:17 1328,9;16:6;1828; 35:7 12;8124,7,8,17;83:10,
involved (l) job (10) 47:5;51:9;74:7;79:5; least (l} 19;8424,11,16;85:7;
11:1 11213,14;23:1;25:112 10226;13529;137:2; 80:19 8921;91:|,5;110218,22;
il’ad(2) 27222;28:8;111:11,16; 15925;162218;164:11; leave (6) 112:6,13;113:|8;
14:21;83:24 168:21,22 16525,12;178:6 56:23;58221;147215; 115:15,16,18,20,21,242
iPhone (6) .lohn (l) knowledgeable (1) 173222;|82:2,3 12221 1,16,17;12324,6;
14222;82224;83:18; 121 :14 62:23 leaving (9) 128:22‘,129:1;1302 12;
156:20;178:11;184:5 join (ll) known (l) 13:18;26219;87:6; 133:3;138:4;140:2;
iPhones (l) 35221;36:1,15;54223; 2924 150218;162220;|63220; 176:19,20;178:10,24;
160:|8 5527;56217,19,24;57:6, 167:21;168:1;181:24 180214',184:13,16,19,
irrelevant (3} 12;60:9 L lea (9) 20,-1 ss:s,i s
105:|3;|25210; joined (17) '__ 15:12;57:|7;58:15; listed (1)
127:20 89:3,7;90:9;91220; Lage (2) 6922;8027;1 19224; |38:17
lRS(l) 92216;135213;14521; 134:4,4 13824;145:|9;|55:4 listen (1)
79217 150221;151:23;154222; landliae (l) left-hand (1) 165222
issues (2) 16925,9,15,18;175:4; 16727 12224 Listing (l)
98:20,22 177:l 1,21 laptop (6) legal (3) 98:17
item (1) joining (28) 14:3,21;156:20; 8:23;20:3;49224 lists (2)
180:22 29:17;30:6,10;3224, 160:9,20;184:5 lengthwise (1) 1823;110:23
items (5) 15;33:1;34:22;41:6; laptops (1) 121:19 litigation (6)
13:5;43:10;123:9; 47:9;51:19;54:3,10; 160:|8 Less (2) ?:11;3?:19268:12219;
136:3;180:9 55:6,11;5629;58:6; large (1) 94222,24 183210,24
_` " " ' ' _ 60224;61:8;77:12; 85224 letter (12) little (4)
J 88:12;90:21;91:6,|4; larger (1) 6629;67218,20,22,24; 54:81l 100:3',139'.52
9222;116220;129:14; 102213 68213,24;7|:1|;72:12; 18022
Jada (9} 145221;151:2 largest (2) 15826,16,|7 LLC (4)
6211;60:11;62:3; Jl’ (l) 153:14,22 level (2) 18:19;49;20;72214;
69:12;|40:10;180:23; 85224 last (23) 129219,20 134217
182:13,18,21 judge (1) 25220;44216;48: l', liberty (2) loaded (l)
Jada's (2) 45;24 80:12,14;96224;97:2; 169:14,16 82:2
181219;182223 ”' _ 113:9;116:14;13029; life (2) locate (l)
January (43) K 138:6;139223;144219; 164222;165:| 95:17
9220;1 1:6;3624,20; 149:5;155:18;165:3, Ligelle@ao|eom (2) location (1)
37:11;41:12;43:7; Kansas (4) 11,14;166:4,8;169:24; 161:3,5 118:19
58213,|4,|5,19;59:12; 48:19,22;49:8;50:3 170:14;17227 light (l) locations (2)
60:4,6,20;66:10',68:9; Karea (6) l..ate (4) 45:10 77:8;79: 13
72211;73:2,4,14; 103:5,|2,20;106:17; 9220;36220;37211; liked (l) Loek (1)
121213;135:18;136210, 107:7;10823 144:22 130:14 57:6
15;138:17;149:5,11; keep (10) later (4) likely (l) Lockton (146)
15329;15425;|5523,12; 3022|;87:17;96:6; 46:21;48:9;120:4; 10721 9:3,7;|0:5;28:11,|2;
167220,24;168:3,6,17, 97212;128:7,8;|37224; 186:9 limited (l) 29:17;30:6,10,10;3125;
23;169224;170:5,22; 164:24;166:112172:5 law (3) 108213 32:4,15;3321;34:22;
171:13,15 keeps (l) 176:23;185215,17 line (5) 35:7,21;36:2,|6,22;
Jennifer (l) 14:24 lawsuit (2) 1|8220;121:18,18; 37:13,14;39:12,12;
153211 Ken (l) 10:7;162:23 133:5,16 41:5,6,11;42217,19;
Je\velers (2) 142:3 lawyers (l) lines (6) 43:3,13,24;44:21;46:9,
98:5;158:20 kept {3) 68:12 30:24;74:5275:2; 24;47210,15;48:11,14,
jewelry (2} 95210;962|5;163215 lay (l) 8023,8;13323 16;49:8,20,23;50:6,8,
9827;158221 Keys (l) 142:2 link (5) 13;51212,20;52:1;
Jim (l) 21213 lead (3) 12626;132:1 1,14,15; 53:23;54:3,10,15,17,
136:16 kind (6) 110223;111:21;142:8 140:16 23;55:6,7,11;56:9,11,
J.l (2) 62:22;83213;9129; leadership (2) l..inkedln (5) 17,19,20,24;57212;
23217;24212 120:11;15124;160:23 142:3,4 78:3,5,7;91:8,21 5826,12;60:1,9,16,24;
Joanne (14) knew (4) leading (3) links (7) 61 :8;6226,9;67:5,7;
6211;53:19;55:11; 29:5;75217;77:3; 173218;174:13; 125218,24;126:4; 71221;72214,18,22;
60219;6223;69:12; 139:23 175222 12724;13224,5,8 73:3;77:9,12;81:15,17;
140210;180223;181:8, knowing (2) learned (l) list (58) 82:1,4,10,18,24;83:19;
13;182:10,18,21,22 67:11;124220 15521 73:24;74:1,3,15,22, 87:23,24;8828,12;8924,
.‘il iri-l -Eici'ipi i~' DALCO Reporting, Ine. (199) Invites - Lockton

800.325.8779

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 60 of 70

MERCER HEALTH & BENEFITS, LLC v.
MATTHEW DIGREGORIO, et al.

MATTH EW DIGREGOR|O

March 09, 2018

 

 

 

7;90221;9126,14,20; loud (l)
92:2;93:4,7,2429428; 17:19
l 15220,22;1 16:2; lower (3)
1352|4;|36218,23,242 102:22,23;133:8
137:2;145:1,21; lsupportlists (l)
150:21,24;151:4,6,10, 132:7
21;153:2;154:22; LTI (l)
15521;156:20;162213; 109:13
169:5,10,15,|9;173:9; luck (l)
174:8;17521,4;176:6, 34:15
152177:4,6,1 1,21; lunch (2)
17821,4,232180223; 153:172171:8
181:17;182217 lunches (2)
168221;170:16
' Lyie (a)
62 10;66222,23294: 172
'Lockton (1) 99:5;172:20
72214 Lynn (5)
66:5,|0;68:3;72:12;
L 1261 i s
Lockton's (9) M

50:11;.~'.~1:4;52:8,17;
67:3;93:17;942162
15.'~1:18215725

lodge (l)
71:22

logged (5)
81222;82:8,9;83:21,
23

long (2)
49224;50:2

longer (2)
42:132156210

Long-term (1)
109217

look (24)
1223,18;19:15;20:7,
14;47:18,24264:7265232
79:20;8021821 12:2;
119:5;120:112121216;
122:3;1322152141:14;
146221;1482|1;150211,
16;161:21;177:14

looked (6)
47:23;80212,15;
|02:3;140:24;181:12

looking (8)
80:20;129212;
138:24;141:72146:23;
152216;16226;179:15

looks (7)
122:1;132:6,15;
13322;136:2;14222;
17325

losses (1)
924

lot (3)
12221;17326;185:|1

 

 

maintain (4)
11:19;164:19,24;
166211

makes (1)

121220

making (1)
163218

Management (6)
22:17,18;112:232
123216;126:16;137:18

manager (3)
103282118:|8,19

Manual (l)

21211

many (24)
23218;35:14;39:23;
40:17241:19;43:|1;
44:5,7;49:9,12;6526;
7823;8926,10;952212
115:|32151:12,|2;
153221,21;169:9,11,18;
185:1

March (l)

622

mark (6)
46:20,20;98: 132
110212;147222;148:3

marked (50)
11224;1222218213,15;
1921 1,13;63:10,122
6621,3;72:2,5;97:232
9821,17;110:15;112:62
114:3;116:6,23;11729,
112122:11,132123224;
125:19;127223;128:2;
131:15,182132:19;

133223;137:5;143:14;
144:5;146:52147:9,14,
23,24;148: | ,5,8; l 5022;
152:2,52153:4,242
154:3;174221
marketing (l)
127221
marking (l)
109221
Marrero (13)
28220,21;31:17;
32222;33:20;3422;35: l ,
2023724;39210;442142
45:8;88:3
Marsh (25)
12:24,24;22: l 9,23;
23:1;63:9,13;108212,
16,22;112:5,13;
113:18;123:3,7;
124210,19;125:11,13;
129:5,14;130:17,202
166:5,22
Marsh-Mercer (1)
108:6
Marty (2)
621 1;1 1921 1
Mary (1)
145:4
material (4)
1727295:4;127:222
166:22
Materials (19)
1323,6,12,14214:13,
15,17;1529,11,16,18;
1627,24;1725,7,22;
18210;68:13;97220
Matt (5)
6210;1428;10629;
172220;18226
M-A-'I`-T (l)
1428
MaltdS-lS-l@liutinailcom (l)
161 :7
matter (2)
62222181:6
MAT'I`HEW (2}
6:1,4
may (33)
9214;1121;36:8;
51213,15,21;54224,242
732|7;83:7,8;95:17;
106216;10822,3;11222;
130:13;13329;141221;
15229,10;15921,10,10,
11,11;16023,142161:9;
177:11,19;180:|7;
186:8
Maybe (6)
302|3;40:23;58:18;

 

 

94216;121:17;181:3

McLellan (5)
123:3;124210,19;
125:1 1,14

McLennan (3)
1321;63:9,13

meals (l)
171212

mean (22)
19:3226213230:112
50:725923,5;62214,|4;
69:13,15282:12285212;
100:8;|01:7;114220;
119223;12|:|5;|2222;
14022421422|0;144221;
169217

meaning (l 1)
78:17;101:8;10229;
10525;107222;108214;
109:8;129:2;13821;
140:62162:5

means (3)
25:24226:8;|4221

meant (1)
14221 l

medical (l)
133:3

medications (2)
7223;822

meet (8)
8:4,7;49212262219;
90:7;129:102171:16;
174220

meeting (12)
8:19;30220,22;40:6;
4226;121:12;126216,
23;133221,21;|37210,
15

meetings (6)
30:18;40:9;50:2;
17221,2,6

member (2)
11525;171220

members (l)
10219

memory (1)
7:24

Mention (1)
158213

mentioned (8)
42:17;44:2,15,17;
83:9;94:20;1 19222;
130:13

mentioning (1)
33:16

Mercer (205)
6215,2229211211:5,
15212:21;13:6,7,13,18;
14:15;15:9,10,23;17:5,

 

7,7;18210,10,19,22;
19:18,24;22:12,202
23:4,9;2423;25212;
26:13,15,16,20;27:22;
36:7,19;37: | 7;38292
41212242219;5029;51:2,
4,21;52:6,10;54213,22;
55:3,8256:2,4,21,24;
62:11,16,2|,24;65:7,
18;6921;7022427| :3,|2;
722 | 3,19;73224;7424,
20;7521277218,21;8422,
15,18;85:3,3;86:15,19;
87214,20,23;88222;
90:6,9,10,12,14,16;
922|4,16,18;93218;
95:3,18;96:17;97:5,72
9822129921,4,7,9,19,20;
100:19,22;10128;
10227,12,21;103:9;
1042142105252108210,
12,17,23;111:1,18,20;
115:9;116:17,20;
118218,21;123:6;
124:11,20;125:2,4,7,
10;127218;128215,19,
23;|2925,|4,24;130:|7,
22,232131:1,20;132:2;
13528;136:3,5,222
13821,2,10;14026,|3l
16;14223,42153:152
154:|6;155214;156210l
17;162220;163:16,20;
16625,9,9,12,22;
167217,21,22216821,1,
4;|70:8,24;171:5,7,8,
10,11;172:1;17322,11,
172174:3,23;175:3,15,
16,192176:3,14,18,222
177:2;178:1,11,15,22;
180:122182:3

MercerLink (1)
140219

Mercer-related (5)
17527,20;176:92
179:6,|9

Mercer's (7)
782232105:3210721;
13524,12;14422216024

Mercer-sponsored (l)
8528

message (1)
92221

messages (7)
92:23,24;93:3,12,14,
16;9424

messed (1)
177218

met (25}

 

Min-U-Script®

DALCO Reporting, lnc.
800.325.8779

(200) 'Lockton » met

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 61 of 70

MERCER HEALTH & BENEFITS, LLC v.
MATTHEW DIGREGOR|O, et al.

MATTH EW DIGREGORIO

March 09, 2018

 

40:2,4;48219;49:7,9,
10;8528;9026,8;129:13;
142:52169:8,9,15,18,
232170:4,21;171:7,17,
18,18,21,24;174211

method (4)
7621;9326,2329422

Metvani (1)
92:8

Metzheiser (l)
43:14

Michael (5)
6:16,21;39:2;63:18;
l 1927

middle (3)
132:6;146221;148220

might (11)
1022216:1423|2102
106:6;127:122159282
161:19,20;163:32
172:11;179:9

Mike (5)
17:122143:4;163:112

 

16223

MiX{l)
27217

MMA (3)
122210,15,16

MMA-FI.. (1)
123223

Mm-hmm (5)
8724;97:6;|4029;
16924;175:5

mobile (l)
167:7

model (l)
83215

modify (l)
171:2

money (4)
87:7;10128;|402|3,
13

month (11)
9:19216:11;302132
33:6,7;49:2,3;55217,
23;138220;18128

music (1)
165:22

must (3)
126:11;166216;
169:20

Mutual (3)
9825;158:20;|82:11

mutually (3)
69:16;109:7,7

myself(lZ)
4125;6824;69:122
70210;73224;74:14,21;
111:6;11429,13;
131:12;137:12

 

N

 

 

name(16)
6:7,21;2721;44:162
47224;48:1,5;62:2;
118:20;12225,6;
158:212169:13,142
170215;|80211

 

86210;114:|0;
171:222177:20
new (12)
25212;2727;62:17;
90224;102217;105:23;
118218;14223;176:23;
18|:22;185:15,17
Ne\vs (2)
112:23212121
Next (6)
6:|0224:1623029;
11826,92130:|
nice (1}
153:1
nine (3)
2924;114210,16
Ninety (l)
l 1210
nod (l)
725
non (l)
7024
none (3)

142218,21;143217;
144:92146:8,18;
148:15,20;14921,22;
150:15;|56:9;167216,
20;173:6,72174:21

November/December (l)
73212

number (36)
1823;19:20;49210;
8025,6;83215;84:9;
95222,24;96:2,4,6,7;
105:|2;10621;118:23;
119:2,20;120:8;
122219;139213,15;
149:42155216,212
1'57:20;158213;15923;
165:24; 1 6729, 142
168213;177:17;185:9,
12,13

numbered (1)
|')')-')1

numbers (13)
45217,21;47:2,17;

 

 

172:10;186212 monthly (l) names {19) 96223297:1;119:5 6222274:2,23;101:22;
Miller's (2) 138219 2427225221;26:18; Non-Solicitation (6) 115:14;120:1;138220,
23217;24:21 months (17) 44:12;48:10,20;65:8; 18212,20;5028;5123, 24;167:6
million (3) 16:13,16,17;39:24; 7422,23;78:20;85:7; 13,20 numerous (1)
105:6,8;139220 55:5,19,21;118:92 8626;110223;112:15, Nope (1) 117218
mind (4) 138:17216523,11,15; 16,20;118:|7;|38:6; 109:|1
23:19,24299211; 166:5,8;|69:242 161 : 12 nor (2) 0
163:10 170:14;172:7 narrative (2) 38:6,7
mindset (l) more (21} 104222,23 normal (1) oath (2)
173:16 27223;34:6;3527,16, narrow (l) 181:21 6:24;37218
mine (6) 182942429621,3,52 50:7 normally (l) Object (48)
48:6;90:17;120:15; 98222;100:4;10825; National (l) 108:24 9:12;10:8214:23;
136:162143:23;147:6 129:19;13925,62|46:2; |31:3 norms(l) 15:19;|6:|,4,8225:16;
Minoj (5) 180221;185:1,7,8,11 Natioawide (l) 133:8 2621,6;32:5,8,|6;
6211239:16;41:10; Morgan (l) 12929 North (l) 33210;36:32422102
44:|4;94:16 85:24 nature (2) 142:5 50:14;55:9',57!1;53!7;
minor (l) morning (5) 42:18;46217 notated (l) 59:10,13,19;61217;
22: | 8 6219,20;66:11210427; necessarily (3) 42:12 64:16;67:6;69220;
minus (1) |56:18 115217;169:22;181:4 notations (l) 74:11;75:20;76:23;
101 221 most (6) necessary (l) 41224 78216;81:10;82:20;
minute (l) 101212|0721;119242 38:21 notes (2) 84:21;91:16;93:8,|3,
107211 160:3;|66:10;173:5 need (9) 7424275:1 19;111212;141:16;
minutes (3) Motioa (1) 7216,18;24220,21; Nothiag's (1) 15427;156212;16|223;
2721;52224,24 12724 79:15;87210296213; 9828 |662152168:18,24;
misinformed (l) mouth (l) 111:102121:17 notice (8) |8624,10
104:ll 49:11 needed (1) 63218;65224;66:5,|7; objected (1)
misleading (l) move (9) 130:15 70:20271282154:21; 154:10
180:16 5329;62:20;70:18; negative (l) 183:10 objection (9)
missed (l) 149217,|9,212150:12; 107218 noting (2) 45211;53:4;71:23;
162:22 154:14215521 negotiating (l) 30220242:5 173218;175:22;178:17;
mistake (l) much (5) 41210 November (34) 17922,10,13
147220 84:19;87:8,13;100272 neighborhood (1) 4926;57221;61212 obligated (1)
mistaken (4) 13926 100221 67:10;| 172142131220; 37215
6325;144:1;150:17; multiple (6) Neil (3) 132:16,22;133:19; obligation (3)
167:13 29:7235:12;7728; 43:14,15,16 134:32|3627;137:9,15; 46:24;70:19;7129
misunderstood (l) 118:2;156223;157:1 networking (4) 138:12;13928,12,16; obligations (4)
\liii-U-Script® DALCO Reporting, lnc. (201) method - obligations

800.325.8779

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 62 of 70

MERCER HEALTH & BENEF|TS, LLC v.
MATI`HEW DlGREGORIO, et al.

 

50:9;5123,14;5224

observation (l)
|35:4

Observations (2)
134:2121352|

observed (l)
8122

obtain (1)
80:21

obtained (2)
22:162124211

obviously (4)
6216,232121219;
18221

Occasionally (l)
29:15

October (38)
31:6;33:19;34:8,16,
1923521 1249:5;6729,9,
1029823,21;102220;
103:|0,23210425,7;
105:|6,|92110:162
112:92113:18;11426;
1212|3;|22:14;12329,
10,|9,21212423;
125:222|27:2;|28:42
131:72156:9;173:6,72
174:21

October/November (2)
67:2,14

orr (20)
23215;25222;36:82
3926;44:1724821;
100:14,152101292
102:15;10524;1132132
130223;160:142168:142
169:12,17;171:22;
172:16;176223

offer (17)
35221,23;36:15,19,
21;37:2,13;45:12;
49214;55:7,10;582|2;
5926,7, l 6,23;62224

offered (1)
|82:22

offering (l)
143223

office (8)
15:13;95:12;110:242
1 18219;121214;151:10,
18;16622|

officer (2)
39:18;143:22

offices (1)
8213

offsite (2)
126:16,23

often (2)
94:13,19

 

old (2)
160:9,9
once (7)
40:3,5;43:12;80219;
105:8;|19:7;182:2
one (75)
6221;7212217:152
20217,18;24216237215;
40:5,6;4223;44210;
45:2,3;51:9,9,17,212
522|2,20256212;7|21;
75:1427627;77:9,10;
7821279:19292:6;94:162
103219;104:9,9;107:5;
109:8,8,921 1 1222;
113:821142921152102
116210;121:11,|92
|2724213029,13;
131224;133:16;13529,
11;138220;146:2;
14725,10,12,13,14,16,
16,24;|50:3,6;|53:1,
222156:23;|58:1,3;
16|27,13;162:5,5;
167:1221712202175:192
18021 1
one-on-one (1)
10428
ones (13)
23223;34210;79272
84210;128:162157:132
159:7,8,8,22; 161 :10;
163:3;186:3
online (8)
19220,22;2125264:|4,
1726526,929825
only (25)
2521237:2423821,15;
4025251:19;52:11;
68224;76:14,17,17;
81212;|072172108217,
1821 |8:7,9;|38:2;
147:3;159:7;1612212
162:4,8,20;17822|
open (3)
150:132181214,14
opened (5)
140:242141:2,4;
|62217,18
open-ended (1)
180:3
operating (1)
39:18
opinion (3)
1052222106:9,11
opportunities (10)
11215222:20254:142
56211;57:3;60:9,16;
622172103220;181:15

1 opportunity (18}
27:12;54:|7,232
56217,1825726,12,14;
59224;60:21261:122
118220;11921;18128,
10,11,122182211

Optimize (l)

134218

order (l)
38:21

organization (2)

1 152421 1724

organizations (l)

1 1621 1

original (2)
732162182215

originally (5)
6422;92214,152111272
144221

others (5)
23218,19278:4;
1|4213;134:4

otherwise (7)
17:5;26215247:2,17;
71213;118223;|83211

Out (46)
17219;23:122521|2
28:22,22;2929;32:23,
24251217252221278:|8,
19;80:7;8729;9928,12,
14;109:12114:9;|17:7;
121 :20;12829,102
130:15;1352132136:9,
14,17;14223;144224;
|4523,8,14,21;14621,22
1472122150:20215129,
17;153:16,212155:7,9;
168:9;180219

outings (1)

|68221

Outlook (17)
30218,23231210;
42:11;73:24;74:1,14,

 

21 ,21277:10;8227,10;
83:23;84:17; | 29232
17223,5

outside (1)
9926

over (23]
19223;25220229:3,7;
39:24;40:|,15250:4;
5523;65:6;79218286:82
87211;91:23295:182
108223;10922;11825;
126219;131:5;150:11,
16216624

overview (1)
31:23

owe (l)

MATTHEW DlGREGORlO
March 09, 2018
87:8 79:18;80:6
owed (l) participate (2)
87:7 80:6;|26:19
own (7) participated (1)
5924;69217;|38:24; 180212
158272167:72182232 particular (4)

18323
owners (l)

13:19226:16236:23;
12227

 

 

171220 parties (1)
Oxis (1) 85:9
171220 party (2)
721 121 15222
P passing (1}
1 121
Pacific (3) past {1)
135:20;136:3,9 109:13
package (6) Paul (3)
71 :20299:2;103215, 42:22,23;43:21
23,242109219 pay (3)
page (23) 108:18;114:172
12:1021728263:182 1162|6
66216;1|0:22;118:3; l'DF(l)
120:9,102134:22,23; 110:20
135:222137:212140:17, PE (2)
18,18214127,9,10,|8; 1282122129:16
142:2,|4;146:212 pending (l)
148:20 53:5
pages (20) people (23)

12:8;19:14,|5;63216;
114:6;1|7:|8,222
118212,152119:17;
120:4,7;122:20;123:1;
135220;14227,9;147232
185:5,7

paid (8)
8223210526,8,|1,122
|08:23,24;127215

Paige (l)
44:16

Paige's (l)
44216

painted (1)
18122

Palm (l)
17|:18

paper (7)
30224;3121024226,132
95:6,10;172:4

paragraph (19)
12:18213:3,4;17:8,
16,17;18272712102
72:11273:22274:18;
85211,14;86:6,17;
87222288:10,16;89:1

mrt (8)
12:16;49:17;7|:20;
78218;11523;1402|4;
1812|32|82:13

participants (2)

 

44:7;49:9;622242
78:2428926,10;9123,22,
22;92:1;93:22107:19;
112:|7,19;115:13;
129:10,13,19;1302132
13828;169:9,182171:21

people's (1)
76:12

per (4)
612|4;133:5;|49:172
181219

percent (l l)
108213,14,15,19,23;
10921,42125:2;|3921|,
21,22

percentage (l 1)
8427;10129,15;
|02213,14;105:8;
108224;109:3,42
137:22;|38216

percentages (l)
|3329

perception (l)
5322

performed (2)
71:1 1295:3

Perhaps (1)
10219

period (29)
30213;33:6,15234:4,
5,5,8,19;3529,11,212

 

 

='111|1-1-.‘*11'r'i;ll'_f'

DALCO Reporting, lnc.

800.325.8779

(202) observation - period

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 63 of 70

 

MERCER HEALTH & BENEFITS, LLC v. MA'ITHEW DIGREGORIO
MATI`HE'.W DlGREGORlO, et al. March 09, 2018
39:1 1,13;4021,3,7,1 1, 21 :2325022;5521; 126219 preserve (7) process (3}
12,16;41217243223; 6124;75:14281:12 possess (2) 16324,9,24;164: 102 75215;18|:21;183:2
4525;55:3,5;60:19; places (1) 1622|3,13 183:6,11,24 processes (l)
6122;67:15;73210; 12929 possession (20) President (5) 39222
102210 plaintiff(2) 13212,16,24215:122 72215292212;143:22; ProcessMAP (l)
periods (1) 7212;50:12 71213;97:18;124:11, 146213;150:10 143:22
34:9 Plaintift‘s (62) 132132:32155:23; press (1) produce (2)
person (10) 11222,23;12:2,5; 157:5,6;|62:20;16321, 1527 104:152140:7
28:1924026;44:102 18212,|5;19210,132 3,19;165218;166:132 Preston (9) produced (2)
48:21275211;126218; 20:4,1126329,|2;65:242 176:2,|7 6211260211,24262:5, 92:14;140:|0
128:1 12130:152169:142 6623271224;7222,52 possibilities (1) 1 126826269:5;99:22; production (2)
170:4 73222;97:23;9821,16; 60223 110:6 137:242138220
personal (40) l |0:15;11224,5,82 possibility (3) presume (1) Products (2)
1426,16215:13,172 113:16;11422,5211625, 302624126251:8 34221 134220,24
20:23;21216;22:3;3824, 8,22;| 1728;122:10,|4; possible (2) presumption (l) professional (8)
5;7625;81:3;822828627, 123:232124222125218, 32242174:8 |13224 1525262215285:12,13,
122952162109:1; 21;127:232128:22 potential (9) Prevention (l) 16286:8,|0;111224
115:21,23;129:|0; 131:15,182132:18,212 53223;60:15;61:24; 21:24 program (3)
|36216;156:19;157:112 133:22;134222137:4,72 |14:18,24;117:72 previously (l) 127214;134219;136:4
|59:1;|73:2,17;17421, 143213,16;14424,72 118:212129221,23 179:8 programs (2}
3,23217527,212176:9, 14624,7;14825,92152:2, Potential|y (15) prices (l) 19:17;62:24
13,20;177:1,24217825, 5;153:4,8,24215423 16:19,2|;262142 152:16 prohibits (1)
2421792202183:142 plan (5) 30:10;11221,2;1182102 pricing (5) 47:15
184:5 79:19;105242107:23; 129:222130: l 8,20; 24:2;7426;75:2; promotions (l)
perspective (4) 109213,17 133215;144:17;158220; 88217,21 103:21
65:22;85:2 | 286:4; pleasantries (1) 16022;178224 principal (l) proper (l)
138219 311:3 preceding (2) 10725 5323
pertain (1) please (22) 56215,16 Prineiple (l) property (4)
180:23 721,7;122621721|; precluded (2) 2325 13:7;88:22;15|2|1;
Pete (1) 19215;24:7;2622;282142 45:19247:1 print (4) 178215
131:3 57:9;74:18;83:4,6; prefer (1) 1 19224212021,2; proposal (2)
ph (1) 85215296:242113:22 99:3 160214 145:52150223
9228 131222;156:132157:16; preferences (4) Prior (50) proprietary (7)
phone (16) 158213;166224216721, 74:5;7522;88:17,21 13:18218:9;22:11; 127:17;144:|3,|52

4827;74:2,16,232
76:7;81:22,24;82:4,9,
18;83:22291:232
126219;161:17;167:8;
168213

phones (l}
82221

physical (1)
32:3

physically (1)
1572|4

picture (1)
181:2

Pil\ (l)
3328

pink (l)
l 1929

pipeline (5)
|032212117:9,17;
| 18:|,24

pitched (2)
136:20,24

Pitches (1)
168:21

Place (6)

 

18

am (4)
123210,202172217;
186:18

point (21)
32224234:21235:20;
3621;38:1;39:2;49212
52:9;55:14256210;57:2;
82:3,16;107:|9;
130:13;17328,24;
176:5;180:24;181:6,23

points (l)
54215

Policies (l)
63215

Policy (7)
19210;2024,7,14,162
21:11,17

portion (5)
24210,17228:15;
16327216722

position (5)
72:13,18273223;
74220;90224

positive (l)

 

preferred (2)
93:2329422

preliminary (2)
382222171:1

premium (l)
8021

premiums (l)
133:7

prepare (l)
824

prepared (l)
37221

prerogative (l)
99:17

presence (l)
9927

present (4)
82152167216,24;
168:6

presentation (l)
124:23

presented (10)
5723,6,11,14;106:8,
82134:7;164:13;|8129;
18221 l

 

23:13225: 142262192
2929,10236:15,18;
41211242:19244:132
48211251:2,19252210;
5423,10,18,20,2225527,
11,15;59:9,|7;60:3;
6226,9;6829;70:20;
73223274220280214,17;
8726,6290:6;93:4,7,17,
2429429;116220;151:2,
321622202163:19217523

private (2)
128212,14

privilege (2)
68:21271219

Privy (l)
135212

probably (9)
2725;35:1924525;
5524280:16;91292
1392242140212161216

problem (l)
100:6

proceeding (2)
1 122;37223

 

176:3,|7,22;185:18

propriety (l)
15126

prospect (7)
84223;8621;|11:22;
11226,13;1|3218;
121 :|2

prospective (10)
252 l 5,19,24;26:5,8,
|2,18262:18;85:22;
1342 12

prospects (9)
52:5;84215,19,20;
8523,4,18,20;180218

Protecting (3)
20223;2222,8

protections (2)
3824;7221

provide (5)
37223238:12;106:|5;
107212;182:23

provided (6)
6121426821;135:5;
17823;181:|8;182:16

provider (l)

 

1\'1in-U-Script`!€

DALCO Reporting, lnc.
800.325.8779

(203) periods - provider

CaS€ lilS-CV-OlSOB-.]GK

MERCER HEALTH & BENEFITS, LLC v.
MATI`HEW DlGREGORlO, et al.

Document 33-1 Filed 03/13/18 Page 64 of 70

 

|67:1 l

providers (1)
28:5

provides (1)
185217

providing (3)
22:20;61:22271:24

provision (3)
9224;|026;70222

Prygelski (l)
13 l 23

public (4)
78:1,3,1227928

publicly (6)
28:227421,22;77215,
23;80:21

pull (1)
81:23

purchase (2)
79212280:4

purchased (1)
80:9

purpose (4)
76:11,19;80:20;
146215

purposeful (1)
180:19

purposes (4)
76218;165:8,16;
173:20

pursue (2)
52216;6923

pursuit (3)
118:23;1342152
140:14

push (l)
34215

1114 (8)
45:2249211;612132
105:23;|46:132149:242
180215;181216

putting (2)
75:14;109213

Q

quick (3)
1432202150212;
153:10

quickly (2)
13026;142:4

R

rack (1)
54:8

raising (1)
9626

range (1)

 

16:20

Rarely (1)
29215

Raysa (l)
145:4

re (2)
6725;13 l 220

reach (7)
28222,22;136:142
145:3,14,21214621

reached (6)
135:13;136:92
144:24;145:8; |46:2;
150:20

reaching (4)
2929232:23,24;
153:|6

read (32)
17:10,16;19:3;242|0,
17;28:14,15;742182
85214;118213;11923,4,
62120:|,|8;121210,152
12221;13129,222
132:10;133222142222
143220;|48212;149216;
153:10;16326,7216721,
22186:14

readily (l)
124:16

reading (4}
1228220282642122
131:8

ready (3)
149:17,19,21

real (3)
140:132143220;
153:10

realistic (l)
180:21

realize (1)
163:17

really (2)
95:102180215

reason (5)
7221212:15;17:24;
126211;147:21

reasons (2)
142219;182:3

recall (91)
9:18,23;12:8,12;
13220,22,23;14:1,182
16:9,12219:2222021,8,
22221:12,15;22:42
26221228210229212;
302323121,22;33:5,202
35:5,14240219,2324122,
9,2024325;47:14,14;
51210,|5;54:9,16,2|2
58223;64:12;65252692|;

 

71 :2;88:9;90:8294:12,
14295:22,24;96:72
10324,16,18,22;104:1,
32106:7,14,22;107:3,6,
72109212,18;111:6;
113:242132:17;134:10;
135:|7;|41218,22,242
142:19;143:1;148:18;
159:|9,24;166282
1692132170:2;171:22,
24217426,11,172
175:15;177:8;181:7

receive (4)
10:6211:11268:142
101 :15

received (20)
1925;49:14258:122
59:7,16;71:1273:7,142
8926290223291:3;9221;
1332102168:|02173282
17421;179:5,|82 | 8326,
10

receives (1)
92:6

receiving (l)
7122

recently (1)
162221

Recertilication (l)
2226

recess (3)
1 1322,3,10

recognize (4)
12:7;18:16;1|6292
131 :1

recollection (20)
16223;20:15,202
31211235:6240:24;42:12
482|5;49:4;63:7;65:1;
7325;96:16;1002202
1052 152126224;|27:8;
13921214|22;173:19

recommended (2)
57224210724

record (30)
628210220;17219;
21:19224:10,17,21;
28:15231:9;3926,7,9;
65:16267:11;742182
75:122100214,15,162
113213,14;152224;
163272167222169:20,
232172216,17;174:19;
18028

recording (1)

17222

records (4)

65212,18,21271:5

recruiter (l)

 

MATTHEW DlGREGORlO
March 09, 2018
181210 170:24;176214;
REDIRECT (1) 178222
18228 relationship (6)
reduced (l) 622132118218,19;
109219 121:112137:18;14926
reentered (1) relationships (1)
1 1027 l 1 1223
Reference (2) relative (8)
159232163:21 47216251:20;52212;
referenced (2) 104:14210621210722,
44219216121 232114:1
references (1) relevant (4)
80:8 37:23;4627,8;119:18
referral (1) rely (l)
108:6 8623
referred (4) remark (l)
34210;60252672212 133:6
108:16 remarkable (1)
referring (7) 9828

50217;55222104:13;
106:20;10829;137210;
177:13
refers (2)
140:62142:1
reflect (1)
65218
reflects (1)
180:8
refresh (6)
16223220215;31:11;
41224;105:152139:1
ref reshes (2)
202 | 9;6327
refusing (1)
46:23
regard (3)
86:23;1722232173214
regardless (1)
1027
region (l)
103:9
Regional (l)
14225
register (2)
30:22265 29
regular (3)
2726;86:22,24
reimburse (2)
86:192116:17
reimbursed (2)
8725,14
relate (4)
104218;1702242
17721,24
related (8)
20:20229217;65222
86216;87222882202
1372192171:5
relates (3)

remember {72)
20:3,10,1222121,3,5,
8,|6,21,2322222,5,8;
24:2;25:8,15,21226218;
27:9,10,13,15;28219;
29211;34:12,12,17;
36224237212241221;
42:5243:22244216,182
4821,3,20,23,24;49:2,3,
925425,7;61:5;64214,
|7,24;65: | ,8;66:24;
105:19,20;10623,6;
107210,14,20;108:6;
1132182123:112126214;
|27:1,3;131:12;
144:23;164242168214;
17024,6;174:9;181:7

reminder (1)

98:|2

reminds (l)
98:9

renewal (4)
79:23288:18,21;
146:9

repeat (10)
2427;28213;68:152
76:16;96:24;97:32
156213;163252166:242
167:|8

rephrase (5)
7:1;81:6;156:7;
167219;179216

Report (7)
11729,17;11821,82
137:23;14025,5

reporter (6)
7:8;24211,18;28216;
16328;16723

reports (7)
86222;87:2,5,172

 

 

s\liu-U-Script®

DALCO Reporting2 lnc.

800.325.8779

(204) providers - reports

CaS€ lilS-CV-OlSOB-.]GK

MERCER HEALTH & BENEFITS, LLC v.
MATTHEW DIGREGORIO, et al.

Document 33-1 Filed 03/13/18

Page 65 of 70

 

103219;139:10,14
represent (l)
12321
representative (2)
6:14;180221
representatives (4)
93:7,24294292102:21
represented (2)
8221;68222
representing (10)
28:12;39212;48:14;
5026,11;51:4;52:8,|7;
67212293217
request {3)
61215;1812202182224
requested (6)
24210,17228215272212
163:7;|67:2
requesting (l)
132:1
requests (1)
1821
required (2)
38:7;79: 17
research (l}
86:1 1
reserved (1)
174219
reside (2)
7726;164: 12
residence (1)
9527
resignation (38)
18:9;23214;25: 142
36218244213248211;
51:2252:10;54:18,20,
22255:8,15,24;56:1,8;
66:1,5,9,17;6825269242
70:16,20;71:8,10;
72212;80:1429324,7,182
94:1,9215826,16,172
175232178:14
resigned (9)
16211,1322323236:62
55:6;69:7;72219217521,
18
resigning (11)
36215;4|212;42:|9;
55:13;56:2,4,14;60222;
73223;74220;1 1528
resources (3)
129220;1462142
150:10
respect (2)
96:17;136:18
respective (1)
1 12:21
respond (2)
38:19;70:5

 

responded (l)
I 15217

response (5)
13:10;21224;32:|1;
58223;149216

responsibilities (2)
1 121322326

responsibility (1)
l 1219

responsible (l)
8021

restate (2)
7:2;167219

restroom (1)
1 1327

retain (9)
66223;67:3;88:16,202
174:221762192178:15;
179:6,19

retained (2)
6727;173:10

Retention (1)
21219

retrievable (1)
1523

Return (4)
1323;15211217:222
1821

returned (6)
13:6,11,|3,15215:10,
14

revenue (4)
104216;105:4;11921,
o

revenues (2)
10|:|4;14023

review (9)
12:6;19:8;20:19;
2822263:16265:212
118:12134:19;150218

reviewed (3)
118:7,|0;13523

reviewing (3)
8621|;|50:3;173:4

Rick (l)
44217

ridiculous (1)
107:1

right (69)
722028:9;19:2;2529,
12;29:17;35:10239:42
53221;59:23265:9,12,
18272219;74:9;75:192
77:4,6;78:10;82:19;
88:1428921,4292:18;
96:21;99:24;102210.
11;104210,24;11123;
1 15:20;120:4,6,19;
123:5,17,21;124:7;

125:4;|31:7;132:92
134:9,212138:13;
|40223;14|212;142214,
2|,242143:19;144:82
145211;1462192147216;
148:232149:2,14;
1552202158:921612222
163211;169:212171:152
1722152176:192180212
183:122186:14

Risk (2)
22217,18

Robert (1}
14921

Roberts (1)
146222

Rogi (1)
9228

Rolodex (1)
13027

room (4)
6:9;53221211521;
174219

roundabout (1)
10|222

ruling (2)
38211246220

run (l)
171221

running(l)
9|222

 

S

 

 

SA|TH (1)
186:16

salary (6)
1022211292442232
45214;46:11;107215

sales (19)
10328;1052102106:1;
119252126:16;127:10,
19;|37214,16,222
|38218,222139:1,3,172
|40232168215,16,19

salespeople (l)
|09:14

salesperson (3)
62:23;842202133211

same (25)
23:7;28:6;2926;3221,
13;33:6;34:4,5;432212
46:14;602192632202
6927;71:22;72:13;
13622,11;14024;147:6;
164252171:7217327;
181213;184216,18

sat (l)
180214

 

MA’I`THEW DlGREGORlO
March 09, 2018
save (l) 113:22;11428,9;117:6;
1722 123:8,17;124214;
saved (l) 12829,10,1 1;13026,8,
11622 152132:1621332182
savings (1) 144:162148217;150:142
127:15 154:21;177220
savvy (2) sending (6)
75211282:5 68:9;75218;9|212
saw (4) 105220;173:16,24
9221;64:11;7121; sends (2)
163:4 108:12,22
saying (15) Sendyne (l)
1221227121627621|; 23:21
107:3,6,14;1092122 Senior (6)

139:102141:1,4,7,17,
17;150:11;170:3
scheduled (1)
121:12
School (1)
2321
SCP (3)
105:4;107:8,10
search (3)
71:1 1;9523,5
searched (l)
97:4
second (23)
17:15;31:20,242
32212;36:13;52:20;
53:10;58: l 8;60:3,6,20;
71:10;102214211826;
120:13,|9;12|:2;
1292152131:22;133:2;
138:152148211;167212
secrets (2)
12:22;13:1
section (1)
17:12
Secure (l)
2129
Security (2)
2121 1214
seeing {3)
12:122140222;141:18
seem (3)
33218234212212024
seems (l)
13425
self(2)
25:2;144214
selling (2)
9922;106219
Seminar (l)
13021
send (34)
14:13;6822274:152
75:3;76:8;7721 127827;
81:9290218,202912|2;
92220;10922;11125;

 

11:8272:15;| 12:23;
129216,192153:12

sense (6)
16:|4;2425;57:152
69:|3;81:5;89:17

sensitive (l}
3826

sent (51}
66210;72212273:24;
7428,14,16,21281:7,122
88:24;95217210426;
|1126;113:|7;124:72
|26:102128:3;131:6,
|22132222;|402232
141:5,11,15;142:17,19,
212143217;|44:8,8,13;
14628;148:15;149:1;
15226;153:82155:10,
11,14,23215629,162
157224;1632152168:9;
17322,6,7;17423,22;
179:8

sentence (l)
|49:5

sentences (l)
149:4

separate (4)
125:1121372232
180292181:9

separately (4)
181 :20,242 182:2;
183:2

September (6)
28217;29:10,16;31:6,
13;33219

September/October (1)
30215

series (8)
6:23239:192422242
4323,17;44:4,|0;72:|4

Seriously (l)
17220

server (l)
|6024

service (2)

 

Min-U-Script

DALCO Reporting, lnc.
800.325.8779

(205) represent - service

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 66 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEF|TS, LLC v. MATTHEW DlGREGORIO

MA'I'|`HEW DIGREGORIO, et al. March 09, 2018
28:5;167:|1 12422212822;1312182 situation (l) 51:18 starting (2)

Services (l) 132:212134222137:7; 38:8 sources (3) 22211;158:4
23:21 |44:7;146272148:82 situations (l) 78:3,|2;79:8 starts (2)

set (3) 15225;154:3 124:16 South (3) 107218;15822
62162105:5;149:|8 showed (4) six (8) 115:62153214,22 state (8)

sets (l) 82:10;137:202163:2; 16213,|6;4022224121; Southeast (7) 9:921021,20272:11;

104:14 184212 5525;6321621 1829; 39:19242:24;43:3,1?; 73:23;86:6;87:22;

seven (3) showing (8) 18527 44:3,10;72214 88210

19223;63:16;114:13 12:2,5263:12;66:3; size (l) Southeast' (1) stated (4)

several (4) 110215;125:21;1432162 133217 72:15 89:1;95:22133214;
25:19239:24;40:12 |53:7 S|eep (2) speak (12) 166:17
48:19 shows (I) 134220,24 2823;31216238216; statement (9)

shadow (2) 86:10 slightly (l) 39:1 1,15,23;4324,8,1 1, 72:1627426;82212;

140:6,12 sic (1) 116:14 20;4526;57:18 88214;89213,162

SHAPIRO {123) 16324 Slowly (l) speaking (6) 10722221442|4,15

629,10;921221028; side (l) 2429 272212103:16,|8; states (l)

14:23;15219;16:1,3,82 22221 small (4) 10421;173:16;181:16 1323
17:12;24:20;25: 162 Siege1(38} 1022 |4;120:22 specific (18) stating (l)
2621,6,24;2729,1223225, 6211,13227214239:22 129:24;138:|5 20:12;25:5,5;26218; 165:20
8,16;33:|0;36:3;37:2|; 50:15,19;52:19;53:5, smoking (3) 27:23;33:5234:6,17; stay (l)
38:16,19,24;42:10; 10,13;63:18,21,232 98:142|52:132153:11 35:5;55:5256:8258:232 147214
45215,23246:2,6,13,17; 64:2,4;70:12;84:22; social (2) 98:22;123:1|;136:3; Steed (14)
50214;5222325328,|6; 98:13299:192100:72 171212,19 141:18;164:4;174218 6211;53:19,'55:8,11;
55:9;57:|,8258:72 109221;1 19:7,122 So|'tware (4) specifically (12) 572|8258:2,11262:5,10;
59210,13,19;61:17; 120213,17,19; 121 :4; 154:|6,18,19,20 20:6,22;29216236:24; 68:5;69:4;99:13,22;
64:16266:22,23;67:6, 147:9,13;148:1;150:4; sold (l) 41:9;64:17,23265:52 | 1026
12,17,23;69220,22; |58:162 | 59:72163:92 92:15 106:142176:242177:5,9 step (2)
70:1,4,9;71:22;74:| 12 170:8;171:42172:13; solicit (l) specifies (5) 99;8,14
752202762232782162 175223 5225 31:2224122;45:1 12 stepping (l)
81:10282:20283:2; sign (2) Solutions (1) 4624254: 16 99:1 |
8422129121629328,13, 9216218223 23:21 Spectralink (l) steps (l)

1929926,9,1 12100:10, signature (3) somebody's (3) 23220 9524
122109:23;110210; 12210;23218272:9 46:|7;78: |3279:9 speculate (2) still (12}
111:12;121:1;|41:162 signed (7) somehow (2) 9622,4 50220;83:1028726;
14324,7,|0;1462242 18221;1925250:182 82:4291:3 spend (1) 98210;105:11,122
147:5,8,22;151:8; 51:10,2|27|:1;73:12 someone (7} 100:4 115:3;131:8215|:19;
152:21;|5427,102 significantly (l) 31 :5;35:23;37:6,8; spoke (18) 156:182162224;17628
156:12;|57:16,19,21; 133:8 78:8;87:222129219 29:32302142312202 stop (l)
158:6,92159:3;1612232 signing (l) sometimes (l) 4022,4;41:11,13,162 104224
163210;166:152168:18, 8021 11929 42:22243:13;4421,3,9, stop-loss (l)
242170:23;172210,|5, similar (6) Somewhere (14) 132104:52111:242 13323
19,20;173:232174:|5; 105:202|07:4; 30216;35211236:8,1|; 1212142174:7 Storage(G)
176:42178219217924, 116214;156:2|2178:9, 42:8;49:5;89:20,222 spoken (2) 2|:921642182165:42
11,14;182:5,202183:8; 12 100:20;126:242132:112 2921;119:23 166:6,14,22
185:22;18624,10,12,14 Similarly (1) 161 :172169:20;1 73:1| spreadsheet (l) store (2)

share (5) 180218 soon (1) 121219 160:152165224
37215,16;3827,8;58:3 simply (1) 39:2 Stat'f (l) stored (2)

shared (2) 96:20 sorry (25} 137215 160:212166:5
18210;|06215 sister (1) 12:4217:12;23:22; stage (l) strange (l)

sharing (2) 124224 2727,182522202642232 118:22 179:15
4721,|6 sit (1) 70:9,13276216;85:19; Standard (2) strategy (l)

Sharma (7) 114:13 90:1329722;110:82 132:18,22 143222
6212;39216,23;40:3; Site (l) 112218;120:3,9; start (8) strike (18)
44214;99:22;11026 140218 1302192148242159212, 1124244:20,242 822229:2;14:19;17:3;

show (24) sits (2) 23;162:32163:52183282 144:18;157218,20,232 29:21;30: l 7;33:23;
18215;|9:13;50:11; 42:24;43:16 185223 170:6 37:|2;45:|2;71:62
72:5;9821,|9;106220; sitting (6) sort (2) started (4) 8721 1;10225;150:19;
112:8;114:52116:82 10:|3;26:22;46:182 118:82134:6 11214;2021223272 |67215;1682152175222
11722,112122213; 53221260:13;95:12 sounds (1) 114:15 17827;185215

\lin-U-Script .1_1- DALCO Reporting, lnc. (206) Services - strike

800.325.8779

Case 1218-cv-01805-.]GK Document 33-1

Filed 03/13/18 Page 67 of 70

 

 

 

 

 

 

 

 

MERCER HEALTH & BENEF|TS, LLC v. MA'ITHEW DlGREGORlO
MATTHEW DlGREGOR|O, et al. March 09, 2018
Strom (2) 98:9 tenured (l) 105272107215 trade (3)
15227,15 switch (l) 105224 till (I) 1222221321;86210
structure (5) 18021 term (1} 72218 trail (l)
47:2,17249:23250:1; sworn (2) 25223 Tim (1) 75215
105:22 626274219 Termination (3) 90:| Trailer (3)
stul'|' (2) system (2) 1324217222,23 times (7) 146214;150211215125
98:102126:|7 8321;|64217 terms (8) 39:23;41:19;43:11', training (4)
sub (1) 1921,6237222244220, 62:8294:22,24;146:2 19217220210;64:14,
130:4 T 22,24;46:102173:16 timing (l) 18
subject (5) testi1ied (5) 126215 transcript (l)
122:15;128:4;|4628; tab (3) 626;175:10;178:21; title (8) 98213
152272154:24 118:4,6,8 18025;|86:3 112722323243:18; transfer (3)
submit (1) tabs (l) testify (2) 64:21;92:|1;106:22 17:5;8123297215
86222 1 1822 7221232:20 12129,23 transferred (2)
submitted (2) tagged (2) testifying (l) titled {1) 81:1428221
87:2,18 128282140:7 6224 110218 transition (2)
subparagraph (1) talk (6) testimony {12) T-Mobile (l) 173:11217428
1729 3822;53:132100:12; 17:2,4;77:22;78:15, 167214 treated (1)
subparagraphs (1) |49:5,1 12173:| 22;1412142155222; today (14) 46:13
18;5 talked (3) 15622,4,8;|80:8; 7:21;10:13226:222 'I`ree (3)
subsequent (1) 4821121732152182210 |81218 38214;502222682172 6:15299:14,24
40212 talking (14) Tlianksgiving{l) 15724;160211;1612192 true (2)
SubSll"\C'= (1) 2911 1;3529;4031; 150217 16322;164210,132 102:202107:22
6522 4|:22250:15,20;91217, Thereupon (1) 172224;178:2| truthfully (l)
substantial (l) 222113219;143:11; 623 today'$ (l) 7221
155:21 147216;170:8,11;173:3 thinking (2) 163222 try (4)
substantially (l) target (l) 32:21;13928 together (9) 38:23;49:| 1254:8;
|7829 116215 third (6) 54:13;105:7,24; |32213
substantively (l) targeting (2) 34:1;|1828;138215, 137216,172140211,192 trying (9)
184:18 282721|4:|4 21,232180:22 141:8;146:|3 16214;46:7,14;51217;
sufficient (1) Taylor (2) thorough (2) told (9) 10021 12105223;|2|218;
26:21 23217224:12 71:11295:3 56:1,1325825;682112 165223;181:4
suggesting (2) Team (3) though (9) 88:2298262163:92164:9; turn (1)
132:14;170;3 112:23;134:15;142:3 31:14;35:16259:172 183:17 |5215
Sunrise (l) technically (2) 123214;|24222,24; took (4) turned (l)
137215 123:132158:9 127:19;|47:|9;|49218 19221,23;65:|9;9524 3321
support (l) technological (1) thought (9) top (l 1) twice (1)
67:20 82:5 15:2323222026929; 23:15;25:22;44:|7; 80219
suppose (4) technologically (1) 1062 182159221 2162242 48:12109:142118:132 two (33)
91:9,23;132;2; 75211 173221;|79:21;181210 130:2421682142169212, 829,2121825;23:13;
168210 technology (3) thoughts (l) 172171:23 25214,20226219233272
Sure (59) 15:5;75216276224 186:1 l topic (2) 37:16242:162552192
629210222;17:18; tele (l) thousand (3) 20211,21 58216;632192702192
19:4;2428226221;27:16, 29:22 1 1210289:142139219 topics (l} 10023,8210527,17,172
16;33:7;34:3,7237:19; Telematics (l) three (9) 20213 107:5;111:23;114:6;
38:21;41:7;42272482182 27:17 16:17249:7255:212 total (17) 14227,8214622;14723,6;
512726328;68:16;70:72 telephone (3) 692152100292105:172 99212100:18,222 152:162169:24;170:|4;
79222;812128427285:242 29:22;30:2;16726 119:6;143:6;180:9 101 :14,19,20,20,232 171214;17227;181:11
89:18;9122129325,222 telling (3) three-hour (l) 10227,242103:14,16,23; t\vo-and-a-half (3)
94217;95:6,8,11;98223; 33:9259:1;104:4 143:9 104:1821092192119:1; 52:22210029214325
102:821072132111:152 tells (l} three-page (2) 139:10 two-page (2)
116222119:14;120224; 87223 72:6214728 totally (l) 6624215026
126252128:192131:232 Temple (l) three-year (1) 125211 two-year (l)
13527;143:2;148:22; 22216 119:2 touch (2) 102:10
149220;154:62156:152 ten (6) thresholds (l) 32:1261213 type (6)
163212216527,9,142 19214235:18263:42 107:|5 track (l) 3024;79:132106:232
167:1221712212177:|52 94224;96212123:1 tickets (1) 76:22 111215;132211,13
18028;181:12183219,23 tenure (l) 143223 tracking (l) types (l)
surprised (1) 105:22 tied (2) 75:15 8627
i\lin-U-Script® DALCO Reporting, lnc. (207) Strom - types

800.325.8779

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 68 of 70

 

 

 

 

 

 

MERCER I-lEALTH & BENEFITS, LLC v. MA'I'I`HEW DlGREGOR|O
MATTHEW DIGREGORIO, et al. March 09, 2018
Typical(l) 161:9,|8;|64218,21; 11,15;144:6;146:62 98:7;160:|0
30:3 165:6,21;166210; W 147:4,6,11,15,20,23; willing (l)
typically (2) 167:92176:16;17722,2, 14823,7;150:5;1512132 24:24
3121278220 9,102179.'9 \V-2 (l) 152:4,232153:6215422, wipe (l)
used (29) 202;3 8,122156214;157222; 96:14
U 27252482627622,192 W,,it (3) 158:12,18;159:13; Wirth (l)
77211;88:1|;93:12; 53;|0,|0;|22;6 162:1;|6326,12,132 154:4
UHC (1) 97:202117:5212827; walked (1) 166:19;16725;168220; within (13}
12724 137:23;160211,14,20, 32;|3 169232|70211,132 1826;26:19230:13;
Ultimate (2) 20;164:22;165:2,3,7,9, Warren (5) 17122,5,92|7229,14,23; 35:21255:23;56:1;
154:|6,18 13,14;|66;82176:12; |54;4,|3;155;7,9,1| 173:18;174:13;175:22; 136:32139:18,19,21,24;
Ultimate|y (l) 177:7,8,19,23;178221 watches (5) 178:172179:2,|0,132 144:13;165:14
181:23 using (3} |52;|6,|7;]53;|’2’3 18229218325,92186:1,5, without(l)
under (8) 30123,23,96:9 \ya'[chmnkcr (1) 13 46.4
62242722328:22242122 |52;\5 Weber's (l) witness (5)
37:|8;46:24;121:9,24 V water m 130;6 6:5,9;7:14;53:12,13
Understood (8) 33:4 websitc (6) word (7)
726;1927;34:18; vacation (1) way (31) 65211,12;78:15,17, 110:|92120:13,14,
82211285:6;108:20; |50:18 3|:4'3;33-_8;33;12; 1821 |2223 16,19,20;12122
1232122166216 vague (l) 46; |4-,53; | ;53_-|5; websites (3) words (4)
undertake (1) 35.'6 ?6:32-,3‘2:|;9|:1,7; 78:3,|4,23 33:18;49211;102:242
17526 variable (14) |i;]',';g¢;;1()3-_|5;|09;_?_l week (11) 119:20
undertook (2) 101 :1,6,13,|4,17,24; 3,3'9,-|1',0;17;|6| ;21; 58:|6,18,|9260:3,6, Work (14)
179:6,20 10221,9,11,|8,22,232 152;4_"2_3;]55;20; 20280:13,16,|6,192 21:2322926;39:21;
Unequivoeally (1) 105:3,12 |10;34;'] ?|_-4;1?3;3; 115212 5321277221;|0926,82
175:24 varies (l) 1765144173:22-,180;]7; weeks (2) 111:22128:132131:4,42
United {3) 10229 |3|;173 58:|6;70220 144:14,152153220
127214,17,21 various (9) ways (1) Wellness (l) worked (6)
Univcrsnl (3) 19217;202132292132 170:]3 131220 29:7262210,15284232
146214;150:|1;151:5 54:13,15279212;93:112 WEBER (135) weren't (4) 10928212929
Univcrsity (l) 17| :212177:20 6:7,|5,|5,]3,2]; 90:16;123:13;135:8; working (3)
22:|7 vary (l) 9;13;10;9;11;22;12;]; 136:7 31:7254212;62:13
Unlock (2) 133:9 |5;;)_,20;|6;5,\0;17;|4; what's (42) works (4)
137216,16 verbal (l) ]3;|4;19;12;25;3,]7; 12222|4:7;182152 29262107223,24;
Unlocking (2) 724 25;3,9;27;4,19;28;|4, 19:13226:11243:182 127221
140219;141:8 verbally (l) 13;32;5,10,|3;33;1|; 46:6;63212266:3270:8; worry (2)
up (17) 727 35:5;33;|0,13'20;39;|, 72:5,21279216280:20; 68:23;|05:2
29!20432133;3311; Vcl'illm (1) 4,8242215245:16,24; 3426;9821;1052132 worth (l)
50:22281223282210; 167213 46;3,3,15,|9,22;50;|7, 110:15,19211721|2 140:11
8317;|211|8,|3;1?-3:5; versions (l) 23;5|;1;52;21;53;3,5, 118:7,14,152119:32 write (1)
1532162156:222162:182 171:6 9,||,|4,18;55212;57:4, 120:|6;|21282|22:13, 85:11
171:162177:18;180:14, versus (2) 10;53:8;59:11,14,21; 192126:3;127:7;128:2; written (3}
20 56:202128:|0 61;19;63:11,20,22; 13 |:|8;|37:13,21; 37:2;47:4,5
uploaded (1) via (9) 54;1,3,5,5,20;55;2; 138:3,421392222148:82 wrong (3)
8321 7827;81:20,2|;92:20; 67:8;69:21;7022,11,|4; 152:52154:3,8;16122 1 14222;146:23;
Upon (7) 94:9,172145:9,23; 73;4;74; 13;75;22;77;2; whenever (2) 175:19
13:3217222,232 14623 78:21;81:13;82:222 30:13287:2 wrongfully (l)
173:10;178:14;|79:8; Vice (4) 33;5;35;5;91;13;93;9, Whereupon (l) 179:21
182:24 72:15;92:11;146:13; 15,20;98:15,18;99:5,8, 1862 l 7 wmle (2)
upper (1) 150:10 15,17;100;|,5,3,11,14, Wherever (3) 149:13,14
119224 Violence (l) 17;109;7_2;1 10;1,4,3, 14224;83:23;157:18
USB(4) 21=24 11,14;1ii;13;112:7; wlw‘s(l) Y
165:6,7,9216623 virtually (l) 1|3:|1,15;114;4; 146:|3;|53212
Use (38) 184:18 116:7211721,10; widely (l) Yahoo (l)
2126225223230218,20; vision (l) 119;10,14,15;|20;|5, 123:6 161:13
31:1;38:3;70:11276:1, 13324 2];|21;7;122;12; wife (6) year (16)
9,15,17,18,22292:23, VP (l) 124;1;|25;20;123;1; 10217,24214:112 48224279:19;10229,9,
24;93:|,3,11,14,16; 150:9 ]3\;17;]32;20;134;|; 158:24;160223;161:6 132104:9,9;105:9,17,

9424,192160213,242

 

137262|41220;14326,8,

 

 

wil'e's (2)

 

17,17211829;11922;

 

1\lin-U-Script it

DALCO Reporting, lnc.
800.325.8779

(208) Typical - year

Case 1218-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 69 0170

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MATrHEw DlGREGoRlo
MATTHEW DlGREGoRlO, et al. March 09,2018
131:5;139:9;144:19 ll (6) 36212266:1027221|2 23 (4) 5.5.l7pd1`(l}
years (21) 8821621 1625,82 7322,4,621352182 117:222144:4,7; 122:17
19;23;21:22;23:13; 117:21;121:20;159;11 136:10,15;167:20,24; 160:1 50 (2)
25:14,20;26;19;29:3,4, 11.16.17(1) 168:6,17,23;169:24; 24 (8) 109:1,4
8;63:4;86:92106:|2 117:|7 171215 146:4,72147:10,14, 500,000 (1)
107:5;114:11,15,16; 11:45 (1) 18 (5) 17-,143:32150:2;160:2 140:1
151:2,12;153:2,14,22 146:19 36:9;117:22;131:15, 25 (4) 54,000 (1)
yellow (1) 11:51 (1) 19;159:20 147:14;148:5,9; 152:19
11928 172216 18th (3) 16021 5454@1iotmailcom (l)
vep (4) 11=54 (3) 36:4,12;163:23 250,000 (1) 14:8
117:23;152:8,14; 148~.21,22;140;: 19 (5) 103:18 5500 (6)
176:7 1-1-18(1) 1i7:22;132:18,2l; 26 (3) 79;10,16,17;80:12,
vork (3) 127:4 159;19,24 152:2,6;160:2 24;81:3
176:23;135;15,17 11111 (18) 19111(1} 2601(2)
youngest (l) 98232103223;104:5,7; 36212 154:5;155:3 6
160:19 105:16;110:16;112;9; 27 (3)
113218;114:6;|22:14; 2 153:4,8;160:3 6 (13}
Z 123110,19,21;124:3; 28 (6) 12:8,12;17:3;72:2,6;
125222212722;|2824; 2 (9) 153:24;15424,9; 73:23;85211286:6,172
zr.-m(i) 131:7 13:12,16;50:12; 155:13,|8;160:3 117:21;120:11;135:23;
105:6 12 (10) 66:1621|7:21;120:112 251-page (l) 159:4
zip (4) 89:1;116:22;117:2, 137:17;140;10;152:13 124;4 610 (1)
i65:l3,l4,i8;i66:3 21;159.-11;165:3,|1, 2.500(1) 167:3
15;166:4,3 89:22 3 682-8778 (1)
l 12;00 (1) 20 (4) 167;12
172:17 96:3;117:22;133:22; 3 (10) 61h(1)
1111) 12:20(1) 134:2 12:18;17:9;19:10,14; 174:12
11:22,2.1;12:3,6; 136;18 2000 (1) 20:5,11;117:21;
50;12;63:13;117:21; 13 (4) 144:22 120:11;137;21;153:11 7
120:11;140:13;167:16, 117.-3,11,11;159:14 2010(1) 3,285,305(1)
20 130 (1) 11:6 139:22 7 (5)
1=03111 101:22 2016 (4) 3.5 (1) |2:8,|3;97:23;98:2;
123:10 130,000(1) 99:12100218;101219; 139:7 117221
1=03=22111 101 ;5 144:22 30 (2) 750 (3)
123:20 13111(6) 2017 (33) 96:5;118:6 101 :19,21,21
10 (15) 131-.20;132:16,22; 28:12;29:10,16;31;2; 30,000(1) 716 (1)
52224;88:|0;|08:|3, 133~.19;134:3;136:7 34220;42214249:12 152:|8 167212
14,15,19;114:2,5; 14 (4) 57122;67:9;98:3,2|; 320(1)
117221;120:11;122:23, |17221;122210,14; 100:22;1012232102:7; |39222 8
24;139:21,22;159:|0 159;16 103111,13;104:5,7; 320,000 (1)
10,000 (3) 1411.(3) 109;19;112:13;121;11, 139:23 8 (13)
89217.18,20 i37;9;i42:is,2l 13;137:15,17,22; 98:16;110:9,10,11,
10/10716(1) 15(5) i33:12,14;139:12; 4 11,12,13,16;117:21;
121:10 52-.24;|17:22; 144:22;146:18;160:13; 120:1 l;121:20;141:7;
10:22 (2) 123:23;124:2;159;13 i67:16,20 4 (9) 159;6
100:15,16 16 (4) 2018 (14) 1323217216;6329,13, 8:35(1)
|0=3011) 117:22;125:18,21; 6:2;36:4;41:12; 19;72:11;117;21; 66:11
121:14 159:19 42:14;72:12;73:2,4; 120:11;134:23 8:56 (1)
10=35 (1) 16111(10) i35:13;167:20,24; 4,000 (1) 104:7
113:13 117:14;143:17; 168:3,6,17,23 152:18 sch (1)
10=4011) 144:9;146;8,13; 203-4251 (1) 152:7
113:14 i4s:15,20;149:i; 167:8 5
100 (2) 150:15;153;9 21 (3) 9
108:23;125:2 17 (12) 117:22;137:4,7 5 (8)
100,000 (l) l 17:22;127:23; 22 (4) 12:10;65:24;66;4; 9 (10)
109=3 128:3;159:19;163;3; 117:22;143;13,16; 73:22;74:18;117:21; 6:2;37:22;110:12;
10111(3) 170:22;177:19-,178:9; 160:1 120:11;150:14 112:4,5,3;113:17;
121:13;138:12; 179:1;184;13,16,21 22nd(1) 5,000(2) 117:21;120:112159:10
139:12 17111(16) 155:12 39:20,22 9:13 (1)
Mia-U-Scripi 17 DALCO Reporting, Ine. (209) years - 9213

800.325.8779

Case 1:18-cv-01805-.]GK Document 33-1 Filed 03/13/18 Page 70 of 70

 

 

 

 

 

 

MERCER HEALTH & BENEFITS, LLC v. MA'I'I`HEW DIGREGOR|O
MATTHEW DIGREGORIO, et al. March 09, 2013
39:6
9:19 (1)
39:7
Min-U-Script® DALCO Reporting, lnc. (210) 9:19 - 9:19

800.325.8779

